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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE: GOOGLE DIGITAL                        Civil Action No.: 1:21-md-03010-PKC
ADVERTISING ANTITRUST
LITIGATION


THIS DOCUMENT RELATES TO:                    Related File

STATE OF TEXAS                               Civil Action No. 1:21-cv-06841-PKC
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STATE OF ALASKA                              JURY TRIAL DEMANDED
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and

STATE OF UTAH
By Attorney General Sean D. Reyes

                         Plaintiffs,

                   vs.

GOOGLE LLC,

Defendant.


                          SECOND AMENDED COMPLAINT




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    1.      The States of Texas, Alaska, Arkansas, Florida, Idaho, Indiana, Louisiana, Mississippi,

Missouri, Montana, Nevada, North Dakota, South Carolina, South Dakota, and Utah, and the

Commonwealths of Kentucky and Puerto Rico, by and through their Attorneys General

(collectively, the “Plaintiff States”), in the above-styled action, file their Second Amended

Complaint (“Complaint”) against Google LLC (“Google”) under federal and state antitrust laws

and deceptive trade practices laws and allege as follows:

                                      I.   NATURE OF THE CASE

    2.      The halcyon days of Google’s youth are a distant memory. Over twenty years ago, two

college students founded a company that forever changed the way that people search the internet.

Since then, Google has expanded its business far beyond search and dropped its famous “don’t be

evil” motto. Its business practices reflect that change. As internal Google documents reveal,

Google sought to kill competition and has done so through an array of exclusionary tactics,

including an unlawful agreement with Facebook, its largest potential competitive threat, to

manipulate advertising auctions. The Supreme Court has warned that there are such things as

antitrust evils. This litigation will establish that Google is guilty of such antitrust evils, and it seeks

to ensure that Google won’t be evil anymore.

    3.      Google is an advertising company that makes billions of dollars a year by deceptively

using individuals’ personal information to engage in targeted digital advertising. Google has

extended its reach from search advertising to dominate the online advertising landscape for image-

based ads on the web, called “display ads.” In its complexity, the market for display ads resembles

the most complicated financial markets; publishers and advertisers trade display inventory through

brokers and on electronic exchanges and networks at lightning speed. As of 2020, Google is a

company standing at the apex of power in media and advertising, generating over $161 billion

annually with staggering profit margins, almost all from advertising.
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   4.      Google’s advertising apparatus extends to the new ad exchanges and brokers through

which display ads trade. Indeed, nearly all of today’s online publishers (be they large or small)

depend on one company—Google—as their middleman to sell their online display ad space in “ad

exchanges,” i.e., the centralized electronic trading venues where display ads are bought and sold.

Conversely, nearly every consumer goods company, e-commerce entity, and small business now

depends on Google as their respective middleman for purchasing display ads from exchanges in

order to market their goods and services to consumers. In addition to representing both the buyers

and the sellers of online display advertising, Google also operates the largest exchange, AdX. In

this electronically traded market, Google is pitcher, batter, and umpire, all at the same time.

   5.      The scale of online display advertising markets in the United States is extraordinary.

Google operates the largest electronic trading market in existence. Whereas financial exchanges

such as the NYSE and NASDAQ match millions of trades to thousands of company symbols daily,

Google’s exchange processes about 11 billion online ad spaces each day. In Google’s words,

“[h]undreds of thousands of publishers and advertisers use [Google’s] AdX [exchange] to transact

inventory, and more daily transactions are made on AdX than on the NYSE and NASDAQ

combined.” At the same time, Google owns the largest buy-side and sell-side brokers. As one

senior Google employee admitted, “[t]he analogy would be if Goldman or Citibank owned the

NYSE.” Or more accurately, the analogy would be if Goldman or Citibank were a monopoly

financial broker and owned the NYSE, which was a monopoly stock exchange.

   6.      Google, however, did not accrue its monopoly power through excellence in the

marketplace or innovations in its services alone. Google’s internal documents belie the public

image of brainy Google engineers having fun at their sunny Mountain View campus while trying

to make the world a better place. Rather, to cement its dominance across online display markets,



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Google has repeatedly and brazenly violated antitrust and consumer protection laws. Its modus

operandi is to monopolize and misrepresent. Google uses its powerful position on every side of

online display markets to unlawfully exclude competition. It also deceptively claims that “we’ll

never sell your personal information to anyone,” but its entire business model centers on targeted

advertising—the purchase and sale of advertisements targeted to individual users based on their

personal information. From its earliest days, Google’s carefully curated public reputation of “don’t

be evil” has enabled it to act with wide latitude. That latitude is enhanced by the extreme opacity

and complexity of digital advertising markets, which are at least as complex as the most

sophisticated financial markets in the world.

       7.      The fundamental change for Google dates back to its 2008 acquisition of DoubleClick,

the leading provider of the ad server tools that online publishers, including newspapers and other

media companies, use to sell their graphical display advertising inventory on exchanges. After

acquiring the leading middleman between publishers and exchanges, Google quickly monopolized

the publisher ad server and exchange markets by engaging in unlawful tactics. For instance,

Google started requiring publishers to license Google’s ad server and to transact through Google’s

exchange in order to do business with those in another market in which Google possessed

monopoly power: the one million plus advertisers who used Google as their middleman for buying

inventory. So Google was able to demand that it represent the buy-side (i.e., advertisers), where it

extracted one fee, as well as the sell-side (i.e., publishers), where it extracted a second fee, and it

was also able to force transactions to clear in its exchange, where it extracted a third, even larger,

fee.

       8.      Within a few short years of executing this unlawful tactic, Google successfully

monopolized the publisher ad server market and grew its ad exchange to number one, despite



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having entered those two markets much later than the competition. With a newfound hold on

publisher ad servers, Google then proceeded to further foreclose publishers’ ability to trade in non-

Google exchanges. Google imposed a one-exchange-rule on publishers, barring them from routing

inventory to more than one exchange at a time. At the same time, Google’s ad server blocked

competition from non-Google exchanges through a program called Dynamic Allocation and

falsely told publishers that Dynamic Allocation maximized their revenue. As internal documents

reveal, however, Google’s real scheme with Dynamic Allocation was to permit its exchange to

snatch publishers’ best inventory at the expense of publishers’ best interests. One industry

publication put it succinctly: “[t]he lack of competition was costing pub[s] cold hard cash.”

   9.       In an attempt to reinject competition in the exchange market, a new innovation called

header bidding was devised. Publishers could use header bidding to simultaneously route their ad

inventory to multiple exchanges in order to solicit the highest bid for the inventory. At first, header

bidding promised to bypass Google’s stranglehold on the exchange market. By 2016, about 70

percent of major online publishers in the United States had adopted the innovation. Advertisers

also migrated to header bidding in droves because it helped them to purchase from exchanges

offering the same inventory for the lowest price.

   10.      Google quickly realized that this innovation substantially threatened its exchange’s

ability to demand a very large—19 to 22 percent—cut on all advertising transactions. Header

bidding also undermined Google’s ability to trade on inside and non-public information from one

side of the market to advantage itself on the other—a practice that in other markets would be

considered insider trading or front running. Google deceptively told the public that “we don’t see

header bidding as a threat to our business. Not at all.” But privately, Google’s internal




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communications make clear Google viewed header bidding’s promotion of genuine competition

as a major threat. In Google’s own words, header bidding was an “existential threat.”

   11.     Google responded to this threat through a series of anticompetitive tactics. First,

Google appeared to cede ground and allow publishers using its ad server to route their inventory

to more than one exchange at a time. However, Google secretly made its own exchange win, even

when another exchange submitted a higher bid. Google’s codename for this program was Jedi—a

reference to Star Wars. And as one Google employee explained internally, Google deliberately

designed Jedi to avoid competition, and Jedi consequently harmed publishers. In Google’s words,

the Jedi program “generates suboptimal yields for publishers and serious risks of negative media

coverage if exposed externally.” Next, Google tried to come up with other creative ways to shut

out competition from exchanges in header bidding. During one internal debate, a Google employee

proposed a “nuclear option” of reducing Google’s exchange fees down to zero. A second employee

captured Google’s ultimate aim of destroying header bidding altogether, noting in response that

the problem with simply competing on price is that it “doesn’t kill HB [header bidding].” Google

wanted to be more aggressive.

   12.     Google grew increasingly brazen in its efforts to undermine competition. In March

2017, Google’s largest Big Tech rival, Facebook, announced that it would throw its weight behind

header bidding. Like Google, Facebook brought millions of advertisers on board to reach the users

on its social network. In light of Facebook’s deep knowledge of its users, Facebook could use

header bidding to operate an electronic marketplace for online ads in competition with Google.

Facebook’s marketplace for online ads is known as “Facebook Audience Network” or FAN.

Google understood the severity of the threat to its position if Facebook were to enter the market

and support header bidding. To diffuse this threat, Google made overtures to Facebook. Internal



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Facebook communications reveal that Facebook executives fully understood why Google wanted

to cut a deal with them: “they want this deal to kill header bidding.”

   13.       Any collaboration between two competitors of such magnitude should have set off the

loudest alarm bells in terms of antitrust compliance. Apparently, it did not. Internally, Google

documented that if it could not “avoid competing with FAN,” then it wanted to collaborate with

Facebook to “build a moat.” Indeed, Facebook understood Google’s rationale as a monopolist very

well. An internal Facebook communication at the highest level reveals that Facebook’s header

bidding announcement was part of a pre-planned long-term strategy—an “18 [month] header

bidding strategy”—to draw Google in. Facebook decided to dangle the threat of competition in

Google’s face so it could then cut a deal to manipulate publishers’ auctions in its favor.

   14.       In the end, Facebook curtailed its involvement with header bidding in return for Google

giving Facebook information, speed, and other advantages in the ~43 billion auctions Google runs

for publishers’ mobile app advertising inventory each month in the United States. As part of this

agreement, Google and Facebook work together to identify users using Apple products. The parties

also agreed up front on quotas for how often Facebook would win publishers’ auctions—literally

manipulating the auction with minimum spends and quotas for how often Facebook would bid and

win. In these auctions, Facebook and Google compete head-to-head as bidders. Google’s internal

codename for this agreement, signed at the highest-level, was Jedi Blue—a twist on the Star Wars

reference.

   15.       Above and beyond its unlawful agreement with Facebook, Google employed a number

of other anticompetitive tactics to shut down competition from header bidding. Google deceived

non-Google exchanges into bidding through Google instead of header bidding, telling them it

would stop front running their orders when in fact it would not. Google employees also deceived



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publishers, telling one major online publisher that it should cut off a rival exchange in header

bidding because of a strain on its servers. After this misrepresentation was uncovered, Google

employees discussed playing a trick—a “jedi mind trick”—on the industry to nonetheless get

publishers to cut off exchanges in header bidding. Google wanted to “get publishers to come up

with the idea to remove exchanges … on their own.” Google then proceeded to cripple publishers’

ability to use header bidding in a variety of ways.

   16.     Having reached its monopoly position, Google now uses its immense market power to

extract a very high tax of 22 to 42 percent of the ad dollars otherwise flowing to the countless

online publishers and content producers such as online newspapers, cooking websites, and blogs

who survive by selling advertisements on their websites and apps. These costs invariably are

passed on to the advertisers themselves and then to American consumers. The monopoly tax

Google imposes on American businesses—advertisers like clothing brands, restaurants, and

realtors—is a tax that is ultimately borne by American consumers through higher prices and lower

quality on the goods, services, and information those businesses provide. Every American suffers

when Google imposes its monopoly pricing on the sale of targeted advertising.

   17.     From its earliest days, the internet’s fundamental tenet has been its decentralization:

there is no controlling node, no single point of failure, and no central authority granting permission

to offer or access online content. Online advertising is uniquely positioned to provide content to

users at a massive scale. However, the open internet is now threatened by a single company.

Google has become the controlling node and the central authority for online advertising, which

serves as the primary currency enabling a free and open internet.

   18.     Google’s current dominance is also merely a preview of its future plans. Google’s latest

announcements with respect to its Chrome browser and privacy will further its longstanding plan



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to create a “walled garden”—a closed ecosystem—out of the otherwise-open internet. At the same

time, Google uses “privacy” as a pretext to conceal its true motives.

   19.     In sum, Google’s anticompetitive conduct has adversely and substantially affected the

Plaintiff States’ economies, as well as the general welfare in the Plaintiff States. Google’s illegal

conduct has reduced competition, raised prices, reduced quality, and reduced output in each of the

Plaintiff States. This conduct has harmed the Plaintiff States’ respective economies by depriving

the Plaintiff States and the persons within each Plaintiff State of the benefits of competition.

   20.     As a result of Google’s deceptive trade practices and anticompetitive conduct,

including its unlawful agreement with Facebook, Google has violated and continues to violate

Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2, as well as state antitrust and consumer

protections laws. Plaintiff States bring this action to remove the veil of Google’s secret practices

and put an end to Google’s anticompetitive abuses of its monopoly power in online advertising

markets. Plaintiff States seek to restore free and fair competition to these markets and to secure

structural, behavioral, and monetary relief to prevent Google from ever again engaging in

deceptive trade practices and abusing its monopoly power to foreclose competition and harm

consumers.

                                          II. PARTIES

   21.     Plaintiff States, by and through their respective Attorneys General, bring this action in

their respective sovereign capacities and as parens patriae on behalf of the citizens, general

welfare, and economy of their respective States under their statutory, equitable, or common law

powers, and pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26.

   22.     Google is a limited liability company organized and existing under the laws of the State

of Delaware, with its principal place of business in Mountain View, California. Google is an online

advertising technology company providing internet-related products, including various online
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advertising technologies, directly and through subsidiaries and business units it owns and controls.

Google is owned by Alphabet Inc., a publicly traded company incorporated and existing under the

laws of the State of Delaware and headquartered in Mountain View, California.

                                       III. JURISDICTION

   23.     The Court has jurisdiction over this action under Sections 1, 2, and 4 of the Sherman

Act, 15 U.S.C. §§ 1-2 & 4; Section 16 of the Clayton Act, 15 U.S.C. § 26; and under 28 U.S.C.

§§ 1331 and 1337.

   24.     In addition to pleading violations of federal antitrust law, the Plaintiff States allege

violations of state antitrust and consumer protection laws and seek civil penalties, restitution,

disgorgement, damages, equitable relief, and/or other relief, as applicable, under those state laws.

All claims under federal and state law are based upon a common nucleus of operative facts, and

the entire action commenced by this Complaint constitutes a single case that would ordinarily be

tried in one judicial proceeding.

   25.     This Court has jurisdiction over the non-federal claims under 28 U.S.C. § 1367(a), as

well as under principles of pendent jurisdiction. Pendent jurisdiction will avoid unnecessary

duplication and multiplicity of actions and should be exercised in the interests of judicial economy,

convenience, and fairness.

   26.     This Court may exercise personal jurisdiction over Google because Google conducts

business in this District. Google has established sufficient contacts in this District such that

personal jurisdiction is appropriate. Google sells the products at issue throughout the United States

and across state lines. Google is engaged in, and its activities substantially affect, interstate trade

and commerce. Google provides a range of products and services that are marketed, distributed,

and offered to consumers throughout the United States, in the Plaintiff States, across state lines,

and internationally.
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                                           IV. VENUE

   27.     Venue is proper in this District under Section 12 of the Clayton Act, 15 U.S.C. § 22,

and 28 U.S.C. § 1391. A substantial part of the events or omissions giving rise to the Plaintiff

States’ claims occurred in this District. Google transacts business and is found within this District.

                                  V.   INDUSTRY BACKGROUND

   28.     The internet revolutionized the way people consume content, and along with it, the

types of advertisements that companies can purchase to reach consumers. Image-based ads on the

internet (called “display ads”), as well as audio and video ads in the online world, have largely

supplanted their traditional print, radio, and television counterparts. In addition, the internet

ushered in completely new advertising formats, including targeted text-based ads on search

engines, shareable ads on social media, and specialized ads inside mobile phone applications.

   29.     For online publishers and advertisers alike, the different online advertising formats are

not interchangeable. Online media companies that operate websites and mobile applications

(“online publishers”) are necessarily restricted in the types of ad formats they can sell. A news

website, for example, can generally sell display ads alongside its news articles but cannot generally

sell search or audio ads to monetize the same content. At the same time, advertisers on the other

end of the transaction purchase one format or another to serve their different goals. For instance,

advertisers usually purchase search ads to reach consumers actively looking to make a purchase,

whereas they typically purchase display ads to increase brand awareness.

   30.     In addition to introducing new advertising formats, the internet changed how online

publishers sell their advertising inventory. Online publishers sell their inventory to advertisers

either directly or indirectly through ad marketplaces. The “direct” sales method refers to

campaigns that the publisher itself sells directly to advertisers, including those campaigns sold by

the publisher’s internal sales staff and through the publisher’s private auctions. For example, USA
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Today, as an online publisher, could negotiate directly with Disney, as an advertiser, to display

Disney ads atop the USA Today homepage one million times in a particular month. But a publisher

cannot always predict how many of its ad spaces will be available to sell directly to advertisers

because its inventory depends on how many users actually visit the publisher’s website. Publishers

can therefore find themselves with unsold surplus inventory, and this was the original impetus for

the development of a specialized “indirect” distribution channel whereby publishers sell their ad

inventory indirectly to advertisers.

   31.      “Indirect” sales occur through centralized electronic trading venues called “ad

exchanges” and through “networks” of publishers and advertisers. Publishers selling this way

permit ad exchanges to auction off some or all of their inventory to advertisers in real time (and in

return, the ad exchange will retain a portion of proceeds).

   32.     Whether online publishers sell their web display inventory directly or indirectly, the

advertisements can target specific users in real time. When a user views a website or mobile app,

advertisers purchase the individual spaces for ads (“impressions”) targeted to that user.

   33.     Because publishers can target ads to specific users in real time, online publishers

manage highly varied, or “heterogeneous,” inventory. One might think that a website with three

pages and three different ad slots (i.e., impressions) per page would have a total of nine unique ad

units to sell. But because online ads are targeted at individual users, the same site with 1,000,000

readers actually has 9,000,000 different ad units to sell: each of the website’s impressions targeted

to each unique reader. Consequently, an online publisher’s inventory is akin to the inventory of

seats at a baseball stadium: no two pieces of inventory are the exact same and each is valued by its

particulars. In online advertising, this includes the particulars of each person viewing each ad.




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     34.      Google likes to claim that it will “never sell your personal information to anyone,” with

Google CEO Sundar Pichai deceptively claiming that such a policy is “unequivocal.” But Google

leverages intimate user data and personal information to broker billions of daily online ad

impressions between publishers and advertisers that target individual users based almost entirely

on their personal information. Internal documents confirm that Google knows its users are

deceived by its misrepresentations, even as it reaps billions from ads that use personal data to target

those users. In Orwellian terms, it’s a beautiful thing for Google, the destruction of words like

“sell” and “personal.”

A.         Online Display Advertising Markets

     35.      Online publishers and advertisers depend on several different, distinct, and non-

interchangeable products to sell their web display inventory. These products include: (1) the ad

server, which acts as the publisher’s inventory management system and helps the publisher sell its

inventory, (2) the marketplaces that match buyers and sellers of display ads (exchanges and

networks, separately), and (3) the ad buying tools that advertisers must use as their middleman to

buy display inventory from exchanges. These products conduct the complex tasks associated with

pricing, clearing, executing, and settling billions of display impressions every month in the United

States. Google possesses monopoly power in each of these distinct markets. Imagine if the

financial markets are controlled by one monopoly company, say Goldman Sachs, and that

company then owns the NYSE, which is the largest financial exchange, that then trades on that

exchange to advantage itself, eliminate competition, and charge a monopoly tax on billions of daily

transactions. Obviously, no free, fair and functioning market could operate that way. Yet, that is

today’s world of online display advertising.




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         1.      Publishers’ Inventory Management Systems: Ad Servers

   36.        Large publishers such as CBS, Time, ESPN, Weather.com, and NPR depend on a

sophisticated inventory management system called an ad server to holistically manage their display

inventory on the web. Ad servers keep track of publishers’ heterogeneous ad inventory and help

them sell that inventory both directly and indirectly through exchanges, with the stated goal of

maximizing their advertising revenue. Publishers typically use a single ad server to manage all of

their web display inventory; using multiple ad servers would substantially frustrate a publisher’s

ability to effectively optimize management of their inventory and maximize revenue.




   37.        When using an ad server, online publishers necessarily relinquish control over

inventory management and revenue maximization. While a publisher can adjust some of the ways

their ad server manages and sells inventory, an ad server’s features and limitations ultimately limit

the publisher’s control. Publishers also rely on the specialization of their ad server to help them

navigate the complexities of electronic trading: ad server account analysts individually advise


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online publishers on how to adjust the ad server’s parameters to increase revenue. Put simply, in a

competitive market, ad servers advance publishers’ interests.

   38.     To holistically manage a publisher’s web display inventory, the ad server performs

three internal critical tasks related to selling ad space. First, the ad server identifies the users

visiting the publisher’s webpage in order to manage ad inventory and maximize yield. When a user

visits a webpage, the ad server—on behalf of and with the permission of the publisher—identifies

the user through identification technology facilitated by the user’s web browser (e.g., Chrome or

Safari) and/or mobile device (e.g., Android or iOS). To keep track of individual users, the ad server

assigns each user a unique user ID (e.g., 5g77yuu3bjNH). By essentially “tagging” users with a

unique user ID, an ad server helps publishers, ad exchanges, and advertisers know the identity and

characteristics of each particular user associated with a publisher’s ad space. For example, an

advertiser can correlate a user’s pseudonymous ID (e.g., 5g77yuu3bjNH) with the user’s identity

(e.g., John Connor) and use that identity “link” to look up additional information about the user

(e.g., John Connor lives in Los Angeles, drives Harley-Davidson motorcycles, and wears Oakley

sunglasses). This, in turn, allows an advertiser to place a value on the ad space each individual user

will see. User IDs are also used for “frequency capping,” which limits the number of times a user

is shown a particular ad to avoid oversaturating the user. Additionally, user IDs facilitate

evaluation of ad campaigns’ effectiveness by allowing publishers and advertisers to track whether

a user took a subsequent action (e.g., clicking on an ad, signing up for a service, or purchasing a

product). This “attribution” is critical for some ad campaign billing models, including cost-per-

conversion models whereby advertisers are charged only when users take a specified action.

   39.     The second critical task ad servers perform is managing how publishers sell ad space

indirectly through advertising marketplaces such as ad exchanges. Publisher ad servers connect



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with multiple marketplaces and let publishers automatically route their inventory into them for sale

as the users load publishers’ webpages. As the middleman between a publisher and marketplaces

(exchanges and networks), the ad server controls how the different marketplaces can access and

compete for a publisher’s inventory.

   40.     The third critical task performed by ad servers is routing inventory correctly between a

publisher’s direct and indirect sales channels. As Google’s internal documents show, only a tiny

percentage of publishers’ ad impressions are considered “high value,” which refers to impressions

targeted to users likely to make a purchase. Indeed, publishers generally make almost all (~80

percent) of their revenue from just a small portion (~20 percent) of their impressions. When a

publisher like ESPN sells their most valuable inventory directly to an advertiser like Fanatics.com

for premium prices, they rely on their ad server to allocate the impressions targeted to high-value

users—e.g., sports fanatics who have a propensity for buying merchandise for their favorite sports

team—to those direct deals.




   41.     Because the ad server sits between a publisher and the publisher’s indirect sales

channel, the ad server can obstruct competition between the multiple exchanges competing for

publishers’ impressions in a variety of ways. For example, the ad server might interfere with a

publisher’s ability to share full information about its impressions with exchanges (e.g., the user

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IDs associated with each publisher impression). Alternatively, an ad server might prevent

publishers from understanding how their inventory performs in one exchange versus another.

Without this transparency of information, a publisher cannot reward a better-performing exchange

with more of its business. Transparency fuels competition between marketplaces to maximize

value for publishers, and ultimately, for the consumer.

   42.        Despite the relative complexity of ad servers, prior to Google’s entrance into the

publisher ad server market, ad servers were “a commodity good.” They neutrally routed

publishers’ inventory to exchanges (thereby helping publishers maximize their inventory yield)

and charged a low cost-per-impression rate or monthly subscription fee. Google’s conduct

substantially changed this market.

   43.        Now, Google monopolizes the publisher ad server market for display inventory through

its product called Google Ad Manager (GAM). Google originally acquired its publisher ad server

in 2008 from DoubleClick. In 2011, Google acquired and integrated AdMeld, a yield optimization

technology that further helped publishers efficiently route inventory to exchanges and networks.

Today, GAM controls over 90 percent of this product market in the United States. Essentially

every major website (including, e.g., USA Today, ESPN, CBS, Time, Walmart, and Weather.com)

uses GAM. GAM, as the middleman between publishers and exchanges, has the power to foreclose

competition in the exchange market.

         2.      Electronic Marketplaces for Display Advertising: Exchanges and Networks

   44.        The vast majority of online publishers in the United States today sell at least some of

their inventory to advertisers indirectly through advertising marketplaces (exchanges and

networks). Large publishers like CNN and The Wall Street Journal predominantly use ad

exchanges, whereas smaller publishers like local newspapers and individual blogs typically use ad

networks.
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               i.      Display Ad Exchanges

   45.     Ad exchanges for display ads are real-time auction marketplaces that match multiple

buyers and multiple sellers on an impression-by-impression basis. A publisher’s ad server can

route the publisher’s inventory to exchanges in real time as users load webpages. The exchanges

then connect with advertisers through their respective middleman (ad buying tools). In other

words, the entities that have a “seat” to bid on exchanges are not the actual advertisers (e.g., Ford

or a local car dealership), but their respective agents. In addition, exchanges do not bear inventory

risk. That is, the ad exchange serves as an intermediary, connecting publishers’ inventory with

willing buyers in real time.




   46.     Ad exchanges are mostly intended for large online publishers. To sell in ad exchanges,

online publishers must meet minimum impression or spend requirements. For example, Google’s

AdX exchange is only open to publishers that have 5 million page views or 10 million impressions

per month. These requirements put exchanges out of reach for many small online publishers such

as local newspapers and blogs.

   47.     Google owns and operates the largest display ad exchange in the United States,

historically called the Google Ad Exchange or “AdX.” Google compares its ad exchange to

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financial exchanges like the NYSE and Nasdaq. However, contrary to Google’s comparison, AdX

is not an open exchange like the NYSE.

   48.     Ad exchanges charge publishers a share of transaction value, which is currently 5 to 20

percent (or more) of the inventory’s clearing price. Google’s exchange charges publishers 19 to

22 percent of exchange clearing prices, which is double to quadruple the prices of some of its

nearest exchange competitors. For example, if Google’s exchange sells $100,000 worth of a

publisher’s inventory, Google will extract at least $19,000. The dramatically higher price (or “take

rate”) of Google’s exchange evidences its substantial market power.

   49.     Google’s exchange fees are also exponentially higher than analogous exchange fees on

a stock exchange where, by contrast, fees are low and set by volume instead of transaction value.

Imagine if the NYSE charged an individual a fee equivalent to a double-digit percentage of the

value of the overall stock trade—e.g., $19,000 as a transaction fee on a $100,000 stock trade. That

is how much Google charges on transactions between an online publisher like ESPN and an

advertiser like Fanatics.

   50.     Internally, Google concedes that an electronic exchange such as its own should not

normally be able to extract such high fees in the market. As one Google employee frankly

conceded, “an exchange shouldn’t be an immensely profitable business” like Google’s AdX, but

should instead be “like a public good used to facilitate buyers and sellers.” As this litigation will

make clear, Google can charge these fees for one simple reason: Google uses its monopoly over

publishers’ ad servers to unlawfully foreclose competition in the exchange market.

   51.     By controlling publishers’ inventory through its ad server and simultaneously operating

the largest ad exchange, Google has inherent conflicts of interest between publishers’ best interests

and its own. Google charges a low cost for acting as publishers’ sell-side intermediary but then



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makes substantially higher fees when selling those publishers’ inventory in its exchange.

Accordingly, Google incentivizes itself to steer publishers’ inventory towards its exchange, where

it can extract double to quadruple the rate of some of its nearest exchange competitors.




               ii.    Ad Networks for Display and Ad Networks for Mobile In-App
                      Inventory

   52.     Whereas large online publishers typically sell their inventory through ad exchanges,

small online publishers predominantly sell their inventory in marketplaces called “ad networks.”

Ad networks cater almost exclusively to the needs of smaller and lower-traffic online publishers

such as local online newspapers and independent content creators’ websites and apps. Like ad

exchanges, ad networks match publishers’ inventory with their advertisers’ demand. But unlike

exchanges, networks do not require publishers to meet high monthly minimum impression or

spend requirements. Rather, networks obscure prices within auctions, which enables them to

capture undisclosed margins; neither the buyers nor sellers will know whether the network takes,

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e.g., 20 or 50 percent of matched trades. Moreover, networks often carry inventory risk. That is,

they purchase (and then sell) impressions on their own behalf, as opposed to purchasing on behalf

of an advertiser or buy-side middleman.

   53.     In the network market, there are networks for publishers that sell web display inventory,

and separately, networks for mobile applications that sell in-app inventory. Google operates the

leading web display network, as well as the leading mobile app network.

   54.     Google’s display advertising network, known as the Google Display Network

(“GDN”), is described by Google as “the largest ad network in the world.” GDN operates as a

closed marketplace accessible only by advertisers who use one of Google’s products to buy

publisher ad inventory. Here, Google charges even higher fees—around 32 to 40 percent of each

transaction—to the small publishers and advertisers using GDN than it does to the large players

on AdX.

   55.     Google also owns AdMob, the largest ad network selling mobile app inventory on

behalf of mobile app developers such as Spotify. Google’s closest competitor in the mobile app

network market is Facebook’s Audience Network, FAN, although Google internal documents

suggest that Google’s share of the market is eight times larger than FAN’s. Advertisers can use

Facebook’s website to purchase ads on Facebook and Instagram, as well as mobile app inventory

from third-party apps like Shazam or Huffington Post who sell their inventory via FAN. In the

discrete market for mobile app networks competing to sell third-party app publishers’ impressions

to advertisers, Google and Facebook compete head-to-head.

   56.     In sum, millions of websites and mobile apps sell their inventory in Google’s exchange

for display ads and its ad networks for display and mobile in-app ads. As a result, competition on




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the buy-side among the middlemen that serve advertisers depends on access to Google’s exchange

and networks. Google is the bottleneck between publishers and advertisers.




         3.      Ad Buying Tools for Large and Small Advertisers

   57.        Just as publishers rely on ad servers to sell their inventory in ad exchanges, advertisers

use specialized middlemen, ad buying tools, to represent their own interests. Large advertisers use

ad buying tools called demand-side platforms (“DSPs”), while small businesses use pared-down

analogues. Google analogizes these buying tools to “brokerage houses” in financial markets, with

small advertisers using a “fund manager to pick stocks for you” and large advertisers “using

ETrade to pick stocks yourself.”

   58.        Just as publishers typically use only a single ad server, small advertisers tend to use

just one intermediary at a time to optimize buying across multiple exchanges and/or networks. Ad

buying tools let advertisers set parameters integral to their purchasing decisions, including details


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about the types of users they want to target and the maximum bids they are willing to submit for

various types of display ad inventory. On an advertiser’s behalf, an ad buying tool uses these

parameters to automatically bid on ad space in exchanges and networks in an effort to acquire it at

the lowest cost. Some enterprise buying tools, including The Trade Desk, compete by minimizing

conflicts of interest and not simultaneously operating an exchange or sell-side ad server.

   59.     Ad buying tools for large advertisers (DSPs) offer robust and complex bidding and

trading options ill-suited for smaller and less sophisticated advertisers. In fact, DSPs are so

complex that they are frequently not used or managed by the actual advertisers (e.g., Ford), but by

the advertisers’ specialized ad buying team (e.g., an ad agency or specialized division at an agency

called a “trading desk”). The different types of ad buying tools are also sold at different price

levels. DSPs usually require high minimum monthly spend commitments, sometimes $10,000 or

more, whereas ad buying tools for small advertisers can require just a few dollars to get started.

For example, Amazon’s DSP requires a monthly commitment of over $35,000, while Google’s

buying tool for small advertisers (Google Ads) requires no monthly minimum spend.




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   60.     When a user visits a publisher’s website, the ad server can route the publisher’s

available impressions to exchanges, along with information about the impression, including the

user’s ID, the ad slot’s parameters, and any rules about pricing. Each exchange then sends a “bid

request” to the ad buying tools who have a “seat” to bid in the exchange and act as advertisers’

middlemen. These bid requests also contain information about the impression at issue and convey

a “timeout,” which is the amount of time the advertisers have to respond with their “bid response.”

Within this timeframe, which is typically a mere fraction of a second, each ad buying tool must

unpack the information contained in the bid request, gather and deploy personal information about

the user, determine the appropriate price to bid on behalf of the prospective advertiser, and return

a bid response to the exchange. When time expires, each exchange closes its auction, excludes any

late bids, and chooses a winner. The publisher’s ad server then selects the advertisement associated

with the highest exchange bid and returns it on the user’s page before the page has even finished

loading. The user simply sees a display ad adjacent to the web content they are reading. This

leveraging of personal information in a real-time auction happens every minute of every day for

millions of Americans browsing the internet.




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   61.     To compete effectively in an exchange’s auction, not only must ad buying tools return

bids to exchanges before their timeout expires, but they must be able to adequately identify relevant

characteristics of the user associated with each impression (e.g., an impression targeted to John

Connor the motorcycle enthusiast verses an impression targeted to a user who has shown no

interest motorcycles). An exchange as large as Google’s can exclude and harm competition

between the bidders in its auction by giving a subset of bidders an advantage in terms of, e.g.,

information (e.g., more robust information about the user) or speed (e.g., longer timeouts, which

translates to more time to calculate and return bids).

   62.     Google operates the largest buy-side middlemen for advertisers, i.e., the ad buying tools

for both large and small advertisers. Google’s DSP (enterprise buying tool for large advertisers

such as Toyota or Nestle) is called DV360; it arose from Google’s acquisition of the DSP Invite

Media. Google’s ad buying tool for small advertisers, on the other hand, is called “Google Ads,”

and it is designed for (what Google calls) the “smaller, less sophisticated advertisers.” DV360

charges advertisers an 8 to 9 percent commission to purchase inventory from exchanges, whereas

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Google Ads charges small advertisers a much higher and undisclosed 15 percent commission when

purchasing inventory from Google’s exchange.

   63.     Although Google executives considered “creating a completely neutral platform like

the NYSE,” they ultimately chose instead to stack the deck in their favor by owning the exchange

and giving preferred access to Google’s buy-side middlemen. Indeed, Google’s exchange gives

Google Ads and DV360 information and speed advantages when bidding on behalf of advertisers.

Such preferred access helps explain why Google’s ad buying tools win the overwhelming

majority—over 80 percent—of the auctions hosted on Google’s dominant ad exchange, AdX.

   64.     Google’s ad buying intermediaries also do not always act in the best interests of their

clients. For instance, Google subjects the smaller and less sophisticated advertisers to complicated

arbitrages that are extraordinarily difficult to understand. Specifically, when bidding on behalf of

those advertisers on Google’s exchange, Google can manipulate or adjust their bids. Google also

processes their bids through two auctions, keeps a spread between the two, and does not disclose

to the advertiser the price that ad space actually cleared on Google’s exchange. Google discloses

this in fine print distributed across multiple separate documents. When Google ultimately explains

why it “automatically” routes advertisers’ bids across multiple markets, the language is

misleading: “If you go butterfly hunting during the height of summer, the bigger your butterfly

net, the more butterflies you’ll be able to catch.” Google, however, does not clarify who it is

hunting.




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                  VI. THE RELEVANT MARKETS AND GOOGLE’S MARKET POWER

A.         Publisher Inventory Management: Publisher Ad Servers

           1.      Publisher ad servers for web display inventory in the United States are a
                   relevant antitrust market.

     65.        Publisher ad servers for web display inventory (“publisher ad servers”) in the United

States are a relevant antitrust product market. Publisher ad servers are inventory management

systems that publishers use to holistically manage their online display advertising inventory—the

image-based graphical ads shown alongside web content. Ad servers provide publishers with

features such as: (1) reservation-based sales technology to support the publisher’s direct sales

efforts; (2) inventory forecasting technology to help the publisher determine what inventory will

be available to sell; (3) a user interface through which the publisher’s sales team can input ad

requirements and parameters; (4) co-management of direct and indirect sales channels; (5) report

generation of ad inventory performance; (6) invoicing capabilities for the publisher’s direct

campaigns; (7) a decision engine for determining what ad will ultimately serve on the publisher’s

page; and (8) yield management technology.

     66.        Generally, ad servers charge publishers based on the volume of ads served. Most

publishers “single home,” using just one ad server to holistically manage all of their web display

inventory. When a publisher sells more than one type of inventory (e.g., web display, in-app,

and/or video), they might use one ad server for their display inventory and a second for their in-

app or video inventory, or they might still use a single ad server that manages all of their ad formats.

Using multiple ad servers for the same format, however, would create conflicts between the ad

servers, thereby defeating the point of the ad servers’ crucial inventory management functions.

     67.        Publisher ad servers are unique. They are not interchangeable with exchanges,

networks, advertiser ad servers, or ad buying tools for large or small advertisers. None of those


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products can manage a publisher’s direct sales channel or offer the reporting, invoicing, or

forecasting functions publishers need to holistically manage their inventory and optimize yield.

   68.     Advertising marketplaces, including ad networks and exchanges, are not effective

substitutes for publisher ad servers. For example, Google’s exchange is not, and cannot serve as,

an ad management platform for direct sales. Google said as much when seeking to acquire

DoubleClick, making explicit representations to the United States Federal Trade Commission

(“FTC”) regarding the non-interchangeability of ad servers and networks. Indeed, Google

described any suggestion that ad servers and ad networks are interchangeable as “seriously flawed

and utterly divorced from commercial reality.” More specifically, Google represented that its

existing display ad network (then called AdSense) and the ad server it sought to (and then did)

acquire (DFP) “are not direct substitutes” (emphasis added), explaining that “[i]f the price of DFP

were increased by a small but significant amount, customers would switch to other publisher-side

ad serving products, such as those provided by 24/7 Real Media, Atlas/aQuantive.” In other words,

Google has long acknowledged that while publisher ad servers are substitutes for each other, ad

networks and other advertising marketplaces are not.

   69.     Building an ad server is not a substitute for licensing an ad server. Building an ad server

from scratch requires scale, substantial capital, and deep access to highly sophisticated engineering

resources; it is a viable option usually only for the very largest online publishers (e.g., Facebook).

And the few publishers who have built in house ad server technology do not license it to third

parties. So, neither building an ad server from scratch nor licensing another publisher’s in house

ad server is an alternative to licensing a publisher ad server.

   70.     Publisher ad servers’ customers are large and medium online publishers who need to

manage both direct and indirect sales channels, including, e.g., CBS, Spotify, Time, ESPN, Major



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League Baseball, Walmart, Weather.com, The New York Times, The Wall Street Journal, eBay,

NBC, Pandora, Trip Advisor, NPR, Buzzfeed, and many more. But smaller publishers lacking

significant direct sales volume do not use publisher ad servers. Google advertises this distinction

to potential customers: “Google Ad Manager is an ad management platform for large publishers

who have significant direct sales.”

   71.        The relevant geographic market for publisher display ad servers is the United States.

Publisher ad servers available in other countries are not a reasonable substitute for ad servers

available in the United States.

         2.      Google has monopoly power in the publisher ad server market.

   72.        Google has monopoly power in the publisher ad server market in the United States.

Google’s monopoly power in this market is supported and evidenced by its high market share.

More than 90 percent of large publishers use Google’s publisher ad server, Google Ad Manager

(“GAM” f/k/a “DFP”), according to published reports. Google internal documents show that GAM

served the vast majority—75 percent—of all online display ad impressions in the United States in

the third quarter of 2018.

   73.        Google’s own documents confirm that it has held a consistent monopoly position in the

publisher ad server market for at least a decade. By 2012, just four years after Google acquired

DoubleClick, Google estimated that 78 percent of large online publishers in the United States used

Google’s ad server. Since then, Google’s closest competitors have either exited the market entirely

or have been relegated to negligible market shares.

   74.        As above, Google urged the FTC to permit its acquisition of DoubleClick by positing

that several competing publisher ad servers—24/7 Real Media and Atlas/aQuantive—were viable

alternatives for publishers if Google were to increase DFP’s prices. Those competitors have since

exited the market.
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   75.     Google’s monopoly power in the publisher ad server market is further confirmed by

direct evidence. Defying the existence of competitive restraints, Google has degraded quality and

charged supra-competitive fees in the publisher ad server market. For example, Google’s ad server

now charges publishers for routing their inventory to exchanges and networks. When deciding

how much to charge publishers for routing their inventory to non-Google exchanges, Google

arbitrarily landed on 5 percent of gross spend; they did not consider competitive constraints such

as what the market would bear. On top of this, Google’s ad server charges a 10 percent fee of gross

transactions for routing publishers’ inventory to non-Google ad networks. When publishers route

their inventory to exchanges and networks using a non-Google routing service called header

bidding, publishers pay no fee whatsoever for routing to exchanges and networks. Google’s

unilateral ability to extract non-competitive ad server fees demonstrates its monopoly power.

   76.     Instead of pursuing and providing procompetitive welfare-enhancing innovations with

its publisher ad server, many of Google’s product changes actually degraded quality, thereby

further illustrating Google’s monopoly power and the utter lack of real competitive constraints in

the publisher ad server market. Examples are numerous and discussed throughout this Complaint;

they include unpopular changes such as Dynamic Allocation, Enhanced Dynamic Allocation, and

Google’s prohibition on publishers setting different price floors for different ad exchanges and ad

buying tools (which depresses publishers’ inventory yield for Google’s direct benefit). Despite

widespread publisher dissatisfaction over the price and quality of Google’s ad server, Google has

not suffered any loss to its ad server market share or dominance.

   77.     Google’s market power in the publisher ad server market is protected by significant

barriers to entry and expansion, notably including high switching costs. For publishers, switching

ad servers is both risky and resource intensive. Some publishers have inventory on hundreds of



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thousands, or even hundreds of millions, of webpages, which makes switching ad servers

exceedingly expensive, difficult, and time consuming. Moreover, the switching process also entails

significant revenue risk, as even minor glitches during the transition can disrupt and prevent

delivery of advertiser campaigns. Industry experts compare a change in ad servers to “switching

engines in mid-flight.” Google’s internal documents confirm publishers’ high switching costs.

Because switching costs are high, publishers are effectively locked in.

   78.     In addition to high switching costs in the ad server market, Google’s own

anticompetitive conduct imposes additional barriers to entry and expansion. The most notable is

probably Google’s tying of its publisher ad server with its ad exchange, ad network, and ad buying

tools. As addressed further in the Anticompetitive Conduct section below, once Google had both

a publisher ad server (acquired from DoubleClick) and an ad exchange (launched in 2009), they

made it so the massive number of advertisers using Google Ads (the ad buying tool for smaller

advertisers to bid on display space) could transact only in Google’s own ad network and/or ad

exchange, not in any non-Google network or exchange. With so many advertisers funneled

exclusively into Google’s exchange, Google also made it so that publishers could receive bids

from these advertisers (necessary for maximizing yield) only by licensing Google’s ad server and

transacting in Google’s exchange. The resulting situation imposes near-insurmountable barriers to

entry and expansion for any potential or actual provider of publisher ad server technology.

Moreover, this situation further illustrates how Google’s pricing power is unencumbered by

competitive constraints: Google demanded that it represent the buy-side, where it extracted one

fee, as well as the sell-side, where it extracted a second fee, and it also forced transactions to clear

in its own network and exchange, where it extracted even more fees.




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B.         Ad Exchanges

           1.      Exchanges for web display inventory in the United States are a relevant
                   antitrust market.

     79.        Exchanges for web display inventory (“exchanges”) in the United States are a relevant

antitrust product market. They are marketplaces in which publishers’ display inventory is

auctioned off to end-advertisers (through advertisers’ middlemen) on an impression-by-impression

basis and in real time. On the sell-side, exchanges generally interface with publishers through the

publishers’ ad server (e.g., Google’s ad server). On the buy-side, they interface with advertisers

through ad buying tools, including those for large advertisers (e.g., Google’s DV360) and for small

advertisers (e.g., Google Ads), and sometimes, even ad networks.

     80.        Exchange marketplaces exhibit several unique features. First, they do not bear

inventory risk. Instead, they connect a publisher’s inventory with an immediate willing buyer, as

opposed to purchasing and then reselling ad space. Second, exchanges monetize by charging the

publisher with a transparent percentage of transaction value, as opposed to monetizing via

arbitrage or taking a non-transparent fee. Third, to sell directly on an exchange, most exchanges

require publishers to meet minimum monthly requirements for impression volume and/or spend.

This puts direct relationships with exchanges out of the reach of smaller publishers, who are

effectively relegated to selling their inventory in the less-transparent marketplaces called networks

(addressed below). Finally, large advertisers (e.g., Procter & Gamble) purchase primarily in

exchanges, not networks; so in order to efficiently sell ad space to these large advertisers,

publishers must also transact there.

     81.        The publishers who license Google’s ad server and sell their display inventory through

marketplaces primarily do so through exchanges, not networks. For example, one major online




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publisher in the United States sold over 80 percent of their indirect display inventory to exchanges,

not networks.

   82.       Ad exchanges are unique and not interchangeable with publisher ad servers, ad

networks, or ad buying tools for large or small advertisers; those products serve different types of

customers (e.g., advertisers on the buy-side rather than publishers on the sell-side). They also have

vastly different sets of features and price points. A small but significant increase in the price of an

ad exchange does not cause publishers to switch, e.g., to an ad server, ad network, or ad buying

tool, as none of those products provide a real-time auction marketplace with the features unique to

exchanges.

   83.       Ad exchanges are also not interchangeable with direct sales channels. For publishers,

selling inventory directly requires substantial investment in and development of expertise around

managing, selling, and serving online ad campaigns; it is an expensive proposition for publishers.

For advertisers, buying inventory directly likewise requires considerable expertise and ongoing

investment. For direct deals, publishers and advertisers alike typically must hire and maintain

internal staff to manage these one-to-one relationships. As a result, the direct sales channel tends

to be reserved for very high-value publisher-advertiser transactions. For instance, a large online

publisher like The Wall Street Journal would generally not directly transact with a local Ford

dealership, as the monthly value of those transactions would probably be no more than a few

thousand dollars. They would, however, gladly transact with that dealership indirectly through an

ad exchange, even if the total value of monthly transactions was just a few dollars. Reflecting these

differences, ad servers and exchanges charge publishers completely different prices. Ad servers

tend to charge publishers a low fixed-cost per volume of ads served, whereas exchanges tend to

charge publishers anywhere from 5 to in excess of 20 percent of each impression’s clearing price.



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Ultimately, a small but significant increase in price for ad exchanges does not cause customers to

switch to publisher ad servers, and the barrier to switching outweighs the cost.

   84.        The relevant geographic market for display ad exchanges is the United States. Display

ad exchanges available in other countries are not a reasonable substitute for display ad exchanges

available in the United States.

         2.      Google has monopoly power in the exchange market.

   85.        Google has monopoly power in the United States in the display ad exchange market.

Despite an early competitive landscape, Google’s ad exchange (historically called AdX) has

enjoyed dominance in the United States since at least 2013. By October 2019, it transacted over

60 percent of all display ad inventory sold on ad exchanges in the United States, and that

percentage has increased substantially since Google’s introduction of Unified Pricing rules in late

2019 (as addressed further in the Anticompetitive Conduct section below).

   86.        Finally, for online publishers with high-value users, Google’s exchange transacts an

even greater share of impressions. For example, Google’s exchange transacts over 80 percent of

one major online publisher’s exchange impressions, even though the publisher routes and sells its

impressions in at least six other exchanges.

   87.        The closest competitors to Google’s exchange include the exchanges provided by

Magnite, AT&T’s Xandr, and Index Exchange. But those exchanges transact much smaller shares

of publishers’ exchange impressions; in comparison to the more-than 60 percent of indirect

impressions flowing through exchanges that Google’s exchange routinely transacts, Google’s

closest exchange competitors typically transact a mere 4 to 5 percent of the same publishers’

exchange impressions.

   88.        Direct evidence confirms Google’s monopoly power in the display ad exchange

market. Google’s exchange has the power to control prices. It is able to charge supra-competitive
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prices, which are 19 to 22 percent of every trade. By contrast, the prices charged by Google’s

closest exchange competitors are considerably lower: from 15 percent down to a mere 5 percent.

Despite their lower prices, these competing exchanges are simply unable to grow their market

share.

   89.      Additionally, Google’s ability to increase prices (i.e., its take rate) in the exchange

market further demonstrates its durable monopoly power. Google’s 2018 internal documents

observed that “[r]ecent market dynamics ... are putting pressure on the 20% fee.” Nevertheless,

Google did not reduce its average exchange take rate from 2017 to 2020. In fact, Google increased

its exchange take rate from 2017 to 2019 (from 20 percent for third-party buyers buying through

AdX in 2017 to 22 percent in 2019). The fact that Google did not lower its take rates, and instead

increased them, demonstrates that Google has insulated its exchange from any of the competitive

market dynamics that would otherwise incentivize them to lower their prices.

   90.      Google’s monopoly power is also evidenced by the fact that its exchange does not lose

market share when competitors drop their prices. For example, when rival exchanges attempted to

gain market share by lowering their prices in 2017, Google’s exchange maintained or even

increased prices and still increased its market share. Competing exchanges have not been able to

meaningfully increase their market shares, despite some cutting their take rates by half.

   91.      Google’s market power in the exchange market is also protected by significant barriers

to entry and expansion. The first is a sort of chicken-and-egg problem; a new entrant must achieve

a sufficient scale of both publishers and advertisers on its exchange to become viable. A second

barrier is imposed by Google itself. Employing a variety of anticompetitive tactics, Google

unilaterally captures a large volume of the transactions otherwise available to competing

exchanges by causing its publisher ad server to preferentially route transactions to its exchange (as



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addressed further in the Anticompetitive Conduct section below). Moreover, Google imposes yet

another barrier by exclusively and preferentially routing the bids of advertisers who use DV360

and Google Ads to Google’s exchange (through a separate set of anticompetitive conduct

addressed below).

C.         Ad Networks

           1.      Networks for web display inventory in the United States are a relevant
                   antitrust market.

     92.        The market for web display ad networks (“networks”) in the United States is a relevant

antitrust product market. Display ad networks are a type of indirect marketplace that differ from

exchanges in their features and price points. While networks, like exchanges, match publishers’

ad inventory with advertisers, networks do not necessarily do this on a real-time impression-by-

impression basis. Moreover, networks often carry inventory risk. That is, they purchase (and then

sell) impressions on their own behalf, as opposed to purchasing on behalf of an advertiser or buy-

side middleman. Networks often do not provide impression-by-impression price transparency to

the sell- or buy- sides of the transaction (i.e., the publishers or the advertisers). Instead, networks

obscure prices within auctions, which enables them to capture undisclosed margins; neither the

buyers nor sellers will know whether the network takes, e.g., 20 or 50 percent of matched trades.

The qualitative differences between exchanges and networks result in two entirely different price

points: networks are more expensive than exchanges on a per transaction basis.

     93.        Compared to exchanges, networks tend to match smaller advertisers’ ads with ad space

from smaller publishers. Smaller publishers (e.g., local newspapers, niche websites, and blogs with

a comparatively lower volume of impressions) are attracted to networks because, unlike

exchanges, networks rarely require publishers to meet minimum impression or spend

requirements. For example, Google does not impose monthly page view or impression

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requirements on publishers who sell through Google’s network (the Google Display Network or

“GDN”). Additionally, networks tend to be more restrictive on the buy-side, often refusing to

accept bids from ad buying tools for large advertisers (DSPs).

   94.        Ad networks are unique. They and not interchangeable with publisher ad servers,

exchanges, or ad buying tools for large or small advertisers; those products serve different types

of customers (e.g., advertisers on the buy-side rather than publishers on the sell-side). They also

have vastly different sets of features and price points. A small but significant increase in the price

of an ad network does not cause publishers to switch, e.g., to an ad server, an ad exchange, or an

ad buying tool, as none of those products provide smaller publishers and advertisers with the

features unique to network marketplaces.

   95.        The relevant geographic market for display ad networks is the United States. Display

ad networks available in other countries are not a reasonable substitute for display ad networks

available in the United States.

         2.      Google has monopoly power in the network market.

   96.        Google has monopoly power in the web display ad network market in the United States.

Google describes its ad network (GDN) as “the largest ad network marketplace in the world.”

GDN reaches more user impressions and websites than any other display network, including over

2 million small online publishers globally. No other display ad network in the United States reaches

as many publishers and advertisers. Google has immense scale amongst the long tail of small

online publishers.

   97.        Direct evidence confirms Google’s monopoly power in the display ad network market.

GDN charges high double-digit commissions of at least 32 percent on advertising transactions,

which, according to public sources, is double the “standard rate” elsewhere in the industry.

Internally, Google acknowledges that its fees are very high and that it can demand them because
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of its market power. For example, in an internal 2016 conversation, Google executives commented

that Google’s ad networks make “A LOT of money” with its commission, and they acknowledged

that they do this because, quite simply, “we can.” “Smaller pubs don’t have alternative revenue

sources,” explained one Google employee when addressing the lack of viable competing ad

networks available to its customers.

     98.      Significant barriers to entry and expansion protect Google’s display ad network

monopoly power. Employing a variety of anticompetitive tactics, Google unilaterally captures a

large volume of the transactions otherwise available to competing networks by causing its

publisher ad server to preferentially route transactions to its display ad network (as addressed

further in the Anticompetitive Conduct section below). Moreover, Google imposes yet another

barrier by preferentially routing the bids of advertisers who use Google’s ad buying tool for small

advertisers (Google Ads) to its own GDN ad network (through a separate set of anticompetitive

conduct addressed below). Scale also operates as a barrier to entry. Ad networks need scale on

both the supply and demand sides; natural network effects make it difficult for any new networks

to enter and achieve scale.

D.         Ad Buying Tools for Large and Small Advertisers

     99.      Just as publishers use ad servers to advance their own interests (e.g., inventory

management and maximizing revenue), advertisers use ad buying tools to advance their own

interests (e.g., accessing and purchasing ad inventory appropriate for their campaigns at the lowest

prices). Broadly speaking, ad buying tools let advertisers set parameters integral to their purchasing

decisions, including details about the types of users they want to target and the maximum bids they

are willing to submit for various types of display ad inventory. Ad buying tools then use these

parameters to automatically bid (on the advertiser’s behalf) for ad space in exchanges and

networks.
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   100.    But there are two distinct types of ad buying tools—those for small advertisers and

those for large advertisers—and they are not usually interchangeable with each other. Ad buying

tools for small advertisers are, in essence, pared-down analogues of the ad buying tools for large

advertisers, which are typically referred to as DSPs (demand-side platforms).

   101.    These two different types of ad buying tools differ widely in both the features they offer

and the pricing and minimum spend requirements they impose. Fundamentally, DSPs serve and

are designed for a different type of advertiser than ad buying tools for small advertisers. DSPs

offer robust and complex bidding and trading options ill-suited for smaller and less sophisticated

advertisers. In fact, DSPs are so complex that they are frequently not used or managed by the actual

advertisers (e.g., Ford), but by the advertisers’ specialized ad buying team (e.g., an ad agency or

specialized division at an agency called a “trading desk”). Conversely, ad buying tools for small

advertisers usually do not meet the transparency, optimization, sophistication, or bidding needs of

large advertisers.

   102.    Furthermore, the different types of ad buying tools are also sold at different price levels.

DSPs usually require high minimum monthly spend commitments, sometimes $10,000 or more,

whereas ad buying tools for small advertisers can require just a few dollars to get started. For

example, Amazon’s DSP requires a monthly commitment of over $35,000, while Google’s buying

tool for small advertisers (Google Ads) requires no monthly minimum spend. In 2020, Google Ads

had thousands of advertisers that spent less than $250 per month on web display inventory in the

United States; none of those advertisers would have been able to switch to Amazon’s DSP or The

Trade Desk because each has minimum spend requirements of over $1,000 per month. So while

Amazon’s DSP and The Trade Desk compete with Google’s DV360, they do not compete for the

small advertisers using Google Ads. Thus, a small but significant increase in price of an ad buying



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tool for small advertisers does not cause advertisers to switch to ad buying tool for large

advertisers.

          1.      Web display ad buying tools for small advertisers in the United States
                  constitute a relevant antitrust market.

   103.        The market for web display ad buying tools (“ad buying tools”) for small advertisers

in the United States is a relevant antitrust market. These tools provide an interface that smaller

advertisers (e.g., real estate agents, plumbers, builders, doctors, and car dealerships) can use to bid

on and purchase the display ad inventory available on ad exchanges and in ad networks. These

tools allow small advertisers to optimize for their own interests, including purchasing the best

quality display ad inventory for the lowest prices.

   104.        As above, ad buying tools for small advertisers are not usually interchangeable with

the ad buying tools for large advertisers. Nor are ad buying tools for small advertisers

interchangeable with ad servers, ad networks, or ad exchanges; those products do not provide small

advertisers with an interface to bid on and purchase ad inventory in exchanges or networks. Those

products also differ significantly from ad buying tools for small advertisers insofar as they serve

different types of customers, have different features sets, and come with different price and entry

points. Those products are not viable alternatives in response to a small but significant price

increase because they do not provide small advertisers with the features of an ad buying tool at an

affordable price point.

   105.        The relevant geographic market for display ad buying tools for small advertisers is the

United States. Display ad buying tools for small advertisers available in other countries are not a

reasonable substitute for the display ad buying tools for small advertisers available in the United

States.




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          2.      Web display ad buying tools for large advertisers in the United States
                  constitute a relevant antitrust market.

   106.        The market for web display ad buying tools for large advertisers in the United States is

a relevant antitrust market. These tools provide an interface that large advertisers (e.g., Ford or

Nike) use to bid on and purchase display ad inventory on ad exchanges and in ad networks. These

tools allow large advertisers to optimize for their own interests, including purchasing the best

quality display ad inventory on exchanges for the lowest prices.

   107.        As above, ad buying tools for large advertisers are not usually interchangeable with the

ad buying tools for small advertisers. Nor are ad buying tools for large advertisers interchangeable

with ad servers, ad networks, or ad exchanges; those products do not provide large advertisers with

an interface to bid on and purchase ad inventory in exchanges. Those products also differ

significantly from ad buying tools for large advertisers insofar as they serve different types of

customers, have different features sets, and come with different price and entry points. Thus, a

small but significant increase in price of an ad buying tool for large advertisers, would not cause

those advertisers to switch to an ad server, an exchange, or network.

   108.        The relevant geographic market for display ad buying tools for large advertisers is the

United States. Display ad buying tools for large advertisers available in other countries are not a

reasonable substitute for the display ad buying tools for large advertisers available in the United

States.

          3.      Google has monopoly power in the web display ad buying tool market for small
                  advertisers.

   109.        Google’s ad buying tool Google Ads has monopoly power in the United States in the

web display ad buying tool market for small advertisers. Ad buying tools for small advertisers




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serve startups and local businesses such as real estate agents, doctors, dentists, restaurants,

automotive repair shops, craftsmen, electricians, hair salons, architects, and landscapers.

   110.    Google’s records reveal that advertisers using Google Ads purchase at least half of the

impressions in Google’s ad exchange (which is the largest ad exchange), and over 60 percent of

the impressions on Google’s display network, GDN (which is the largest ad network).

   111.    The market power of Google Ads is also evidenced by the fact that Google’s exchange

charges supra-competitive fees for exclusive access to Google Ads advertisers. Google’s

documents confirm as much, describing its exchange’s ability to charge double to quadruple the

prices of some of its nearest exchange competitors because of exclusive access to Google Ads

advertisers. The ability to extract such rents, dependent on Google Ads exclusivity, demonstrates

Google Ads’ monopoly power. Moreover, running sequential auctions allows Google to extract

additional non-transparent margins, which it does not disclose to advertisers.

   112.    Google Ads also has market power over the small advertisers it serves because most

rely on a single ad buying tool for a given advertising format (e.g., display ads). These small

advertisers tend to single home because using multiple ad buying tools imposes substantial

additional costs in terms of the time, effort, training, and expenses that would be necessary to

manage campaigns across different ad buying tools. Google Ads also does not permit small

advertisers to completely export the data they need to easily switch to another ad buying tool. As

a result, while very large advertisers might be able to absorb the costs of using multiple ad buying

tools at a time, small advertisers almost always use just one at a time.

   113.    Google’s market power with Google Ads is protected by at least four critical barriers

to entry and expansion. First, Google Ads charges opaque fees and does not let advertisers readily

audit the ad inventory Google purchases on their behalf. These act as barriers because they impede



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advertisers from switching to, e.g., a lower-cost or higher-quality provider. Second, Google’s

practice of withholding YouTube video inventory from rival ad buying tools (addressed below)

effectively locks single-homing small advertisers into Google’s ad buying tool. In addition, other

providers of ad buying tools indicate that it does not make economic sense to try to compete with

Google Ads for small advertisers, because they cannot achieve sufficient scale with smaller

advertisers who want to buy display, YouTube, and even search ads, through just one tool. Finally,

advertisers use ad buying tools to keep track of the users they have targeted with ads, the users that

have made purchases, and the users that they want to keep targeting with more ads. Google Ads

limits advertisers from accessing and taking this data with them to another tool. As a result,

advertisers are locked in and have high switching costs; switching to a different ad buying tool

provider means abandoning the valuable data and intelligence they already gathered in Google

Ads and starting over from scratch.

E.      YouTube

        1.      Instream online video advertising is a relevant antitrust market in the United
                States.

     114.    The market for instream online video advertising in the United States is a relevant

antitrust market. Online instream ads occur within the video stream of a video the user is watching

(e.g., a video ad before, during, or after a YouTube video), while outstream ads occur when the

user scrolls through other content (e.g., a video ad that automatically plays when scrolling through

an article). Instream online video advertising is not interchangeable with other types of online

advertising, like search or display advertising. Instream online video advertising typically serves

distinct campaign goals for advertisers and usually commands significantly higher prices than

online display ads, suggesting that online display ads do not constrain the prices of instream online

video ads. Instream online video advertising is also not interchangeable with outstream video

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advertising since the end-user behavior differs significantly—an end-user passively watches

instream video but scrolls through outstream video—leading advertisers to view the ad spaces

differently.

        2.        Google has market power in the instream online video advertising market.

    115.       YouTube has market power in the instream online video advertising market.

YouTube’s share of the overall online video advertising market is at least 43 percent in the United

States, and potentially much higher for instream online video advertising. Further, YouTube has

immense reach amongst consumers in the United States, reaching approximately 190 million such

consumers. Among younger U.S. consumers, 77 percent of U.S. internet users aged 15-25 used

YouTube, as measured in Q3 2020. Even amongst older age-groups, YouTube’s reach was at least

67 percent. YouTube’s substantial reach among U.S. consumers makes it a “must-have” source of

online instream video inventory for advertisers and is considered a “strategic anchor” by Google

for its buying tool DV360. Accordingly, Google wields significant market power in the instream

online video ads market, as demand for YouTube content is unique compared to other online video

publishers that sell instream online video advertising adjacent to short-form user created video

content.

    116.       The relevant geographic market for online instream video advertising is the United

States. Online instream video advertising available in other countries is not a reasonable substitute

for the online instream video advertising available in the United States.

                                 VII. ANTICOMPETITIVE CONDUCT

    117.       Google unlawfully forecloses competition in the market for publisher ad servers, in the

market for ad buying tools for large advertisers, in the market for ad buying tools for small

advertisers, and in the separate markets for ad exchanges and ad networks. Google excludes

competition by engaging in conduct unlawful under settled antitrust precedent, including through
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unlawful tying arrangements, a pattern and practice of exclusionary conduct targeting actual and

potential rivals, and even a market allocation and price fixing agreement with Facebook, its largest

potential competitive threat in the publisher ad server and ad network markets.

A.      Google forces publishers to license Google’s ad server and trade in Google’s ad
        exchange.

     118.   Prior to Google’s anticompetitive conduct, the markets for ad exchanges and publisher

ad servers were competitive. When Google originally entered the ad exchange market in 2009,

publishers and advertisers had been trading in exchanges for some time. Google was late to enter

the ad exchange market and faced significant competition from large and well-funded players like

Microsoft and Yahoo!. In 2009, the Yahoo! exchange alone, for example, processed nine billion

daily ad impressions. After launching that same year, Google’s exchange transacted fewer than

200 million daily impressions. At the time, Google also faced significant competition in the

publisher ad server market. Google acquired its publisher ad server from DoubleClick in 2008 but

faced competition from companies such as 24/7 Real Media (owned by WPP PLC), aQuantive

(owned by Microsoft), and ValueClick (publicly traded).

     119.   Google, however, quickly began pursuing an unlawful strategy to foreclose

competition in both markets. At the time, Google operated an ad buying tool for small advertisers

and already had significant power in that market. Nearly one million small advertisers across the

country—including restaurants, clothing stores, doctors, and electricians—used Google’s ad

buying tool to bid on display ad space. Immediately after acquiring a publisher ad server and

launching its exchange in 2009, Google began to require that the small advertisers bidding through

Google Ads transact in both Google’s ad network and Google’s ad exchange. Google also required

that the large publishers wanting to receive bids from this enormous group of small advertisers

trade in Google’s exchange and license Google’s ad server. In essence, Google demanded that it

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represent the buy-side, where it extracted one fee, as well as the sell-side, where it extracted a

second fee, and it also forced transactions to clear in its own exchange, where it extracted a third

fee.

       120.   Google was able to force publishers and advertisers to trade in Google’s exchange, and

publishers to license Google’s ad server, because Google’s ad buying tool for small advertisers

has had substantial market power in the United States for at least a decade. Google originally called

its product for small advertisers AdWords, but it is now known as Google Ads. In 2009, some

250,000 small and medium advertisers in the United States used this ad buying tool to purchase

search and display ads. And since then, the number of advertisers using this tool to purchase

display inventory on exchanges has rapidly increased even further. In 2013, the number of

advertisers using Google Ads doubled to two million. Today, millions of small- to medium-sized

businesses use Google Ads to bid on and purchase display ad space trading in Google’s AdX

exchange, and those advertisers do not have alternative tools to use. Other ad buying tools

attempting to compete reached far fewer advertisers, and most have now exited the market

altogether, leaving advertisers without alternatives to Google’s dominance.

       121.   Google gained its monopoly in the market for ad buying tools for small advertisers in

part due to its monopoly in the display ad network market and its significant scale in search

advertising. By 2009, Google’s ad network GDN was the leader in reach (unique visitors to

publishers’ sites); Google leveraged this fact by requiring the use Google Ads by any advertiser

seeking to purchase ad space through GDN. Similarly, Google required small advertisers to use

Google Ads to purchase search ads on Google Search. Google’s relationships with small

advertisers seeking to purchase display advertising is based on its enormous scale in search

advertising. Having already established a relationship with small advertisers by selling search



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advertising, the marginal cost for selling display advertising to those same small advertisers is

negligible. Google’s competitors, by contrast, find it uneconomical to reach a sufficient number of

small advertisers at scale to offer buying tools to compete with Google Ads.

   122.    Google Ads also had market power over its small advertisers because those advertisers

almost always use just one ad buying tool at a time. When deciding which ad buying tool to use,

most advertisers chose Google’s because it was the only way to purchase Google Search ads and

display ads on Google’s leading display network, GDN.




   123.    Google monopolized the exchange and ad server markets by forcing publishers to

license Google’s ad server and trade in Google’s exchange in order to receive bids from the more-

than one million advertisers using Google’s buying tool, Google Ads. First, Google automatically

routed small advertisers’ ad network bids to Google’s exchange. Additionally, Google refused to

route advertisers’ bids to non-Google exchanges. Next, Google programmed its exchange to return

real-time bids only to those publishers using Google’s new publisher ad server. As Google’s

                                   wrote in an internal PowerPoint presentation in 2014, “AdX is

also the only platform with direct access to the entirety of AdWords demand, one of the world’s

largest ad networks.”

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   124.      Through this conduct, Google acted against the best interests of the small advertisers

bidding through Google Ads. If Google were serving the interests of the small businesses using

Google Ads, Google would have routed their bids to the exchanges that offered the lowest prices

for the identical inventory, just as competing ad buying tools did. In a competitive market,

advertisers prefer to buy across multiple exchanges in order to reach the largest possible pool of

supply at the best possible prices, thereby enabling and fostering competition between the

exchanges.

   125.      Internal Google documents reveal that Google imposed these bid routing restrictions

for the express purpose of foreclosing competition. In a Display Strategy document from August

2012, Google noted that they “are artificially handicapping [their] buyside [Google Ads] to boost

the attractiveness of [their] sell-side (AdX). Specifically, to limit [Google Ads] to buying only on

AdX, an exclusivity that makes AdX more attractive to sellers.”

   126.      Because publishers are interested in exchanges returning real-time bids for their

inventory, Google effectively required publishers to use its ad server in order to work with its

exchange. Publishers also only use a single ad server at a time to manage their inventory, so they

had to forgo either (a) using any competing ad server or (b) access to the enormous pool of

advertisers using Google Ads and bidding into Google’s exchange. From the first days of Google’s

AdX exchange, advertisers bidding through Google Ads made up the vast majority of purchases

in Google’s exchange: around half of total transactions by revenue within a year of AdX’s launch,

59 percent of total transactions a few years later, and about two-thirds of all transactions today.

   127.      An article in The Wall Street Journal explained Google’s conduct as follows: “Using

Google’s [ad server] DoubleClick for Publishers is the only way to get full access to Google’s




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AdX exchange, publishers say. For many years, Google’s AdX was the only ad exchange that had

access to this fire hose of ad dollars.”

    128.    Google’s conduct successfully foreclosed competition in the publisher ad server and

exchange markets. When Google acquired the DoubleClick ad server in 2008, Google’s share of

the publisher ad server market was around 48 to 57 percent, and Google faced competition in both

the ad server and ad exchange markets. In the ad server market, Google has now effectively

foreclosed publisher ad server competition from companies that included 24/7 Real Media,

aQuantive, and ValueClick. As internal Google documents show, by coupling its ad server with

its substantial market power on the buy-side, Google prevented publishers from switching to

competing ad servers and quickly cornered the remainder of the market. By 2011, approximately

78 percent of publishers in the United States used Google’s ad server, and by 2019, Google’s share

of the market increased to over 90 percent of large publishers.

    129.    Google maintained its monopoly power over ad servers and its stranglehold in the ad

exchange market by continuing the same type of exclusionary conduct. In 2016, Google started

routing the bids of small advertisers from Google’s buying tool to non-Google exchanges, but

significantly and intentionally restrained the routing of bids to non-Google exchanges for the

express purpose of continuing to exclude and suppress competition. Google’s exchange also

continues to return live bids only to publishers using Google’s ad server. In sum, Google did not

want to actually undo its Google Ads—exchange—ad server tie.

    130.    Google similarly requires publishers seeking access to large advertisers’ bids to trade

in Google’s exchange (and pay Google’s exchange fees) and to license Google’s ad server (and

pay Google’s ad server license fees). Google’s strategies here are numerous and discussed

throughout this Complaint. For instance, Google uses mandatory price floors (discussed below in



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paragraphs 273-279) and other auction manipulations like project Bernanke (discussed below in

paragraphs 148-154) to force publishers to transact with DV360 advertisers in Google’s exchange.

Uniform Price floors are not competition on the merits. Google deployed another project called

project Poirot to detect and reduce spending on non-Google exchanges. Finally, Google makes

many of the features in DV360 (e.g., affinity audiences targeting) unavailable to advertisers if they

participate in exchanges other than Google’s, which results in many advertisers using Google’s

exchange even though they would not do so in a competitive market. Because Google’s exchange

then only routes live bids to publishers using Google’s publisher ad server, publishers are

effectively forced to use Google’s publisher ad server to receive bids from DV360 advertisers.

This conduct enables Google to maintain its monopoly power in the publisher ad server market

and exclude competition in the exchange market. Google has specifically discussed this “lock in”

effect internally.

B.      Google uses its control over publishers’ inventory to block exchange competition.

     131.   In addition to forcing publishers and advertisers to transact in its own exchange, Google

used its control over publishers’ inventory and its status as publishers’ agent to foreclose exchange

competition through a host of anticompetitive conduct. Google restricted publishers from selling

their inventory in more than one exchange at a time, blocked competition from non-Google

exchanges under a false pretense, and blocked publishers from accessing and sharing information

about their heterogeneous inventory with non-Google exchanges. In doing so, Google foreclosed

competition in the exchange market, enabling its exchange to charge very high fees that even

Google could not actually justify. Google internally admits that an exchange should be more of “a

public good used to facilitate buyers and sellers” and not “an immensely profitable business,” as

it is for Google. Google’s anticompetitive conduct, however, ensured that publishers and

advertisers could not benefit from competition.
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           1.      Google blocks publishers from sending their inventory to more than one
                   marketplace at a time.

    132.        Around 2009-2010, advertising exchanges (including Google’s AdX) started to

compete with one another by submitting real-time bids for publishers’ inventory. As the market

migrated to real-time bidding, Google used its new control over publishers’ inventory through its

publisher ad server to thwart competition between marketplaces. Google accomplished this by

forcing publishers to route their ad space to a single exchange, one at a time, rather than all at once.

Google foreclosed exchange competition in this manner from 2009 through 2016. The industry

referred to this practice as waterfalling.

    133.        Waterfalling reduced publishers’ yields because it blocked competition between

exchanges. Routing ad space into multiple exchanges at the same time would permit publishers to

benefit from access to greater advertiser demand. One exchange might have an advertiser willing

to bid a $2 CPM (cost per thousand) for a publisher’s impression, but another exchange might have

a different advertiser willing to bid a $3 CPM. Being forced to route to one exchange at a time

deprives publishers of the opportunity to receive these higher bids (and therefore higher sales

prices).

    134.        Waterfalling also impeded take rate and quality competition between exchanges.

Competition between exchanges forces exchanges to compete on quality and take rates, regardless

of whether they operate in financial markets or, as here, in openly traded online display ads. The

sellers and buyers in an exchange measure an exchange’s efficiency using the tightness of the bid-

ask spread, i.e., the difference between the bid (the amount for which buyers are willing to sell the

instrument) and the ask (the amount for which sellers are willing to sell the instrument).

Competition between electronic exchanges leads to pressure on exchange prices and results in




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efficiency gains through smaller bid-ask spreads. Google, however, foreclosed exchange

competition in this manner from 2009 through 2016.

       2.      Google blocks competition from non-Google exchanges and deceives
               publishers about Dynamic Allocation.

   135.     In addition to blocking real-time competition between exchanges, Google’s ad server

foreclosed exchange competition by preferentially routing publishers’ inventory to Google’s new

exchange through a process it called Dynamic Allocation.

   136.     At a high level, Dynamic Allocation granted Google’s exchange a superior right of first

refusal on all of the impressions a publisher made available to exchanges. Google’s ad server let

Google’s exchange compete for publishers’ impressions by returning live bids, while requiring

non-Google exchanges to compete for the same impressions with static non-live bids. Usually, an

exchange’s static bid was set to equal the overall price the exchange historically paid for

publishers’ impressions. Google’s ad server passed the rival’s static bid to Google’s exchange and

permitted Google’s exchange to purchase the impression by paying just one penny more. In other

words, Google used its control over publishers’ inventory to let its exchange view a publisher’s

valuable impression—like a box seat at a baseball game—and purchase that impression for just a

penny more than the average price that a non-Google exchange paid for any old impression—just

like the average price for any seat in the stadium.

   137.     Google’s adoption of Dynamic Allocation in 2010 ended DoubleClick’s neutrality as a

seller’s agent. Prior to Google’s acquisition of DoubleClick, DoubleClick operated a publisher ad

server but did not have an operational exchange. The DoubleClick publisher ad server also routed

publishers’ impressions to exchanges and networks in a neutral manner to maximize publishers’

yield. Under Google’s control, Dynamic Allocation ended the neutrality of the DoubleClick ad

server and highlighted the problems with Google’s conflicts of interest.

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   138.    With waterfalling and Dynamic Allocation, Google’s ad server delivered a one-two

punch to competition in the exchange market. Google used waterfalling to block other exchanges

from competing simultaneously for impressions. Then, through Dynamic Allocation, Google’s ad

server passed inside information to Google’s exchange and permitted Google’s exchange to

purchase valuable impressions at artificially depressed prices. Competing exchanges were

deprived of the opportunity to compete for inventory and left with the low-value impressions

passed over by Google’s exchange.

   139.    Once Google routed publishers’ impressions to Google’s exchange, Google further

harmed publishers by foreclosing competition between the bidders in its exchange auction. Google

considered, but ultimately decided against “creating a completely neutral platform like the NYSE.”

Instead, Google chose to craft a rigged exchange to benefit its own ad buying tools. In other words,

Google chose to “stack the deck in favor of Google [demand].” As a result, Google’s exchange

suppresses competition in its auction, permitting Google’s ad buying tools (Google Ads and

DV360) to win over 80 percent of the auctions in Google’s exchange.

   140.    Google, mirroring the duties of financial brokers to their clients, promised publishers

that its publisher ad server would act in their best interests. Google told publishers, for instance,

that Dynamic Allocation maximized their inventory yield; it “maximizes revenue,” Google

advertised about its publisher ad server. Google also told publishers that, with Dynamic Allocation,

publishers have a “risk-free way to get the highest real-time revenues for all their non-guaranteed

impressions.”

   141.    In fact, Google concealed the nature of its conduct and knew that Dynamic Allocation

did not in fact maximize publishers’ yield. Google internally discussed how publishers could make

more money selling their inventory if exchanges really competed. Internal Google documents



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reveal Google’s knowledge of its own misrepresentations, stating that “the optimal publisher set

up includes multiple exchanges in order to capture the largest demand pool and increase RPMs

[revenue per impression] through [exchange] competition.” In fact, according to one Google study,

competition between exchanges increased publishers’ clearing prices by an average of 40 percent.

In other words, Dynamic Allocation had permitted Google’s exchange to clear publishers’

inventory for depressed prices. One industry publication put it succinctly, “[t]he lack of

competition was costing pub[s] cold hard cash.”

       3.      Google restricts information to foreclose competition and advantage itself.

   142.     Google further foreclosed competition in the exchange and ad buying tool markets by

blocking publishers’ ability to access information about their heterogenous inventory. Google’s ad

server manages that inventory and promises to maximize publishers’ inventory yield. On behalf of

publishers, the ad server is what identifies the site visitors associated with the publishers’

inventory, assigning individual IDs to each visitor. In 2009, Google’s ad server started hashing or

encrypting publishers’ ad server user IDs, prohibiting publishers from sharing those IDs with non-

Google exchanges and non-Google ad buying tools. Thus, Google strategically prevented

publishers’ users from being easily identified, with one critical caveat: Google enables itself to use

that very same information for its own trade decisions.

   143.     At the time of the DoubleClick acquisition, Google made representations to both the

FTC and the United States Congress regarding publishers’ control and ownership over their critical

ad server data. Google assured Congress that DoubleClick “data is owned by the customers,

publishers and advertisers, and DoubleClick or Google cannot do anything with it.” And Google

represented to the FTC that “customer and competitor information that DoubleClick collects

currently belongs to publishers, not DoubleClick,” and “[r]estrictions in DoubleClick’s contracts

with its customers, which those customers insisted on, protect that information from disclosure.”
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Google then “committed to the sanctity of those contracts.” In essence, DoubleClick’s contracts

rendered publishers’ data confidential and non-public, thereby prohibiting Google from using that

data to act against publishers’ interests.

    144.    In order to sell an ad impression at a price reflective of its true value, publishers (and

the exchanges that sell on their behalf) need to be able to adequately identify the user associated

with the impression. User IDs permit publishers and their exchanges to understand the value of

inventory, cap the number of times users see the same ad, and effectively target and track online

advertising campaigns. When exchanges cannot identify users in auctions (e.g., through cookies),

the prices of impressions on exchanges can fall by about 50 percent, according to one Google

study.

    145.    However, despite the representations made during its acquisition of DoubleClick, in

2009, Google started restricting publishers’ ability to access and share their ad server user IDs.

Google accomplished this by hashing or encrypting the user IDs differently for each publisher

using Google’s ad server (e.g., John Connor = user QWERT12345), as well as for each advertiser

bidding through Google’s ad buying tools (e.g., John Connor = user YUIOP67890). This change

interfered with publishers’ ability to share consistent user IDs with non-Google exchanges and

networks. As a result, publishers, along with their advertisers, exchanges, and networks, could not

easily know that two different user IDs actually belonged to the same user.

    146.    While Google blocked publishers from accessing and sharing these user IDs with non-

Google exchanges and networks, Google shared the same raw IDs with Google’s own network

and exchange, as well as with Google’s own ad buying tools (DV360 and Google Ads). So for

Google’s network, exchange, and ad buying tools, John Connor is always HJKLM54321. In other

words, the only way for publishers and advertisers to easily know that two different user IDs



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actually related to the same individual was to use Google’s ad buying tools and trade in Google’s

exchange.

               i.      Information asymmetry causes publishers and advertisers to trade on
                       non-Google exchanges at their own risk.

   147.     The restrictions Google imposed on publishers’ access to ad server user IDs meant that

publishers and advertisers trading on non-Google exchanges did so at their own risk. By blocking

publishers’ ability to access and share their ad server user IDs, Google’s exchange would always

have better information about publishers’ heterogenous inventory. As a result, advertisers bidding

through a non-Google ad buying tool or exchange could not efficiently know if they are bidding

on valuable impressions, cap the frequency that consumers see their same ads, target audiences,

or avoid bidding against themselves in second-price exchange auctions. But, of course publishers

and advertisers could simply transact in Google’s exchange using Google’s ad buying tools and

thereby avoid all of these harms Google artificially created. In essence, by scrambling the

DoubleClick ad server user IDs, Google created a “heads I win, tails you lose” scenario.

               ii.     Google forecloses competition by using inside information to win
                       auctions.

   148.     Google is able to further exploit its monopoly in ad servers to the detriment of

publishers. Google’s next step was to begin using its exclusive access to publishers’ raw ad server

user IDs to develop a number of internal non-transparent auction programs that exclude

competition in both the exchange and ad buying tool markets. Google uses its artificial information

advantage to engage in various forms of price discrimination and opportunity allocation,

engineering auction outcomes that are different than those that would result from a free and open

bid process. These programs ensured that publishers’ impressions, especially the high value ones,

would transact through Google’s exchange and ad buying tools. So while Google publicly says its



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products and product features are good for publishers and advertisers, they are not. Behind the

scenes, Google manipulates the bidding process to maximize its own profits, rather than to

maximize the profits of individual publishers and advertisers.

   149.    Google’s New York-based quantitative team “gTrade” designed one such program

called Reserve Price Optimization (“RPO”). Google’s RPO program uses exclusive access to

publishers’ user IDs to dynamically adjust the price floors in Google’s exchange on a per-buyer

basis depending on what Google knows a particular buyer will actually pay. For example, if a

publisher had set its floor price to a $10 CPM, RPO can increase the floor price to just below a

buyer’s predicted willingness to pay, e.g., a $14.50 CPM; this would force advertisers in Google’s

second-price exchange auctions to pay the RPO floor set by Google, as opposed to the amount bid

by the auction’s second-highest bidder. In other words, Google would manipulate the bid

belonging to a small business advertiser (e.g., a local doctor) from one price to another higher price

(e.g., from $8 CPM to $14.50), without disclosing the manipulation to the advertiser. By adjusting

floors in this manner, Google ensures that its own exchange transacts publishers’ most valuable

impressions, even though an advertiser in a non-Google exchange would have otherwise won.

Competing exchanges cannot similarly adjust their floors because Google blocks publishers from

accessing and sharing their ad server user IDs.

   150.    Google’s gTrade team launched another program called Dynamic Revenue Share

(DRS) that leverages exclusive access to publishers’ ad server user IDs to exclude exchange

competition in a second way. Google automatically opted publishers into the DRS program under

the misrepresentation that it would make publishers more money. DRS dynamically adjusts the

take rate that Google’s exchange charges in order to win more impressions, most particularly the

high-value impressions. For example, if a publisher offers an impression for sale in Google’s



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exchange, but the highest bid cannot clear the publisher’s price floor due to Google’s take rate,

DRS can dynamically lower Google’s take rate to ensure that the impression will still transact in

Google’s exchange. In order to know when and by how much Google should vary its take rate

with DRS, Google must be able to accurately determine the value of impressions, which depends

upon its access to publishers’ ad server user IDs. Google forecloses competition in the exchange

market by blocking publishers from sharing their ad server user IDs with non-Google exchanges.

    151.    In 2013, Google’s gTrade team designed Project Bernanke, yet another program to

exclude competition. Named after the former Federal Reserve Chairman, Project Bernanke uses

privileged access to detailed information regarding what advertisers historically bid to help

advertisers using Google Ads beat the advertisers bidding through competitors’ ad buying tools.

The Bernanke program helped advertisers bidding through Google’s ad buying tool win

publishers’ valuable impressions in Google’s exchange. The Bernanke program is designed so that

it is not transparent to publishers.

    152.    To illustrate how Bernanke works, suppose an advertiser using Google Ads (e.g., a

local doctor) bids a $10 CPM for a USA Today ad impression targeted to John Connor. And

suppose a different advertiser (e.g., Ford) bids a $12 CPM through The Trade Desk ad buying tool.

Both ad buying tools then route the advertisers’ bids to Google’s exchange. In the absence of the

Bernanke program, Ford’s $12 bid would win and Google would extract only one fee (its exchange

fee). But the Bernanke program changes the outcome. Bernanke effectively manipulates the

doctor’s bid without their knowledge (or anyone’s knowledge) before routing it to Google’s

exchange, ensuring that the doctor nonetheless wins the impression targeted to John Connor. In

this situation with Bernanke, Google will extract both its exchange fee and a second ad buying




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tool fee. In this regard, Bernanke excludes competition from advertisers using non-Google ad

buying tools.

   153.    According to internal Google documents, prior to Bernanke’s introduction, advertisers

bidding through competitors’ ad buying tools were actually beating the advertisers bidding through

Google’s ad buying tools. Google’s idea with Bernanke was to trade on inside information to help

Google reverse this trend. The program permitted Google to radically influence the amount of

trading executed through Google Ads and in Google’s exchange. Google looked back at the

Bernanke program’s success as follows: “In the last year, the team launched Project Bernanke,

which uses novel trading strategies to increase GDN’s win rate on AdX by +20%, reversing a

worrisome 2013 trend of AdX buyers growing at GDN’s expense.” In just the first year of launch,

the Bernanke program alone swelled trading in Google’s exchange enough to increase annual

revenue by $230 million.

   Screenshot of Federal Reserve Chairman Ben Bernanke, the namesake of Project Bernanke,
   discussing quantitative easing on Google’s exchange:




   154.    The preceding gTrade programs represent an illustrative but incomplete sample of the

sophisticated auction programs Google uses to exclude competition in the exchange and ad buying

tool markets. Google’s gTrade team developed other programs, including Bell and Elmo, that also

use inside information to privilege Google’s exchange over rival exchanges. These programs

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depend on Google cutting off access to publishers’ ad server user IDs and rendering access to those

IDs exclusive for Google. The programs create inefficiencies in the allocation of impressions and

reduce competitors’ ability to compete on price.

   155.    Moreover, these programs account for substantial additional Google revenue at the

direct expense of harm to competition. RPO alone accounts for an additional $250 million dollars

of annual recurring revenue, while various other auction programs shift substantial additional

revenue to Google: DRS ($250m), Bernanke ($230m), Bell ($140m), and Elmo ($220m). In short,

Google uses its monopoly power to manipulate auctions through algorithms that modify the

exchange architecture in order to extract hundreds of millions of dollars in additional revenue and

harm consumers by foreclosing competition.

               iii.   While Google cites “privacy” as the justification for restricting access
                      to user IDs, Google does not actually care about privacy.

   156.    Google’s publicly stated reason for its publisher ad server cutting off publishers’ ability

to share their ad server user IDs with non-Google exchanges is the purported protection of users’

privacy. But Google does not actually care about users’ privacy. Rather, Google wants to prevent

companies from creating deeper and more comprehensive user profiles by combining different sets

of user data. However, Google’s ad server shares those very user IDs with Google’s exchange and

buying tools. Google then does what it wants to prevent others from doing: it combines the data

sets to create more comprehensive user profiles and deliver more targeted advertising.

   157.    To be clear, this meant that contrary to Google’s privacy justifications, Google

prevented consumers from having similar privacy benefits when a publisher or advertiser used

Google’s network, or Google’s exchange, or when an advertiser used Google’s ad buying tools.

At the same time, Google fails to provide consumers with benefits derived from allowing

publishers to maximize competition for their ad space on all exchanges. The higher advertising

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revenue publishers make from exchanges permits publishers to offer consumers better quality

content and lower-priced or free access to their content.

   158.    Furthermore, the egregious ways that Google violates users’ privacy further evidence

the pretextual nature of Google’s purported concerns for privacy. Indeed, Google knowingly failed

to disclose the lack of privacy of its Google Drive service, and it has also met secretly with

competitors to “slow down” efforts to enhance user privacy.

                       (a)    Google violates the privacy of 750+ million Android users.

   159.    Google’s violation of the privacy of 750+ million Android users illustrates the pretext

of Google’s privacy concerns. Around July of 2015, Google, through its cloud back up service

Google Drive, entered into an exclusive agreement with Facebook’s private messaging service

WhatsApp. As provided in that agreement, starting around October 2015, WhatsApp users on

Google-Android devices were presented with the option to back up their WhatsApp messaging

history, photos, video, and audio files to Google Drive.

   160.    Users at the time were led to believe that their WhatsApp messages were private and

not accessible to third parties such as Google or Facebook. WhatsApp started encrypting users’

WhatsApp messages in 2013, completed end-to-end encryption on Android users’ messages in

2014, and completed all end-to-end encryption in 2016.

   161.    WhatsApp prominently marketed the fact the messages that users sent and received

using WhatsApp and through its encryption protocol were not accessible by third parties. The

WhatsApp website in 2016 and 2017 read: “Many messaging apps only encrypt messages between

you and them, but WhatsApp's end-to-end encryption ensures only you and the person you're

communicating with can read what is sent … messages are secured with a lock, and only the

recipient and you have the special key needed to unlock and read them.”



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   Screenshot of the WhatsApp mobile application the time assuring users that no third party
   could read or listen to their communications:




   162.    The privacy of communications from third party access was not a minor issue. Many

consumers demanded communications applications that ensured their communications were

walled off from anyone else from having access.

   163.    Media reports reinforced the idea that no third party had access to users’ WhatsApp

communications, including those backed up to Google Drive. For example, Mike Isaac with The

New York Times wrote in 2016, “WhatsApp, the messaging app owned by Facebook and used by

more than one billion people, on Tuesday introduced full encryption for its service, a way to ensure

that only the sender and recipient can read messages sent using the app.” In a similar vein, a 2016

report from Lifehacker, a technology site launched by Gawker Media, stated: “WhatsApp can also

backup your messages to Google Drive, though they’re encrypted so that shouldn’t be that big of

a deal. Even if law enforcement requested it from Google, they wouldn’t be able to read it.”

   164.    However, this was not true. Conceding this fact in a June 2016 memo, Google wrote

that “when WhatsApp media files are shared with 3rd parties such as Drive, the files are no longer

encrypted by WhatsApp.” The memo continued, “For clarity, all of the [WhatsApp] data stored in

Drive is currently encrypted with Google holding the keys.” What this meant was that Google, as

a third party, could in fact access the photos, videos, and audio files, that users thought they had

shared privately on WhatsApp.

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   165.    Google knew users were misled about the privacy of their communications. The same

June 2016 memo acknowledges: “WhatsApp’s current messaging around end-to-end encryption is

not entirely accurate.” The memo also states: “WhatsApp currently markets that all

communications through its product are end-to-end encrypted, with keys that only the users

possess. They have failed to elaborate that data shared from WhatsApp to 3rd party services does

not get the same guarantee. This includes backups to Google Drive.”

   166.    Google also knew that it was important for Google Drive users to know the truth: that

Google as a third party had access to their communications. The same June 2016 Google memo

memorialized, “It’s important for users to know that when WhatsApp media files are shared with

3rd parties such as Drive, the files are no longer encrypted by WhatsApp.”

   167.    But Google did nothing to correct this misunderstanding. Rather, it failed to disclose

the relevant information to its customers, with the intent to sign up more users of Google Drive.

For example, in an October 7, 2015 Google blog post explaining the WhatsApp-Google Drive

partnership to consumers, Google affirmed that users’ WhatsApp backups were private backups:

“WhatsApp for Android lets you create a private backup of your chat history, voice messages,

photos, and videos in Google Drive.” In addition, the Google Drive website, the Google Drive

mobile application, and the Google Drive Terms and Privacy policy all failed to disclose to users

that Google as a third party had access to their WhatsApp communications. The Google Drive

terms of service at the time even permitted Google the ability to use its access to users’ private

WhatsApp communications in Google Drive to sell advertising.

   168.    Google also concealed the fact that it could access users’ WhatsApp communications.

Normally, users can log into their Google Drive account and view their files contained there. But

according to an internal Google memo, Google was “opaquely” backing up users’ WhatsApp



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communications to Google Drive. As a result, users could not log into Google Drive to discover

that Google had access to their decrypted WhatsApp communications.

   169.    Google’s privacy affirmations, omissions, and concealment resulted in increased

demand for Google’s back up service. Users rapidly signed up for Google Drive backup of

WhatsApp communications. By June of 2016, about 434 million WhatsApp users backed up

approximately 345 billion WhatsApp files to Google Drive, netting for Google Drive about a

quarter of a billion new Google Drive customers. By May of 2017, Google Drive had gained

approximately 750 million new WhatsApp back up accounts. In short, Google had no problem

violating the privacy of almost a billion users if it helped them to grow their business.

                       (b)     Google secretly met with competitors to discuss competition and
                               forestall consumer privacy efforts.

   170.    The manner in which Google has actively worked with Big Tech competitors to

undermine users’ privacy further illustrates Google’s pretextual privacy concerns. For example, in

a closed-door meeting on August 6, 2019 between the five Big Tech companies—including

Facebook, Apple, and Microsoft—Google discussed forestalling consumer privacy efforts. In a

July 31, 2019 document prepared in advance of the meeting, Google memorialized: “we have been

successful in slowing down and delaying the [ePrivacy Regulation] process and have been working

behind the scenes hand in hand with the other companies.”

   171.    Google also sought a coordinated effort to forestall and diminish child privacy

protections in proposed regulations by the FTC and in proposed legislation by Senators Markey

and Hawley. According to the same July 31, 2019 document, Google wanted to use the upcoming

meeting with the other Big Tech firms to “find areas of alignment and narrow gaps in our positions

and priorities on child privacy and safety.” Google expressed particular concern that Microsoft

was taking child privacy more seriously than Google and sought to rein in Microsoft. “Whether at

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this meeting or at another forum, we may want to reinforce that this is an area of particular

importance to have a coordinated approach,” read the memo.

   172.     Not unlike concerns for defections in a price-fixing cartel, Google expressed frustration

that companies like Facebook were not aligning with Google to reduce users’ privacy. “We’ve had

difficulty getting FB to align on our privacy goals and strategy, as they have at time[s] prioritized

winning on reputation over its business interest in legislative debates,” said Google, referring to

Facebook.

   173.     Google also sought to encourage Microsoft to not compete on privacy and to stop

increasing “subtle privacy attacks” against Google and other Big Tech companies, which Google

described as “their industry colleagues.” “We have direction from Kent [Walker] to find alignment

with MSFT where we can but should be wary of their activity [in promoting privacy] and seek to

gain as much intel as possible.”

   174.     In addition to outlining discussions that Google wanted to have to forestall privacy

efforts, the June 31, 2019 memo also outlined that Google wanted to discuss “competition” and

“ways we can work together.”

   175.     Google presents a public image of caring about privacy, but behind the scenes Google

coordinates closely with the Big Tech companies to lobby the government to delay or destroy

measures that would actually protect users’ privacy. Of course, effective competition is concerned

with both price and quality, and the fact that Google coordinates with its competitors on the quality

metric of privacy—one might call it privacy fixing—underscores Google’s selective promotion of

privacy concerns only when doing so facilitates its efforts to exclude competition.




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       4.      Google blocks competing exchanges from accessing publishers’ high-value
               inventory and reaps the benefits for itself.

   176.     Google foreclosed exchange competition for publishers’ valuable impressions through

a program called Enhanced Dynamic Allocation (“EDA”). Historically, publishers sold their best

impressions to advertisers directly for premium prices. With EDA, Google’s ad server let Google’s

exchange compete for and purchase valuable impressions that the ad server would previously

allocate to publishers’ premium direct deals. Google blocked non-Google exchanges from

competing for those same impressions.

   177.     Before EDA, when a publisher sold their inventory to an advertiser through a direct

deal for premium prices, Google’s ad server made it a priority to allocate impressions to that direct

deal. But with EDA, Google would evaluate each impression’s value and then, based on that value,

decide whether to allocate the impression towards meeting a direct deal’s reservation goal or to

instead re-direct it to an exchange auction.

   178.     In a review of revenue and impressions on AdX in the United States, Google found that

the vast majority—80 percent—of web publishers’ ad revenue is generated from a much smaller

percent—just 20 percent—of impressions. Google refers to this internally as “cookie

concentration.”

   179.     As a result of this “cookie concentration” dynamic, EDA made it so only Google’s

exchange could trade publishers’ most valuable inventory. However, competition in the exchange

market depends on being able to trade both volume and valuable impressions. By blocking non-

Google exchanges from competing against Google’s exchange, Google foreclosed competition in

the exchange market and shielded Google’s exchange from competition.

   180.     At the same time, EDA permitted Google’s exchange to purchase publishers’

impressions for depressed prices. Specifically, Google’s ad server permitted its exchange to

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purchase impressions for one penny more than the reserve price floor it instituted and called the

“temporary competing price.” If Google had set this price to a $7 CPM, but a competing exchange

would have returned a $14 CPM bid, Google let itself nonetheless win for $7.01. In other words,

EDA let Google’s exchange acquire publishers’ impressions at depressed and non-competitive

prices.

   181.    EDA also excluded competition from publishers’ direct sales channel (direct deals).

Google’s ad server let its exchange cherry pick the valuable impressions and then funnel lower-

value impressions to publishers’ direct deals. Advertisers who paid high prices for premium

inventory through direct deals unknowingly received publishers’ lower quality inventory in return.

Over time, as a consequence of this behavior, the value of direct-sold inventory declined and

advertisers re-allocated spending towards Google’s exchange (where they must pay Google’s high

exchange fees).

   182.    Similar to Google’s strategy with Dynamic Allocation, Google invited publishers to

enable EDA under a false pretense. Wearing their publisher ad server hat, Google falsely told

publishers that EDA “maximizes yield.” EDA did not, however, maximize publishers’ yield.

Internally, Google understood that the EDA program was a scheme to let Google’s exchange

simply “cherry-pick [publishers’] higher-revenue impressions.” In fact, cherry-picking the best

impressions under EDA helped Google make an additional $150 million per year.

   183.    To make matters worse, Google’s practice of scrambling user IDs (discussed above in

paragraphs 142-147) concealed the true nature of Google’s conduct. Publishers could not easily

know that, with EDA, Google was cherry-picking impressions. By scrambling the IDs differently

for publishers and advertisers, publishers could not easily work with advertisers to confirm that




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advertisers were receiving the valuable impressions (e.g., ads shown to users with high net worth)

as opposed to the low value ones (e.g., ads shown to a 10-year-old child with no purchasing power).

     184.     In summary, Google’s actions at issue here—including waterfalling and Dynamic

Allocation, the encryption of IDs for users that consent to ID sharing, and EDA—were all unlawful

schemes to exclude competition. Without being able to compete for publishers’ impressions or

receive full information about their inventory, non-Google exchanges could not compete on quality

(volume) or price (take rate). As a result, even large and powerful companies like Microsoft and

Yahoo! exited the market. By blocking competition outright, Google is able to charge very high

19-22 percent commissions on transactions, which is two to four times higher than the

commissions charged by competing exchanges. These extra costs invariably are passed onto

American consumers, who are harmed through higher prices and lower-quality goods and services.

C.      A new industry innovation called “header bidding” promotes exchange competition;
        Google wants to kill it.

     185.     In 2014, publishers rapidly adopted a new innovation called “header bidding” (also

known as “HB”) that permitted them to route inventory to multiple exchanges. Publishers,

advertisers, and exchanges quickly adopted the method to facilitate exchange competition. Google,

however, did not welcome the competition. Instead, Google wanted to “kill” header bidding. First,

Google introduced an alternative that secretly routed publishers’ inventory back to Google’s

exchange, even when another exchange returned a higher bid. In time, Google’s goal became to

destroy header bidding entirely. In an October 13, 2016 meeting, Google employees discussed

“options for mitigating growth of header bidding infrastructure.” One Google employee,

            proposed the “nuclear option” of reducing Google exchange fees down to zero. Another

employee,                  rejected even that idea: “problem is that this doesn’t kill HB.”




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       1.      Header bidding facilitates competition among ad exchanges.

   186.     Header bidding involves a creative piece of code that publishers could insert into the

header section of their webpages to facilitate competition between exchanges. When a user visited

a page, the code enabled publishers to direct a user’s browser to solicit real-time bids from multiple

exchanges, before Google’s ad server could prevent them from doing so. Instead of being subject

to the restraints of Google’s ad server, header bidding shifted routing from the ad server to the

browser. Publishers then sent the highest exchange bid in header bidding into their Google ad

server. In short, header bidding created a technical workaround for publishers to circumvent

Google’s efforts to foreclose competition in the exchange market.

   187.     So, header bidding became quite popular. Some of the biggest tech companies

(including, e.g., Amazon) participated in header bidding, and by 2015, publishers and advertisers

alike were rapidly adopting the innovation. By 2016, approximately 70 percent of major publishers

in the United States were using header bidding to route their inventory to multiple exchanges,

sometimes as many as twenty.

   188.     Publishers in particular adopted the protocol because they came to realize what Google

already knew. Waterfalling, Dynamic Allocation, and EDA did not actually maximize publishers’

yield. Instead, as Google discussed behind closed doors, “pitting multiple exchanges against one

another fostered price competition, which was good for [publishers’] business.” In fact, it was

incredibly good for publishers. With header bidding, publishers saw their ad revenue jump

overnight simply because exchanges could actually compete. One Google employee conceded

internally how ending exclusivity with Google’s exchange caused the ad revenues of Weather.com

to jump by 30 percent. Some publishers’ revenue jumped by 40 to over 100 percent.

   189.     Header bidding was also a positive development for advertisers and consumers. For

advertisers, header bidding allowed them to transact through an exchange of their choosing,
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including exchanges imposing less than Google’s monopolistic 19-22 percent fees. Internally,

Google conceded its fees were supra-competitive and not “likely justified by value.”

   190.     Moreover, consumers benefited by virtue of the increased revenue realized by

publishers as well as the fees saved by advertisers. With more ad revenue, publishers produce more

content and better subsidized content access. Lower exchange take rates also reduced deadweight

costs that advertisers ultimately pass on to consumers. Consumers benefit through higher-quality

and lower-priced goods and services.

   191.     Based on a review of Google’s internal documents, Google wanted to quash this header

bidding innovation for three basic reasons: avoiding price competition, permitting itself to continue

to trade on inside information, and foreclosing competition against its publisher ad server

monopoly.

   192.     First, Google wanted to eliminate header bidding in order to protect its high exchange

take rates from competition. As Google discussed internally, “20% for just sell-side

platform/exchange isn’t likely justified by value.” Google employee                         emailed

internally in November 2017 that she thought exchange “margins will stabilize at around 5 percent.

Maybe it will happen by this time next year or in early 2019. This creates an obvious dilemma for

us. AdX is the lifeblood of our programmatic business. … What do we do?” Such a dramatic

reduction to Google’s exchange take rates toward competitive rates was an obvious threat posed

by header bidding competition.

   193.     Second, Google wanted to destroy header bidding because the innovation threatened

Google’s practice of trading on inside information. Secretly, Google’s ad server shared competing

bids on publishers’ inventory with Google’s ad buying tools (DV360 and Google Ads), thereby

allowing those tools to use the information to win auctions. This is similar to a form of insider



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trading, whereby Google is the only one able to bid with knowledge of others’ bids. As Google

discussed the predicament internally, header bidding caused Google to “lose[] visibility” into the

“prices on a per-competitor basis,” which are “important data pieces of our own optimization.”

    194.       Finally, Google wanted to eliminate header bidding to foreclose competition with its

publisher ad server monopoly. The companies involved with header bidding would have a foothold

on a key function of Google’s ad server: routing publishers’ inventory to exchanges. With that, a

major player like Amazon or Facebook using header bidding would be well-positioned to

eventually compete directly with Google’s monopoly ad server. Without control over publishers’

inventory, Google would lose the ability to block exchange competition and tilt trading towards

itself.

    195.       Google discussed how competition was a problem and deliberated over what to do

about it. Rather than compete with other exchanges on price or quality, Google adopted a long list

of overt and anticompetitive acts with the express purpose to “kill HB.”

          2.      Google creates an alternative to header bidding that secretly stacks the deck
                  in Google’s favor.

    196.       Google tried to eliminate competition from exchanges in header bidding by creating an

alternative that secretly stacked the deck in Google’s favor. Google’s ad server started to let

publishers route their inventory to more than one exchange at a time with a new program Google

marketed as Exchange Bidding, later renamed to Open Bidding. However, Google secretly devised

the program in a way to foreclose exchange competition and codenamed it “Jedi.” Google

measured Jedi’s success not by financial targets or output increases, but by how much it stopped

publishers from using header bidding.

    197.       Google devised Exchange Bidding to exclude competition from exchanges in at least

four ways. First, Google diminished the ability of non-Google exchanges to return competitive

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bids by further decreasing their ability to identify users associated with publishers’ ad space in

auctions. Header bidding let each exchange access a cookie on the user’s page, which permitted

those exchanges to recapture some information about the user’s identity. Google’s new program

prohibited exchanges from directly accessing the user’s page. As a result, they identified users in

auctions even less often, causing them to bid and win less often.

   198.      Second, Google foreclosed exchange competition by charging publishers an additional

5 to 10 percent penalty fee for selling inventory in a non-Google exchange. The fee made

advertisers’ bids through rival exchanges less competitive than advertisers’ bids through Google’s

exchange—because Google’s exchange did not pay the additional fee. As Google understood it,

because publishers and advertisers measure an exchange’s performance in part based on its take

rate, this gave Google’s exchange a “‘moat’ in performance” when competing against competing

exchanges.

   199.      Third, Google foreclosed exchange competition by forcing its publisher ad server

customers to use Google’s exchange. When publishers chose to route their ad space from Google’s

ad server directly to multiple exchanges at the same time, Google’s new program required them to

route that inventory through Google’s exchange, even if they did not want to do so.

   200.      Fourth, Google foreclosed exchange competition by secretly rigging the Exchange

Bidding program to let Google win. Google designed Exchange Bidding to provide Google’s

exchange a special “prioritization,” which Google kept secret. Google made it so its own AdX

exchange won publishers’ inventory even over another exchange’s higher bid. In the following

email, Google employee                     explained how the Exchange Bidding program returned

results that were “suboptimal for pubs yield”: a Google AdX bid of $6 would win even though

another exchange (“EB SSP”) submitted a higher $8 bid.



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of the deal for Google. Internal Facebook communications reveal that Facebook knew Google’s

motivation for the deal was to “kill” header bidding. “They want this deal to kill header bidding,”

wrote Facebook deal executive                to other Facebook executives in an October 30, 2017

email.

   204.     The principal impetus for this deal began many months before, in March 2017, when

Facebook publicly announced it would support header bidding. By doing so, Facebook would

enable web and mobile app publishers and advertisers to bypass the fees associated with

transacting through Google’s ad server. When bidding into Google’s ad server’s Open Bidding

(f/k/a Exchange Bidding) program, Google required networks (e.g., Facebook’s network FAN) to

bid into exchanges. And on these transactions, publishers had to pay exchange fees. But Google’s

exchange fee was very high, about 19-22 percent of the value of the transaction. Because header

bidding cost nothing, Facebook’s use of header bidding would let web publishers, mobile app

publishers, and advertisers save on these fees altogether.

   205.     Google feared that Facebook’s support of header bidding would crack Google’s

publisher ad server monopoly and unlock exchange competition. Google executive

                                                             outlined that Google’s priorities for 2017

included stopping Facebook from supporting header bidding. In a company deck, he outlined the

“top priorities” for 2017, writing, “Need to fight off the existential threat posed by Header Bidding

and FAN. This is my personal #1 priority. If we do nothing else, this need[s] to [be] an all hand[s]

on deck approach.”

   206.     The wider industry also thought Facebook was prepared to challenge Google’s

monopoly. The same day as Facebook’s March 2017 header bidding announcement, industry

publication AdAge wrote that Facebook was poised to execute a “digital advertising coup against



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rival Google and its DoubleClick empire.” A Business Insider headline the same day read:

“Facebook made an unprecedented move to partner with ad tech companies – including Amazon

– to take on Google.”

   207.    Google started monitoring Facebook’s initiative in header bidding. According to

metrics posted in Facebook’s public blog, Facebook was helping publishers and advertisers match

two to three times more users in auctions and increase third-party publishers’ revenue by 10-30

percent. As part of its internal monitoring efforts, Google referenced this blog post in an email

circulated amongst the management team.

   208.    These cost efficiencies for publishers and advertisers were not welcome news to

Google. Even before Facebook’s March 2017 announcement, Google was concerned about large

entrants supporting header bidding. Internal Google documents show that Google’s mandate at the

time was to stop its competitors from supporting header bidding, to forestall innovation around

header bidding, and to consider aggressive options. In an October 5, 2016 presentation to senior

Google executives, a Google employee expressed concern about Amazon, Criteo, and Facebook

enabling the growth of header bidding, stating “to stop these guys from doing HB we probably

need to consider something more aggressive.” The presentation plainly asserted that Google’s

“goal/mandate” was to “[f]orestall major industry investment in HB & HB wrapper infrastructure.”

   209.    Conversely, internal Facebook communications indicate that Facebook’s March 2017

announcement was mainly intended to signal Facebook’s willingness to compete with Google in

the markets for publisher ad servers and ad networks. Facebook knew that Google would see its

participation in header bidding as a major threat. Evidently, Facebook was merely executing a

planned long-term strategy—“18 month ‘header bidding’ strategy to minimize “[the Open




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Bidding] tax”—by threatening to expose the hidden costs Google charges publishers. In other

words, Facebook wanted to draw Google in.

   210.      Facebook’s maneuvers proved successful when Google made the first move.

According to internal Facebook communications, Google tried to bring Facebook to the

negotiating table as early as June 6, 2016. In one email, a Facebook employee noted that Google

had made a general outreach but that Google had indicated it was unsure of Facebook’s appetite:

“Google’s product team would be interested in talking about broader/larger options, but uncertain

as to our appetite.”

   211.      Within months of Facebook’s official header bidding announcement, Google and

Facebook began formal negotiations. According to an internal Google presentation from

November 2017 discussing a potential Facebook partnership for Google's “Top Partner Council,”

Google stated that their endgame was to “collaborate when necessary to maintain status quo.”

Google documented internally that it was interested in a collaboration and the status quo.

   212.      Facebook clearly understood Google’s motivations. In an October 30, 2017 email,

senior Facebook executive                discussed the deal and explained to another Facebook

executive,                                                            “they want this deal to kill

header bidding.” Facebook knew Google’s intent was to cut a deal to get Facebook to curtail its

support of header bidding.

   213.      At this time, and extending into 2018, Google and Facebook were engaged in high-

stakes brinksmanship. A truce between the two advertising giants was by no means guaranteed. In

an August 9, 2018 internal Google presentation, one slide averred that if Google could not “avoid

competing with FAN,” then it would instead collaborate with Facebook to “build a moat.” Google

was interested in using Facebook to build a moat.



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   214.    Facebook was highly interested in a successful outcome to these negotiations between

horizontal competitors in the ad network market and potential competitors in the publisher ad

server market. As internal Facebook documents reveal, Facebook “believed strongly” that

partnering with Google was “relatively cheap compared to build/buy and compete in zero-sum ad

tech game.” Facebook did not want to play zero-sum games.

   215.    Facebook’s                                            was explicit that “[t]his is a big

deal strategically” in an email thread that included Facebook                          .   When the

economic terms had taken their form, the team sent an email addressed directly to

            “We’re nearly ready to sign and need your approval to move forward.” In making the

case to                 , the team outlined that Facebook had four options: to “invest hundreds

more engineers” and spend billions of dollars to lock up inventory to compete, exit the business,

or do the deal with Google.                     wanted to meet with                 and his other

executives before making a decision.

   216.    The companies’ collective efforts to avoid competition were successful. Facebook

chose to cut a deal with Google. The ultimate outcome of the negotiations was a September 2018

Google-Facebook agreement signed by Philipp Schindler, the head of Google advertising sales

and operations, and              , Facebook’s                         and member of Facebook’s

Board of Directors, and who         was one-time head of                     .

   217.    Google internally used the code phrase “Jedi Blue” to refer to the 2018 Google-

Facebook agreement. This phrase was a twist on the reference to Star Wars. Google generally kept

this code phrase secret and non-public. Google does not use code words to uniquely refer to any

other Open Bidding or Network Bidding agreement.




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   218.     As a result of their bidding agreement, Facebook significantly curtailed its header

bidding initiatives and would instead bid through Google’s ad server. In return, Google agreed to

give Facebook a leg up in its auctions. In an internal Google memo titled “FAN deal discussion,”

Google memorialized that “FAN requires special deal terms, but it is worth it to cement our value.”

The parties agreed up front on when and how often Facebook would bid in auctions, and when and

how often Facebook would ultimately win.

       1.      Google gives Facebook a leg up in its auctions in return for Facebook backing
               off from header bidding.

   219.     Facebook agreed to shift from routing bids through header bidding to routing bids

through Google’s ad server in exchange for a number of special auction advantages. Traditionally,

when bidding into Google’s ad server through Open Bidding, networks for web inventory like

FAN had to bid into exchanges and pay exchange fees. But with the Jedi Blue agreement, Google

made Facebook a large-scale concession and let FAN circumvent exchanges and bid directly into

Google’s ad server. Instead of paying exchange fees, Google charged Facebook a lower 5 to 10

percent fee and prohibited Facebook from speaking publicly about its special lower pricing terms.

Publishers and advertisers measure the efficiency of trading through buy-sell spreads. The lower

fees Google imposes on some marketplaces (like FAN) puts those marketplaces at an advantage

when competing against the marketplaces with higher fees.


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   220.    Google also provided Facebook with a speed advantage in auctions. Google subjects

other marketplaces competing for publishers’ inventory in Open Bidding to 160 millisecond

timeouts. Competitors have actively complained that 160ms is not enough time to recognize users

in auctions and return bids before they are excluded. By comparison, Google nearly doubled

timeouts, extending them to 300 milliseconds, for Facebook. These longer timeouts granted by

Google were presumably designed to aid FAN in winning more auctions to abide by the spirit of

the Jedi Blue agreement.

   221.    Google further induced Facebook to help Google “kill HB” by letting Facebook have

direct billing and contractual relationships with publishers. This term was advantageous to

Facebook because Google prohibits other exchanges and networks in Open Bidding from having

such direct relationships. In fact, Google’s policies with other exchanges and networks in this

regard are so strict that Google has prohibited marketplaces from even discussing pricing with

publishers. The inability to discuss pricing and terms constrains marketplaces’ ability to operate

and compete. One advertising competitor compared Google’s business term to a “gag order.”

   222.    On top of special pricing, longer timeouts, and a direct billing relationship exception,

Google further induced Facebook to help it shut down competition from header bidding by

informing Facebook which impressions are likely targeted to spam (e.g., impressions targeted to

bots, rather than humans). Facebook does not have to pay for those impressions. Other networks

have asked Google for the same information, but Google has refused. So now Facebook has a

further leg up over the competition in Google auctions: Facebook knows which impressions sold

through Google are fake and worthless.

   223.    In the Jedi Blue agreement, Google also promised to use “commercially reasonable

efforts” to help Facebook recognize the identity of users in publishers’ auctions. The parties agreed



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to benchmark “match rate” commitments, i.e., the percent of users Facebook could identify in

auctions over the percent of bid requests received. Google promised Facebook an 80 percent match

rate in auctions for mobile inventory and a 60 percent match rate in auctions for web inventory

(excluding Safari). Bidders in advertising auctions generally only bid when they recognize the

identity of the user. As a result, the Jedi Blue benchmark match rates allow Facebook to bid and

win more often in auctions, providing FAN yet another advantage over other bidders.

   224.     Indeed, since signing the agreement, Google and Facebook have been working closely

in an ongoing manner to help Facebook recognize users in auctions and bid and win more often.

For example, Google and Facebook have integrated their software development kits (SDKs) so

that Google can pass Facebook data for user ID cookie matching. They also coordinated with each

other to harm publishers through the adoption of Unified Pricing rules, discussed in paragraphs

273-279 below. The companies also have been working together to improve Facebook’s ability to

recognize users using browsers with blocked cookies, on Apple devices, and on Apple’s Safari

browser, thereby circumventing one Big Tech company’s efforts to compete by offering users

better privacy. For instance, according to an April 2, 2019 discussion between Facebook

employees, Facebook was having trouble matching users on Apple’s Safari browser. Google

shared that Facebook’s match rates were about the same that Google saw for other auction

participants. Facebook employees noted, however, that Google was ready to “initiate a detailed

discussion with Product and Legal to allow FB to collect signals on the client (using a javascript)

and G passing it to the bid request.” Google offered to help Facebook better identify users using

JavaScript on publisher properties. By helping Facebook to better identify users in ad auctions,

Google helps Facebook’s network FAN bid and win more often than other bidders in Google’s

auctions.



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   225.    Google also provided Facebook an advantage when it came to Google using

Facebook’s inside information to beat Facebook in auctions. In entering the agreement, Facebook

was wary that Google would use information about Facebook’s bids to manipulate auctions. As a

result, Facebook was explicit in demanding that Google be prohibited from using Facebook’s bid

data for the purpose of advantaging itself. Dan Rose, Facebook Vice President of Partnerships,

explained in an email to Mark Zuckerberg that Facebook had “exerted pressure on Google to

change their auction so that Google is no longer able to advantage their own demand. With these

changes, we will be able to bid on publisher inventory served by Google on a level playing field.”

Facebook was big enough to extract this concession from Google, whereas no other auction

participant has the scale to demand or achieve the same. Thus, in the Jedi Blue agreement, Google

committed not to use Facebook’s inside information—its bids—to manipulate auctions in its favor

by adjusting its bids or publisher floors in real time. As discussed in this Complaint, Google

competes against other auction participants using their inside and non-public information. If

Google abides by the terms of the Jedi Blue agreement, the exception for Facebook allows FAN

to win more auctions relative to other bidders.




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   Screenshot of contractual terms that prohibit Google from trading using Facebook’s inside
   information (e.g., information about Facebook’s bids):




          2.      Google and Facebook agree in the Jedi Blue agreement to a secret “Win Rate.”

   226.        In the auctions for publishers’ inventory that are the subject of the Jedi Blue agreement,

Google and Facebook compete head-to-head as bidders. Specifically, Google’s GDN ad network

and AdMob bid against Facebook’s ad network FAN in these auctions. In this context, Google and

Facebook compete against each other. Google internally discussed this “head-to-head

competition.”

   227.        The Google and Facebook ad networks for web display and in-app mobile inventory

(collectively, GDN, AdMob, and FAN) are the largest ad networks in the United States. They are

frequently the largest competitors for publishers’ inventory in auctions hosted by Google’s ad

server.

   228.        In the Jedi Blue agreement, Google and Facebook agreed to manipulate publisher

auctions in Facebook’s favor through secret bid, spend, and win commitments. For example, the

agreement outlines that Facebook will use “commercially reasonable efforts” to bid on at least 90

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percent of auctions in which Facebook recognizes the end user. The agreement also outlines that,

starting in the fourth year of the agreement, Facebook must spend at least $500 million in its

auctions annually.

   229.    Google and Facebook also agreed in the Jedi Blue agreement to a “Win Rate.” The

agreement defines the term “Win Rate” as the number of auctions that Facebook wins divided by

the number of auctions in which Facebook competes (by submitting a bid response), multiplied by

100. The parties agreed up front on what Facebook’s Win Rate in auctions would be. The Jedi

Blue agreement specifies that Facebook would have a Win Rate of at least equal to 10 percent.

The agreement terms require Facebook to bid high enough to win the minimum percent quota of

10 percent, irrespective of how high others in the auctions bid.

   230.    When Facebook “wins” one of these auctions, Facebook is not purchasing ad space for

the purpose of advertising Facebook’s own products or services. Rather, Facebook’s network FAN

is acquiring impressions for the purpose of re-selling those impressions to small business

advertisers across America who buy advertising from Facebook. Some of these advertisers do not

even know that Facebook delivers their ads on non-Facebook websites and apps.

   231.    The Jedi Blue agreement allocates markets, and therefore fixes prices, between Google

and Facebook as competing bidders in the auctions for publishers’ web display and in-app

advertising inventory. The agreement allocated a portion of publishers’ auction wins to Facebook,

subverting the free operation of supply and demand. Furthermore, the bid rate, win rate, and spend

commitments were designed to meet a “high monthly minimum to ensure volume” that spans

several years. Facebook is locked in and cannot change its mind and switch back to header bidding

to compete against Google in the publisher ad server market.




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   232.    By providing Facebook with what Google called “special deal terms,” combined with

pre-agreed bid and win rates, Google further manipulated publishers’ auctions. Google already

manipulates publishers’ auctions by giving Google bidders information and speed advantages. In

2019, these advantages helped them win the overwhelming majority of publishers’ auctions hosted

by Google: about 81 percent of Google AdMob auctions for U.S. mobile app inventory, and about

71 percent of Google ad server auctions for mobile inventory. Now Google offered Facebook a

Win Rate, information advantages, speed advantages, and other prioritizations, to the detriment of

other auction participants.

   233.    As one would expect with a market allocation agreement, Google and Facebook do not

disclose their secret match rate, bid rate, or win rate agreements to other auction participants.

Rather, Google publicly misrepresents that all bidders in publishers’ auctions compete on equal

footing. “All participants in the unified auction, including Authorized Buyers and third-party yield

partners, compete equally for each impression on a net basis,” Google publicly markets on its

website. This, of course, is patently false. It is false not only because of the special terms in the

Facebook agreement, but also because Google used algorithms to systematically manipulate

auction outcomes and repeatedly traded on inside information to win auctions.

   234.    Given the scope and extensive nature of cooperation between the two companies,

Google and Facebook were highly aware that their agreement could trigger antitrust violations. So

they discussed, negotiated, and memorialized how they would cooperate with one another should

a government entity in the United States or globally start to investigate the agreement under

antitrust laws. The Jedi Blue agreement permits the parties to terminate the agreement for

regulatory inquiries, material document requests, a formal antitrust investigation, or a commenced

antitrust action. If neither party executed those termination options, the agreement permits



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termination “immediately” after either party exhausts its right to appeal. The agreement also

requires the parties to coordinate on antitrust defenses, such that Facebook must approve any and

all arguments that Google presents relating to their illegal agreement in its answer to this

Complaint. The word “antitrust” is mentioned no fewer than twenty times throughout the Jedi Blue

agreement.

   Screenshot of the Jedi-Blue agreement specifying regulatory and antitrust cooperation:




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E.      Google forces market participants to re-route trading through Google.

     235.    In its efforts to kill header bidding and competition in the exchange market, Google

went further than colluding with its largest competitor. Google worked tirelessly to stop the

innovation of header bidding entirely. Google deceived exchanges to use Google’s ad server

instead of header bidding. Google employees sometimes deceived publishers who chose to use

header bidding, falsely telling one major online publisher that it should cut off a rival exchange in

header bidding because of a strain on servers. After the exchange uncovered Google’s act, Google

employees discussed playing a “jedi mind trick” on the industry and “get[ting] publishers to come

up with the idea to remove exchanges … on their own.” Google also crippled publishers’ ability

to measure the efficiency of exchanges in header bidding, limited publishers’ use of exchanges in

header bidding, and punished publishers and advertisers that used header bidding in Google search

rankings, where Google has significant scale.

        1.      Google trades ahead of bid orders to foreclose exchange competition.

     236.    Google first excluded competition from header bidding, and in the exchange market,

by trading ahead of the bid orders submitted by header bidding exchanges. A publisher like USA

Today would route their inventory to multiple exchanges through header bidding, then route the

winning exchange bid into their Google ad server. Google programmed its ad server to let its

exchange displace the winning header bidding exchange bid by paying one penny more. Put

another way, Google’s ad server let Google’s exchange peak at the winning header bidding

exchange’s bid, then displace the trade. Industry participants called this Google’s “Last Look.”

Other industries call analogous conduct by intermediaries “insider trading” and “front running.”

     237.    With Last Look, and Google’s absolute monopoly in the ad server market, Google

successfully foreclosed competition in the exchange market and ensured a system where Google

always prevailed. Google’s exchange cherry picked the best impressions, leaving rival exchanges
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the low value impressions left behind by Google’s exchange. According to a confidential Google

study, Last Look significantly re-routed trading to Google’s exchange and Google’s ad buying

tools, protecting Google’s market power in both. Google’s internal documents also explain that

Last Look ensured that header bidding exchanges lose to Google’s exchange. The exception was

when a publisher set a higher floor for Google’s exchange, a feature that Google would later

remove from publishers’ control.

       2.      Google deceives exchanges to forgo header bidding.

   238.     Google unlawfully excluded competition from header bidding and in the exchange

market by tricking non-Google exchanges to migrate from header bidding to Exchange Bidding.

In March 2017, Google stated that its exchange would no longer trade ahead of other exchanges

that bid through Google’s Exchange Bidding program. Market participants cheered Google for

giving up its “Last Look auction advantage.”

   239.     However, Google did not actually stop trading ahead of exchanges. Internal documents

reveal that Google simply replaced one version of Last Look for another by using a new technique

that allowed Google to continue to jump ahead of rival exchange bids. Specifically, Google

deployed a bid optimization scheme based on predictive modeling



With this new bid optimization, Google abandoned Last Look as that term was understood.

However, Google re-engineered its ability to trade ahead of its rivals.

   240.     Google’s new manipulation permitted Google to give up Last Look, as such, but still

win just the same—revenue neutral for DV360 (+2 percent) and Google Ads (-1 percent). Non-

Google exchanges cannot compete with similar bid optimization schemes because Google’s ad

server restricts publishers from accessing and sharing their user IDs. Truly giving up Last Look



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would have cost Google too much; Google predicted a 10 percent hit to DV360’s revenue and at

least a 30 percent decrease in Google Ads’ revenue.

       3.      Google deceives publishers to disable rival exchanges in header bidding.

   241.     Internal communications between Google employees reveal how Google engaged in

deception to undermine header bidding and foreclose competition in the exchange market. In one

instance, the OpenX exchange noticed their auction transactions and revenue in header bidding

plummet. When OpenX reached out to a publisher to diagnose the problem, the publisher

explained that Google employees told the publisher to remove the OpenX exchange from header

bidding to solve a “strain on its servers” and improve the publisher’s yield. However, a senior

Google employee worried its misrepresentations would make it difficult “to convince [companies]

to trust us.” Another employee conceded it gave Google a “bad look.” Google employees agreed

that, in the future, they should find ways to convince publishers to act against their interest and

remove competing exchanges in header bidding on their own.




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       5.      Google obstructs publishers’ use of header bidding through caps.

   243.     Google also throttles publishers’ use of header bidding by capping the number of

permissible “line items”—a feature in Google’s ad server that publishers must use to receive bids

from exchanges in header bidding. Many publishers requested that Google increase the number of

permissible line items so that they could properly utilize header bidding. Internally, Google

discussed charging publishers for increasing line items or keeping line items limits in place as “the

only tool we have to fight [header bidding].” Google consistently rejected publishers’ requests for

more line items, or at best, would provide only temporary and limited increases. As one employee

explained to others, “[w]e need to push these pubs to using Jedi – if imposing more limits pushes

them more to Jedi – then we should keep those limits in place.”

   244.     In a competitive market, an ad server would help publishers use header bidding because

it will better optimize publisher yield. The OpenX publisher ad server takes this approach,

permitting publishers’ liberal use of exchanges in header bidding. Instead of increasing line items

to enhance publishers’ yield, Google’s ad server undermines its own clients’ revenue yield.

       6.      Google uses its scale in search to punish publishers that use header bidding.

   245.     Google also started using its economies of scale in the search market to strongarm

publishers and advertisers to stop using header bidding and re-route trading through Google’s ad

server. Header bidding is only possible if publishers can insert JavaScript code into the header

section of their webpages. To respond to the threat of header bidding, Google created Accelerated

Mobile Pages (“AMP”), a framework for developing mobile web pages, and made AMP

essentially incompatible with JavaScript and header bidding. Google then used its power in the

search market to effectively force publishers into using AMP.

   246.     Although Google claims that AMP was developed as an open-source collaboration,

AMP is actually a Google-controlled initiative. Google originally registered and still owns AMP’s
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domain, ampproject.org. In addition, until the end of 2018, Google controlled all AMP decision-

making. AMP relied on a governance model called “Benevolent Dictator For Life” that vested

ultimate decision-making authority in a single Google engineer. Since then, Google has transferred

control of AMP to a foundation, but the transfer was superficial. Google controls the foundation’s

board and debates internally whether AMP communications should come from Google or the

Google-controlled AMP board.

   247.    Google ad server employees met with AMP employees to strategize about using AMP

to impede header bidding, addressing in particular how much pressure publishers and advertisers

would tolerate. First, Google restricted the AMP code to prohibit publishers from routing their bids

to, or sharing their user data with, more than a few exchanges a time, thereby severely limiting

AMP’s compatibility with header bidding. However, Google made AMP fully compatible with

routing to exchanges through Google’s ad server. Google also designed AMP to force publishers

to route rival exchange bids through Google’s ad server so that Google could continue to peek at

their bids and trade on inside information. Third, Google designed AMP so that users loading AMP

pages would directly communicate with Google cache servers rather than publishers’ servers. This

enabled Google’s access to publishers’ inside and non-public user data. AMP pages also limit the

number of ads on a page, the types of ads publishers can sell, and the variety of enriched content

that publishers can have on their pages.

   248.    After crippling AMP’s compatibility with header bidding, Google went to market

falsely telling publishers that adopting AMP would enhance page load times. But Google

employees knew that AMP only improves the “median of performance” and AMP pages can

actually load slower than other publisher speed optimization techniques. In other words, the

ostensible benefits of faster load times for a Google-cached AMP version of a webpage were not



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true for publishers that designed their web pages for speed. Some publishers did not adopt AMP

because they knew their pages actually loaded faster than AMP pages.

   249.    The speed benefits Google marketed were also at least partly a result of Google’s

throttling. Google throttles the load time of non-AMP ads by giving them artificial one-second

delays in order to give Google AMP a “nice comparative boost.” Throttling non-AMP ads slows

down header bidding, which Google then uses to denigrate header bidding for being too slow.

“Header Bidding can often increase latency of web pages and create security flaws when executed

incorrectly,” Google falsely claimed. Internally, Google employees grappled with “how to

[publicly] justify [Google] making something slower.”

   250.    Despite the speed benefits Google falsely touted, publishers did not want to use AMP

because AMP pages caused their advertising revenue to decline: publishers make less money

selling advertising on AMP pages than they do on their regular web pages. AMP also degraded

quality by restricting content and ad types.

   251.    Just as publishers have the freedom to make their webpages mobile or desktop

compatible, publishers still have the freedom to decide whether to build their pages using the AMP

framework. However, Google uses its scale in search to punish publishers that do not chose AMP.

Specifically, Google Search ranks non-AMP pages lower in search results and reserves the top

placements in the “Search AMP Carousel”—the top search results placements with pictures—to

publishers using AMP.




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   Google search results for “Dallas Cowboys”; AMP results are displayed in the carousel along
   the top:




   252.     Google gave publishers a Faustian bargain: (1) publishers who used header bidding

would see the traffic to their site drop precipitously from Google suppressing their ranking in

search and re-directing traffic to AMP-compatible publishers; or (2) publishers could adopt AMP

pages to maintain traffic flow but forgo exchange competition in header bidding, which would

make them more money on an impression-by-impression basis. Either option was far inferior to

the options available to publishers before Google introduced AMP. Just how inferior? According

to Google’s internal documents, 40 percent less revenue on AMP pages.

       7.      Google’s ad server gives exchanges that forego header bidding a leg up.

   253.     Google’s ad server excludes competition in the exchange market by withholding

critical ad server data, called “minimum bid to win,” from exchanges in header bidding. The

“minimum bid to win” data is the price an auction participant would have had to bid to win a

particular completed auction; Google’s ad server shares this data with exchanges in Google’s Open


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Bidding program at the conclusion of each auction. Exchanges in Open Bidding use this data to

adjust their bidding strategy in order to beat exchanges returning bids through header bidding. In

other words, exchanges in header bidding will lose more while those bidding in Open Bidding win

more.

        8.      Google excludes competition through “nontransparent pricing.”

   254.      Google excludes competition by purposefully keeping its auction mechanics, terms,

and pricing, opaque and “nontransparent.” When marketing its exchange to publishers and

advertisers, Google has explained that an ad exchange is “just like a stock exchange, which enables

stocks to be traded in an open way.” However, Google’s exchange is not open at all.

   255.      Google’s non-transparent pricing strategy includes obfuscating the take rate that

publishers and advertisers pay Google. Google tells the small advertisers who use Google Ads to

bid the price they pay Google for ad space, but not the price the inventory actually cleared for in

Google’s exchange, the revenue the publisher receives, or the markup Google keeps. In a

discussion between Google employees about Google Ads’ fees, one employee asked: “Buyers

don’t know that [we] take a 15 percent fee? I didn’t realize that.” Another clarified that the fee “is

not transparent.” Even Google employees don’t understand Google’s fees for small advertisers.

   256.      Google also obfuscates price transparency for publishers. Overall, evidence suggests

that publishers selling inventory through Google receive approximately 70 percent of advertising

revenue paid by advertisers, and in some cases that amount is as low as 58 percent. In other words,

Google’s take rate is approximately 30 percent and in some cases is as high as 42 percent.

   257.      The lack of transparency decreases competitive pressure at different points in the

supply chain and increases opportunities for rent-seeking and arbitrage. As one senior Google

employee put it, “[b]y charging non-transparently on both sides, we give ourselves some flexibility

to react and counteract market changes. If we face tons of pricing pressure on the buy-side, we can
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fall back on the sell-side, and vice-versa.” In other words, Google can charge higher fees at points

in the supply chain where there is little competition and the lack of transparency around fees

impedes other firms from coming in and competing with Google by offering the same services at

lower prices.

   258.     The lack of transparency also forecloses competition because it impedes potential and

actual competitors from assessing a possible return on investment and entering the market to

compete.

   259.     Overall, the lack of transparency prevents more efficient competition that would drive

greater innovation, increase the quality of intermediary services, increase output, and create

downward pricing pressure on intermediary fees.

       9.       Google is trying to foreclose competition and create a “walled garden” on the
                open web.

   260.     Google is excluding competition from header bidding, and in the exchange and ad

buying tool markets, by trying to create a “walled garden”—a closed ecosystem—out of the

otherwise-open internet. Specifically, Google’s aim is to limit publishers’ ability to identify and

track users, and to position itself as the arbiter of identification and targeting on the open web. To

then sell targeted ads, publishers will be required to lean even more into Google. Google has

advanced two different projects to achieve this anticompetitive end-goal: the first is Project NERA,

and the second, Privacy Sandbox. With both, Google’s objective stands in stark contrast to the

open internet that Google claims to protect.

                i.     Project NERA

   261.     Project NERA was Google’s original plan to create a closed ecosystem out of the open

internet. Google documents reveal that Google’s motive was to “successfully mimic a walled

garden across the open web [so] we can protect our margins.” For Google, Project NERA’s walled

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garden meant two things: controlling the design of publishers’ ad space, then forcing those

publishers to sell their ad space exclusively through Google’s products. According to internal

Google documents, this strategy would permit Google to extract even higher intermediation fees.

A Google employee aptly described Google’s ambition for Project NERA by acknowledging that

Google wants to “capture the benefits of tightly ‘operating’ a property … without ‘owning’ the

property and facing the challenges of building new consumer products.” Google’s nickname for

this walled garden plan was “not-owned-but-operated,” or “NOBO” for short. In other words,

Google wanted to be able to control and close off independent websites like The Dallas Morning

News just as Google can control and close off its own sites like YouTube.

   262.    To get publishers to give Google exclusive access over their ad inventory, Google set

publishers up for a lose/lose scenario. First, Google started to leverage its ownership of the largest

web browser, Chrome, to track and target publishers’ audiences in order to sell Google’s

advertising inventory. To make this happen, Google first introduced the ability for users to log into

the Chrome browser. Then, Google began to steer users into doing this by using deceptive and

coercive tactics. For example, Google started to automatically log users into Chrome if they logged

into any Google service (e.g., Gmail or YouTube). In this way, Google took the users that choose

not to log into Chrome and logged them in anyways. If a user tried to log out of Chrome in

response, Google punished them by kicking them out of a Google product they were in the process

of using (e.g., Gmail or YouTube). On top this, through another deceptive pattern, Google got

these users to give the Chrome browser permission to track them across the open web and on

independent publisher sites like The Dallas Morning News. These users also had to give Google

permission to use this new Chrome tracking data to sell Google’s own ad space, permitting Google

to use Chrome to circumvent reliance on cookie-tracking technology. The effect of this practice is



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to rob publishers of the exclusive use of their audience data (e.g., data on what users read on The

Dallas Morning News), thereby depreciating the value of publishers’ ad space and benefitting ad

sales on Google’s properties (e.g., YouTube).

   263.    Chrome is the leading computer browser in the United States with almost 60 percent

market share. Chrome has power over publishers because it controls a captive segment of their

online users; consequently, publishers do not have alternative ways to reach the users that access

the internet using Google’s browser.

   264.    After using Chrome to track publishers’ users, Google turned around and offered to

give publishers the ability to tap into Google’s now-deeper trove of user data in exchange for the

publishers’ agreement to give Google exclusive control over their ad space. If publishers did not

agree to the new exclusivity terms, Google would continue to use Chrome to collect data about

their users to sell more Google ads at the expense of the publishers’ ad space. For Google, Project

NERA represented a win-win.

               ii.    Privacy Sandbox

   265.    As regulatory scrutiny around Google and other Big Tech firms increased globally,

Google transitioned from Project NERA to “Privacy Sandbox.” Regulators around the world were

increasingly concerned about the extent to which firms like Google tracked consumers. Of any

company on the internet, Google was number one in the world when it came to tracking users

online through cookies. The leader in cookie-based tracking needed a way to deflect any potential

regulation of its business. To address these concerns, Google would take a new approach to

building a walled garden out of the open web and ground that approach in privacy language.

   266.    Google’s new scheme is, in essence, to wall off the entire portion of the internet that

consumers access through Google’s Chrome browser. By the end of 2022, Google plans to modify

Chrome to block publishers and advertisers from using the type of cookies they rely on to track
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users and target ads. Then, Google, through Chrome, will offer publishers and advertisers new and

alternative tracking mechanisms outlined in a set of proposals that Google has dubbed Privacy

Sandbox. Overall, the changes are anticompetitive because they raise barriers to entry and exclude

competition in the exchange and ad buying tool markets, which will further expand the already-

dominant market power of Google’s advertising businesses.

   267.    Google’s new scheme is anticompetitive because it coerces advertisers to shift spend

from smaller media properties like The Dallas Morning News to large dominant properties like

Google’s. Chrome is set to disable the primary cookie-tracking technology almost all non-Google

publishers currently use to track users and target ads. A small advertiser like a local car dealership

will no longer be able to use cookies to advertise across The Dallas Morning News and The Austin

Chronicle. But the same advertiser will be able to continue tracking and targeting ads across

Google Search, YouTube, and Gmail—amongst the largest sites in the world—because Google

relies on a different type of cookie (which Chrome will not block) and alternative tracking

technologies to offer such cross-site tracking to advertisers. By blocking the type of cookies

publishers like The Dallas Morning News currently use to sell ads, but not blocking the other

technologies that Google relies on for cross-site tracking, Google’s plan will pressure advertisers

to shift to Google money otherwise spent on smaller publishers.

   268.    Google’s new scheme is also anticompetitive because it forecloses competition in the

exchange and ad buying tool markets while simultaneously providing Google with a workaround.

Non-Google ad buying tools rely primarily on the type of cookies that Chrome is set to block in

order to track users and target them with ads. Google’s ad buying tools, however, partially

circumvent reliance on the same type of cookies because Google grants them exclusive access to

user data from Chrome and Google’s Android mobile operating system. As a result of these



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impending changes, some advertisers are already in the process of preparing to shift their spend

from competing ad buying tools to Google’s. In addition to increasing its already dominant market

positions on the buy-side, because Google’s ad buying tools favor Google’s exchange, the

upcoming changes will further entrench Google’s exchange monopoly.

   269.     Google’s new scheme limits competitors’ ability to compete with Google and the

massive amount of user data that it has accumulated. For over ten years, Google has been the single

largest tracker of online users using the very type of cookies that Google will now block. Google

has already amassed massive quantities of user data and associated them with individual profiles.

Moving forward, Google is also uniquely positioned to continue collecting vast troves of data on

individual users: Google will continue individually tracking users on their major properties (e.g.,

Google Search, Google Maps, YouTube) and through various workarounds (e.g., via Chrome and

Android).

   270.     In addition to excluding competition in these ways, Google’s new walled garden

scheme poses a systemic risk to online advertising markets in the United States: it blocks

publishers and advertisers from transacting through intermediaries that do not have conflicts of

interest. By blocking cookies, and through proposals in Privacy Sandbox, Google forcibly inserts

itself in the middle of publishers’ business relationships with non-Google advertising companies,

cutting off publishers’ ability to transact with rivals without also going through Google. As internal

Google documents make clear, some of the largest advertisers in America actively try to avoid

working with Google because of its conflicts of interest. Google operates on the buy-side and the

sell-side, runs an exchange, and participates in the market as a buyer and as a seller. The equivalent

in financial markets would be working with a broker that also represents the counterparty, runs the

exchange, and has a proprietary trading desk—all without ethical walls between business divisions



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to protect its customers’ welfare. In advertising, a lack of transparency exacerbates advertiser

concerns: Google does not permit adequate third-party audits for things like ad fraud, measurement

(e.g., render rates), or circulation. Google’s upcoming changes will force market participants to

rely even more on Google, a conflicted intermediary, as the arbiter of ad transactions.

   271.    To summarize, Google’s upcoming cookie changes in the name of privacy are a ruse

to further Google’s longstanding plan to advantage itself by creating a closed ecosystem out of the

open web. Project NERA was Google’s first scheme; then, to deflect growing regulatory concern

over its own privacy and intrusive cookie practices with consumers, Google launched “Privacy

Sandbox,” new plans to wall off the internet accessed through Chrome. Google’s aim is to further

squeeze competition in the exchange and ad buying tool markets by restricting competitors’ ability

to track users and target ads.

   272.    At the same time, Google is trying to hide its true intentions behind a pretext of privacy.

Google does not actually put a stop to user profiling or targeted advertising—it puts Google’s

Chrome browser at the center of tracking and targeting. Google does not put a stop to Google’s

tracking of users on Chrome; it does not put a stop to Google’s tracking of users through cookie

workarounds; it does not put a stop to Google’s tracking of users across the largest sites in the

world. In fact, the new Google Chrome tracking groups create something akin to a Google social

credit score based on group identity. As The Electronic Frontier Foundation recently summarized:

“Today, trackers follow you around the web, skulking in the digital shadows in order to guess at

what kind of person you might be. In Google’s future, they will sit back, relax and let your browser

do the work for them. …. The Sandbox isn’t about your privacy. It’s about Google’s bottom line.

At the end of the day, Google is an advertising company that happens to make a browser.”




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       10.      Google excludes competition though Unified Pricing rules.

   273.      Many publishers would prefer to apply higher price floors to Google’s AdX exchange

than they apply to other exchanges, since the informational and other disadvantages Google creates

for other exchanges often mean that AdX is willing to bid more than others. Those higher price

floors for Google (or the lower price floors for others) require Google to compete more vigorously,

i.e., bid more, for purchasing impressions. One of Google’s initial efforts to avoid this heightened

competition came in June 2019, when Google manipulated its core search algorithm to punish

publishers utilizing higher price floors. It caused some publishers’ search traffic to plummet, with

one publisher losing half of its search traffic in a single day. Nevertheless, Google repeatedly

misrepresented to publishers that it was not manipulating search traffic results to punish publishers

who set higher price floors for Google. But in the end, Google would address the issue more

directly by imposing Unified Pricing rules, which eliminated differential price floors altogether.

In effect, Google used its ad server monopoly to exclude competition in the exchange market.

   274.      In 2019, Google’s ad server started prohibiting publishers from setting different price

floors for different exchanges and ad buying tools. As a result, publishers can no longer route their

ad space to an exchange like AppNexus at a price floor lower than the price floor they apply when

routing the same impression to Google’s exchange. Nor can a publisher give one bidder (e.g.,

Google Ads) a higher price floor (e.g., $10 CPM), while giving another (e.g., The Trade Desk) a

lower price floor (e.g., $8 CPM). Google calls these new ad server restrictions Unified Pricing.

   275.      Unified Pricing prohibits publishers from using price floors to generate competition

between Google and non-Google exchanges and ad buying tools. Historically, publishers set

different price floors for Google in order to generate competition from non-Google exchanges and

ad buying tools. After Google acquired DoubleClick, Google’s ad server restricted publishers from

sharing their raw and non-scrambled DoubleClick ad server users IDs with non-Google exchanges
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and ad buying tools. At the same time, Google’s ad server shares those user IDs with Google’s

exchange and ad buying tools. Consequently, Google’s exchange and ad buying tools had a distinct

information advantage about publishers’ heterogenous inventory. Non-Google intermediaries’

corresponding information disadvantage caused them to bid lower for impressions; for instance,

they must sometimes bid “blind,” unable to adequately evaluate the value of the impression. To

create bid competition in their auctions from non-Google ad buying tools, publishers would set

their price floors higher for Google. But Google’s Unified Pricing rules now block publishers from

charging Google a rational information risk premium, and they also effectively preclude publishers

from generating competition from bidders unable to match Google’s information advantages.

   276.    Google’s blocking of competition via Unified Price rules has resulted in Google’s

exchange and buy-side winning an increasing portion of publishers’ impressions, even though they

pay lower prices. Publisher auction records reveal that Google’s exchange grew its share of

exchange impressions by 20 percent after the introduction of Unified Pricing rules. For some

publishers, the Unified Pricing restrictions caused their Google ad server to sell twice as much of

their inventory to Google’s exchange for half as much as what Google’s exchange historically

paid. Records also show that Unified Pricing rules result in Google’s ad buying tools tripling and

quintupling the share of impressions they win. In sum, Google’s Unified Price rules have been

extremely effective at blocking and reducing competition from non-Google exchanges and ad

buying tools.

   277.    Unified Pricing rules not only prohibit publishers from discriminating between

exchanges and bidders based on price and yield, but also on non-price criteria like ad quality.

Publishers cannot favor exchanges and ad buying tools that return higher quality ads.




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     278.    The Unified Pricing rules also result in Google’s exchange winning more because they

coerce publishers to transact with Google ad buying tools in Google’s exchange. In other words,

they require publishers to use Google’s exchange in order to do business with Google’s ad buying

tools. Previously, publishers could choose to transact with DV360 only in non-Google exchanges

by increasing DV360’s price floors in Google’s exchange. Unified Pricing rules ended this practice

and forced publishers to transact with DV360 and Google Ads in Google’s exchange. Forcing

publishers to transact with Google’s ad buying tools only if they also transact in Google’s exchange

was one of Google’s main aims with Unified Pricing.

     279.    Google misrepresented to publishers its reasons for adopting Unified Pricing.

Externally, Google falsely declared that abolishing price floors benefited publishers. Privately,

however, Google recognized that Unified Pricing was “extremely self-serving” and revealed that

the true objective was to allow “Google buyside and Facebook (after FAN integrates through Open

Bidding) get access to the same 1st Price auction dynamics.” According to an internal Google

memorandum summarizing a May 2, 2019 meeting between Google and Facebook, the parties

discussed publisher pricing floors, and Facebook told Google it would rather publishers not have

the ability to set price floors. These discussions helped Google later decide to prohibit publishers

from setting lower price floors for non-Google (or non-Facebook) exchanges, networks, and ad

buying tools. The Unified Price rules further the collusion between Google and Facebook.

F.      Google forces advertisers to use Google’s ad buying tools.

        1.      Google conduct that excludes competition in the exchange market also
                excludes competition in the ad buying tool markets.

     280.    The artificial information disadvantages that Google’s ad server and exchange generate

for non-Google ad buying tools (e.g., cutting off access to publishers’ ad server user IDs) foreclose

competition in the ad buying tool markets.

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    281.     The various Google programs discussed in paragraphs 148-154, including the

Bernanke program, foreclose competition in the ad buying tool markets for small and large

advertisers.

    282.     Likewise, the Unified Pricing rules discussed in paragraphs 273-279 foreclose

competition and protect Google’s monopoly in the ad buying tool markets. Before Unified Pricing,

publishers could set different price floors to facilitate competition between Google and non-

Google ad buying tools.

    283.     Google’s Last Look conduct, as well as Google’s new replacement scheme, discussed

in paragraphs 236-240, forecloses competition in the ad buying tool markets.

        2.      Google excludes competition in the market for ad buying tools by cutting
                YouTube off from competing ad buying tools.

    284.     Google unlawfully maintains its monopoly power in the ad buying tool markets by

cutting YouTube inventory off from competing ad buying tools. Cutting off YouTube access

forces advertisers to use Google’s ad buying tools because YouTube, as the leading provider of

video inventory in the United States, is a “must-have” source of online instream video inventory

for advertisers.

    285.     Google did not always require advertisers to use a Google ad buying tool to purchase

YouTube ad inventory. Indeed, advertisers could previously purchase YouTube inventory through

many non-Google ad buying tools.

    286.     However, in 2013, Google noticed that its ad buying tool for large advertisers DV360

was falling behind the competition. Google started to consider withholding YouTube inventory

from non-Google ad buying tools for the express purpose of pressuring advertisers to use DV360

and Google Ads. In an internal 2014 Google document, Google strategized that “[e]xclusivity of

access to YouTube will likely be a significant driver of DBM Video adoption.”

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   287.    Google also recognized that withholding YouTube from competing ad buying tools

would give Google’s DV360 and Google Ads power as buyers’ agent to steer advertisers’ budgets

back to Google’s properties (e.g., Google Search). A 2013 strategy conversation makes this clear:

“If advertisers feel like they don’t have to work with Google directly to access video inventory—

including YouTube—we will lose our ability to influence decisions about budget allocation.” In

other words, if YouTube inventory were available exclusively through Google’s ad buying tools,

advertisers would have to use those tools, which would empower Google to then steer budgets

back to Google properties (e.g., Search and YouTube).

   288.     Rather than competing in the market on the basis of price or quality, Google decided

to withhold YouTube inventory from non-Google ad buying tools in order to force advertisers to

use Google’s tools.

   289.    By restricting non-Google ad buying tools from selling YouTube inventory, Google

also acted against YouTube’s interest. Restricting the pool of buyers for YouTube inventory

lowered the demand and revenue for YouTube content creators.

   290.    The harm to competing ad buying tools is magnified because advertisers (and ad

agencies) prefer to minimize the number of ad buying tools they use. Advertisers and ad agencies

bear significant costs and inefficiencies when using more than one ad buying tool for an ad

campaign. For example, using multiple tools increases the rate at which they inadvertently bid

against themselves on exchanges, thereby driving up their own advertising costs. As Google

knows, advertisers can either use more than one ad buying tool (and increase their costs) or use

just Google’s tools and avoid these inefficiencies altogether.




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   291.    Cutting off access to YouTube foreclosed competition in the ad buying tool markets

and protected Google’s market power in these markets. Many DSPs stopped growing, many others

went out of business, and the market overall has been closed to entry.

                              VIII. ANTICOMPETITIVE EFFECTS

   292.    Google’s exclusionary conduct has caused a wide range of anticompetitive effects,

including the exit of rival firms and limited and declining entry rates in the relevant antitrust

markets (despite the significant profits enjoyed by Google in those markets). Google’s harm to

competition deprives advertisers, publishers, and consumers of improved quality, greater

transparency, greater innovation, increased output, and lower prices.

   293.    Google’s anticompetitive conduct described throughout this Complaint has adversely

and substantially affected the Plaintiff States’ economies and the general welfare in the Plaintiff

States. Google’s illegal conduct has reduced competition, raised prices, lowered quality, and

reduced output in each of the Plaintiff States. This conduct has harmed the Plaintiff States’

respective economies by depriving the Plaintiff States and the persons within each Plaintiff State

of the benefits of competition.

   294.    Google has unlawfully maintained monopolies by using its market power to

disadvantage the process of competition via tying, exclusionary conduct, and other conduct in at

least the following ways:

    i.     Substantially foreclosing competition in the exchange market by interfering with and

           cutting off access to inventory and advertiser demand;

    ii.    Substantially foreclosing competition in the publisher ad server market by tying its ad

           server with its market dominant exchange;

    iii.   Substantially foreclosing competition in the market for publisher ad servers and using

           market power in the publisher ad server market to harm competition in the exchange
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              market, the market for display ad buying tools for small advertisers, and the market for

              display ad buying tools for large advertisers;

     iv.      Substantially foreclosing competition in the markets for display ad buying tools for

              small advertisers and display ad buying tools for large advertisers;

     v.       Increasing barriers to entry in the markets for publisher ad servers, exchanges, display

              ad buying tools for small advertisers, and display ad buying tools for large advertisers;

     vi.      Harming innovation which would otherwise benefit publishers, advertisers, and

              consumers;

     vii.     Harming publishers’ ability to effectively monetize their content, reducing publishers’

              revenues, and thereby reducing output;

     viii.    Maintaining opacity on margins and selling processes, harming competition in the

              exchange and display ad buying tool markets;

     ix.      Increasing advertisers’ costs to advertise and reducing the effectiveness of their

              advertising, thereby harming businesses’ ability to deliver their products and services

              and reducing output; and

     x.       Improperly shielding Google’s products from competitive pressures, thereby allowing

              it to continue to extract high margins and avoid the pressure to innovate.

     295.     This section outlines the effect of Google’s conduct on competition in the publisher ad

server market, the exchange market, the market for ad buying tools for small advertisers, and the

market for ad buying tools for large advertisers, as well as the effects on publishers, advertisers,

businesses, and the general public.

A.         Anticompetitive Effects in the Publisher Ad Server Market

     296.     Google’s exclusionary conduct has foreclosed competition in the publisher ad server

market and created artificial barriers to entry and expansion. Google’s exclusionary conduct in this
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market includes the tying of its ad server to its exchange (and network and ad buying tools), as

well as its unlawful bid rigging agreement with Facebook. Competing publisher ad servers have

consequently exited or significantly scaled back their offerings, leaving publishers with little to no

choice but to license Google’s ad server. Several large public advertising technology firms,

including Microsoft, Yahoo!, WPP, and OpenX, once competed in this market; all four firms have

since exited the market. Moreover, the entry of new competition has been remarkably weak for a

decade, and new entrants are thwarted, because of the Google-created barriers to entry and

expansion. For instance, Google thwarted Facebook’s potential entry into this market by giving

Facebook secret auction quotas.

   297.    Google’s harm to the competitive process has harmed customers in this market, i.e.,

online publishers. An ad server is an inventory management system that serves a publisher’s

interest. In a competitive market, publishers would benefit from ad servers competing on price and

quality (e.g., the extent to which ad servers maximize publishers’ inventory yield). Google’s

exclusionary conduct and entry barriers have permitted its ad server to charge supra-competitive

fees (e.g., a 5 to 10 percent fee on gross transactions executed in non-Google exchanges and

networks) and lower quality below competitive levels (e.g., blocking and interfering with

competition from non-Google exchanges that increase publishers’ yield).

   298.    Leading, long-established, and high-quality news publications have faced challenges

monetizing via digital advertising, despite large readership and growing subscriber bases. Digital

publishers were built on the expectation of fast growth in advertising sales, but that expectation

has remained largely unrealized. In 2019, industry commentary described a pattern of struggling

publishers heralding the “accelerating deterioration of the sector.” Struggling to meet advertising

revenue targets, many publishers have had to resort to the downsizing of their workforces and the



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production of less content. By reducing the revenue potential for publishers, Google reduces

publishers’ incentives and resources to produce content, lowering output in this relevant market.

     299.   Google’s harm to the competitive process in the ad server market has also harmed

publishers’ customers, i.e., individual consumers. Publishers use revenue generated from selling

ad space to improve the quality of their content, offer more content, and offer more subsidized

content access (i.e., less expensive subscriptions or free content access). Because Google’s ad

server charges supra-competitive prices and depresses publishers’ inventory yield, publishers offer

consumers less content (lower output of content), lower-quality content, less innovation in content

delivery, more paywalls, and higher subscription fees.

B.      Anticompetitive Effects in the Exchange Market

     300.   Google’s exclusionary conduct has foreclosed competition in the exchange market and

created artificial barriers to entry and expansion. Google’s exclusionary conduct in this market

includes deceptively blocking, interfering with, and obstructing exchange competition, cutting off

non-Google exchange access to publishers’ user IDs, manipulating advertiser bids and exchange

price floors (i.e., manipulating the auction), tying of its ad server to its exchange, ad network, and

ad buying tools (requiring publishers and advertisers to trade in Google’s exchange), an unlawful

agreement with Facebook to rig publishers’ auctions with advantages and quotas for Facebook,

and a long list of conduct that Google pursued with the purpose to “kill” header bidding.

Competing exchanges have consequently exited the market and new entrants are unable to

effectively compete. Over ten years ago, Microsoft, Yahoo!, and top Silicon Valley venture funds

competed in the exchange market, with the AdECN, AdBrite, and ADSDAQ exchanges; all three

of these exchanges have since exited the market. Competition from new entrants has been weak

because of the barriers and obstructions to entry Google has created. For instance, competing

exchanges have tried for market share to compete by lowering their take rates to half and even a
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quarter of Google’s exchange take rates. However, competition is not working: effectively, due to

Google interference, lowering prices does not permit exchanges to gain market share.

     301.   Google’s harm to the competitive process has harmed customers in this market, i.e.,

online publishers and advertisers. In a competitive market, publishers and advertisers would

benefit from exchanges competing on take rates and quality. Competition would lead to lower take

rates, benefiting publishers and advertisers. Publishers would retain a greater share of their

advertising revenue, permitting them to create more content, higher-quality content, and more

subsidized content access. Advertisers would pay less to purchase ad space, permitting them to re-

invest those cost savings into providing consumers with higher-quality and lower-priced goods

and services. Google’s foreclosure of competition in the exchange market has permitted its

exchange to charge supra-competitive fees (~19-22 cut on gross transactions) and lower quality

below competitive levels. Furthermore, Google’s high take rate does not reflect the magnitude of

Google’s anticompetitive harm because of the inefficiency Google creates in the allocation of

impressions. Google has consequently reduced output in the exchange market.

C.      Anticompetitive Effects in the Network Market

     302.   Google’s exclusionary conduct has foreclosed competition in the display ad network

market and the in-app mobile ad network market and created artificial barriers to entry and

expansion. Google’s exclusionary conduct in these markets includes Google Ads routing

advertisers’ bids on display ads to only Google’s network, then deceptively re-routing those

advertisers’ bids to Google’s exchange; it also includes the terms of the Jedi Blue agreement, which

provide Facebook’s in-app network FAN with “Win Rate” quotas in auctions for publishers’ in-

app inventory. Competing display and in-app networks have exited the market and new entrants

are unable to effectively compete. Whereas competition in these markets used to be vigorous,

today, Google and Facebook control these markets.
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     303.   Google’s harm to the competitive process has harmed customers in this market, i.e.,

small publishers and advertisers. In a competitive market, small publishers and advertisers would

benefit from networks competing with each other on take rates and quality. Competition would

lead to lower take rates, benefiting publishers and advertisers. Small publishers would retain a

greater share of their advertising revenue, permitting them to create more content, higher-quality

content, and more subsidized content access. Advertisers would pay less to purchase ad space,

permitting them to re-invest those cost savings into providing consumers with higher-quality and

lower-priced goods and services. Google’s foreclosure of competition in the network market has

permitted its display network GDN to charge high double-digit take rates exceeding 32 percent.

Google’s foreclosure of competition in the in-app network market, per the terms of the Jedi Blue

agreement, allocates a minimum fixed percent of auctions for publishers’ inventory to Facebook’s

in-app network FAN irrespective of how high other networks might bid in the same auctions.

Market allocation through quotas subverts competition between networks for publishers’ in-app

inventory and fixes prices in the market. Consequently, Google reduces output in these markets.

D.      Anticompetitive Effects in the Markets for Display Ad Buying Tools for Small
        Advertisers and Display Ad Buying Tools for Large Advertisers

     304.   Google’s exclusionary conduct has foreclosed competition in the ad buying tool

markets for both small and large advertisers and created artificial barriers to entry and expansion.

Google’s exclusionary conduct in these separate markets includes the tying of its ad server to its

exchange, ad network, and ad buying tools (requiring publishers and advertisers to trade in

Google’s exchange), cutting off non-Google ad buying tools’ access to publishers’ ad server user

IDs, manipulating advertiser bids and exchange price floors (i.e., manipulating the auction), and

the tying of YouTube with its ad buying tools. Consequently, competing ad buying tools have

exited the market and new entrants are unable to effectively compete. Competition in the ad buying

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tool markets for small and large advertisers used to be robust; today, Google Ads is effectively the

only remaining choice for small advertisers wishing to purchase display ad space from exchanges.

And many large advertisers have no choice but to use DV360 because they single home (to reduce

bidding risk) and because DV360 has exclusive access to YouTube ad inventory, which is a “must

have.”

   305.    Google’s harm to the competitive process has harmed customers in these markets, i.e.,

both small and large advertisers. Ad buying tools, whether for small or large advertisers, are

supposed to advance advertisers’ best interests (e.g., buying identical ad space for the lowest

price). In a competitive market, advertisers would benefit from ad buying tools competing on price

and quality (e.g., the extent to which the tools maximize advertisers’ best interests). Google’s

exclusionary conduct has permitted its ad buying tool for small advertisers to charge supra-

competitive fees and lower quality below competitive levels (e.g., charging non-transparent fees,

manipulating advertisers’ bids to purchase ad space for higher prices trading on Google’s exchange

and network, and arbitraging small advertisers’ bids to extract higher fees). Similarly, Google’s

exclusionary conduct has permitted Google’s ad buying tool for large advertisers to charge supra-

competitive fees and lower quality below competitive levels (e.g., the lack of adequate auditing of

Google conflicts of interests and fraudulent impressions). Google’s conduct has consequently also

lowered output in these markets.

   306.    Google’s harm to the competitive process in the ad buying tool markets has also harmed

advertisers’ customers, i.e., consumers. The fees advertisers would save on ad buying tools and ad

purchases in the absence of Google’s anticompetitive conduct would result in reduced deadweight

costs that advertisers would ultimately pass on to consumers. Consumers would benefit through

better quality and lower priced goods and services. Advertising also allows consumers to learn of



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the range of competitors in a market, their prices, and the nature of the products and services

offered. When advertising effectiveness is reduced, competition between products and services is

reduced, and consumers are harmed.

E.      Harm to Innovation

     307.   In each of the relevant product markets, Google’s exclusionary conduct has resulted in

harm to innovation. A critical example of this is how, for many years, Google’s publisher ad server

depressed publishers’ inventory yields by blocking real-time competition from non-Google

exchanges. When publishers found a way to work around the restrictions imposed by Google’s ad

server using header bidding, publishers’ yields jumped by 30+ percent, sometimes even over 100

percent. It was not until 2018, about 8 years after the invention of real-time bidding, that Google’s

ad server finally permitted publishers to route their inventory to multiple exchanges in real time.

In other words, the lack of competition caused by Google’s foreclosure of competition and entry

permitted Google’s ad server to get away with significantly depressing publishers’ inventory yields

for almost ten years.

     308.   Google’s response to header bidding has further harmed innovation in the exchange

and publisher ad server markets. Google has used its market power in the publisher ad server

market and exchange markets to “kill” header bidding, rather than competing on the merits. Header

bidding helped publishers make more money by enhancing exchange access to and competition

for publishers’ impressions. By crippling interoperability with this new and beneficial invention,

Google stifles rather than promotes beneficial innovation in the market.




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                                          IX. CLAIMS

A.        COUNT I – MONOPOLIZATION IN VIOLATION OF SECTION II OF THE SHERMAN ACT, 15
          U.S.C. § 2

     309.    Plaintiff States repeat and reallege every proceeding allegation as if fully set forth

herein.

     310.    Google wrongfully acquired and unlawfully maintained monopoly power in the market

for publisher ad servers, unlawfully acquired or maintained monopoly power in the ad exchange

market and ad network markets, unlawfully acquired or maintained monopoly power in the market

for ad buying tools for small advertisers, and unlawfully acquired or maintained monopoly power

in the market for ad buying tools for large advertisers.

     311.    Google has willfully maintained and abused its monopoly in the ad server market and

adjacent markets to, inter alia, restrict publishers from routing inventory to multiple exchanges,

preferentially route publisher inventory to Google’s exchange, provide Google’s exchange

exclusive access to high-value inventory, provide information advantages to harm competition,

structure key aspects of the exchange market to minimize transparency, trade ahead of header

bidding exchanges, use its data advantages to trade on inside information, deceive publishers to

encourage them to disable header bidding, cripple publishers’ ability to measure header bidding

yield, reduce line item capabilities to impede header bidding, redesign how web content is

presented to make header bidding incompatible, withhold data from header bidding, enter into

agreements with horizontal competitors to entrench its monopoly position, and exclude

competition through Unified Pricing.

     312.    Google has used its economies of scale in search and search advertising to create and

maintain a monopoly in the markets for ad buying tools and exchanges.




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   313.       Google has willfully maintained and abused its monopoly power in the instream online

video advertising market to force advertisers to use Google’s ad buying tools for both small and

large advertisers.

   314.       Plaintiff States have sustained antitrust injury as a direct and proximate cause of

Google’s unlawful conduct, in at least the following ways: (1) substantial foreclosure of

competition in the market for publisher ad servers, and the use of market power in the publisher

ad server market to harm competition in the exchange market; (2) substantial foreclosure of

competition in the exchange market via foreclosure of rivals’ access to publisher inventory and

advertiser demand; (3) substantial foreclosure of competition in the markets for ad buying tools by

the creation of information asymmetries and unfair auctions enabled by Google’s market

dominance in the publisher ad serving tools and exchange markets; (4) increased barriers to entry

and expansion in the publisher ad server, exchange, and demand-side buying tools markets; (5)

decreased innovation, which would otherwise benefit publishers, advertisers, and competitors; (6)

harm to publishers’ ability to effectively monetize their content, reductions to publishers’

revenues, reduced output, and the resulting harms to consumers; (7) reduced advertiser demand

and participation in the market from opacity on margins and selling process, and harm to rival

exchanges and buying tools; (8) increased advertisers’ costs to advertise and reduced effectiveness

of advertising, which thereby harms businesses’ return on the investment in delivering their

products and services, reduces output, and further harms consumers; (9) protection of Google’s

products from competitive pressures, thereby allowing it to continue to extract high margins while

avoiding competitive pressures to innovate.

   315.       For the reasons set forth above, Google has violated Section 2 of the Sherman Act, 15

U.S.C. § 2.



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     316.   The Plaintiff States are entitled to equitable relief as appropriate to cure Google’s

unlawful conduct and restore competition in the relevant markets. Consumers in the Plaintiff States

are regular users of products in the relevant markets and will continue to purchase such products

and suffer further injury if Google’s unlawful monopolies are not ended.

B.        COUNT II – ATTEMPTED MONOPOLIZATION            IN    VIOLATION   OF   SECTION II   OF THE
          SHERMAN ACT, 15 U.S.C. § 2

     317.   Plaintiff States repeat and reallege every proceeding allegation as if fully set forth

herein.

     318.   As detailed above, Google has monopoly power, or at a minimum, a dangerous

probability of acquiring monopoly power, in the relevant online display advertising markets,

including the market for publisher ad servers, the ad exchange and ad network markets, and in the

markets for ad buying tools for large and small advertisers.

     319.   Google has willfully, knowingly, and with specific intent to do so, attempted to

monopolize the relevant online display advertising markets, including the market for ad servers,

the ad exchange and ad network markets, and the markets for ad buying tools for large and small

advertisers.

     320.   Google has attempted to monopolize the ad server market and adjacent markets to, inter

alia, restrict publishers from routing inventory to multiple exchanges, preferentially route

publisher inventory to Google’s exchange, provide Google’s exchange exclusive access to high-

value inventory, provide information advantages to harm competition, structure key aspects of the

exchange market to minimize transparency, trade ahead of header bidding exchanges, use its data

advantages to trade on inside information, deceive publishers to encourage them to disable header

bidding, cripple publishers’ ability to measure header bidding yield, reduce line item capabilities

to impede header bidding, redesign how web content is presented to make header bidding

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incompatible, withhold data from header bidding, and enter into agreements with horizontal

competitors to entrench its monopoly position, and exclude competition through Unified Pricing.

   321.    Google has attempted to monopolize the markets for ad buying tools and exchanges.

   322.    Google has attempted to monopolize in the instream online video advertising to force

advertisers to use Google’s ad buying tools for both small and large advertisers.

   323.    Plaintiff States have sustained antitrust injury as a direct and proximate cause of

Google’s unlawful conduct, in at least the following ways: (1) substantial foreclosure of

competition in the market for publisher ad servers, and the use of market power in the publisher

ad server market to harm competition in the exchange market; (2) substantial foreclosure of

competition in the exchange market via foreclosure of rivals’ access to publisher inventory and

advertiser demand; (3) substantial foreclosure of competition in the markets for ad buying tools by

the creation of information asymmetries and unfair auctions enabled by Google’s market

dominance in the publisher ad serving tools and exchange markets; (4) increased barriers to entry

and expansion in the publisher ad server, exchange, and demand-side buying tools markets; (5)

decreased innovation, which would otherwise benefit publishers, advertisers, and competitors; (6)

harm to publishers’ ability to effectively monetize their content, reductions to publishers’

revenues, reduced output, and the resulting harms to consumers; (7) reduced advertiser demand

and participation in the market from opacity on margins and selling process, and harm to rival

exchanges and buying tools; (8) increased advertisers’ costs to advertise and reduced effectiveness

of advertising, which thereby harms businesses’ return on the investment in delivering their

products and services, reduces output, and further harms consumers; (9) protection of Google’s

products from competitive pressures, thereby allowing it to continue to extract high margins while

avoiding competitive pressures to innovate.



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     324.     For the reasons set forth above, Google has violated Section 2 of the Sherman Act, 15

U.S.C. § 2.

     325.     The Plaintiff States are entitled to equitable relief as appropriate to cure Google’s

unlawful conduct and restore competition in the relevant markets. Consumers in the Plaintiff States

are regular users of products in the relevant markets and will continue to purchase such products

and suffer further injury if Google’s unlawful monopolies are not ended.

C.        COUNT III – UNLAWFUL TYING IN VIOLATION OF SECTION II OF THE SHERMAN ACT, 15
          U.S.C. § 2

     326.     Plaintiff States repeat and reallege every proceeding allegation as if fully set forth

herein.

     327.     Google’s contractual arrangements and other conduct force publishers and others to

use Google’s ad server (DFP) if they use Google exchange (AdX).

     328.     Google’s DFP and Google AdX are separate products in separate markets.

     329.     Google AdX has sufficient market power in the exchange market to coerce publishers

and others to use DFP even if they would prefer not to do so.

     330.     Google’s tying arrangements affect a significant volume of interstate commerce and

have the effect of substantially foreclosing competition in the publisher ad server market by virtue

of reducing the number of publishers and others for whom other ad servers can effectively

compete. Moreover, these tying arrangements allow Google to maintain supra-competitive prices

for AdX that are ultimately passed on to publishers and others, who are also harmed by virtue of

having fewer options available at lower prices because of Google’s conduct.

     331.     Google’s tying arrangements have caused competing ad servers substantial damages as

a direct and proximate cause of this unlawful conduct because Google has foreclosed other ad

servers from competing for potential publishers and others and has deprived ad servers of other

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business for reasons having nothing to do with the merits of Google DFP or other ad server

products.

   332.     Google’s contractual arrangements and other conduct force advertisers and others to

use Google’s ad buying tools, DV360 or Google Ads, if they seek to purchase ad inventory on

YouTube.

   333.     Ad inventory on YouTube and Google’s ad buying tools (DV360 and Google Ads) are

separate products in separate markets.

   334.     YouTube has sufficient power in the online video inventory market to coerce

advertisers and others to use Google’s ad buying tools (DV360 and Google Ads) even if they

would prefer not to do so.

   335.     Google’s tying arrangements affect a significant volume of interstate commerce and

have the effect of substantially foreclosing competition in the ad buying tools markets by virtue of

reducing the number of advertisers and others for whom other ad buying tools can effectively

compete. Moreover, these tying arrangements allow Google to charge supra-competitive prices for

ad buying tools that are ultimately passed on to advertisers and others, who are also harmed by

virtue of having fewer options available at lower prices because of Google’s conduct.

   336.     Google’s contractual arrangements and other conduct force small advertisers and

others to use Google’s network (GDN) and Google’s exchange (AdX), or at least to not use

competing networks and exchanges, if they use Google Ads.

   337.     Google Ads, Google GDN, and Google AdX are separate products in separate

markets.




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     338.   Google Ads has sufficient power in the market ad buying tools for small advertisers

to coerce advertisers and others to use Google GDN and Google AdX even if they would prefer

not to do so.

     339.   Google’s tying arrangements affect a significant volume of interstate commerce and

have the effect of substantially foreclosing competition in the network market and ad exchange

market by virtue of reducing the number of small advertisers and others for whom other

networks and exchanges can effectively compete. Moreover, these tying arrangements allow

Google to maintain supra-competitive prices for GDN and AdX that are ultimately passed on to

advertisers and others, who are also harmed by virtue of having fewer options available at lower

prices because of Google’s conduct.

     340.   Google’s tying arrangements have caused competing networks and exchanges

substantial damages as a direct and proximate cause of this unlawful conduct because Google has

foreclosed other networks and exchanges from competing for potential small advertisers and

others, and deprived networks and exchanges of other business for reasons having nothing to do

with the merits of Google’s network or exchange products.

D.        COUNT IV – UNLAWFUL AGREEMENT IN VIOLATION OF SECTION I OF THE SHERMAN
          ACT, 15 U.S.C. § 1

     341.   Plaintiff States repeat and reallege every proceeding allegation as if fully set forth

herein.

     342.   Google, by and through its officers, directors, employees or other representatives,

entered into an unlawful agreement with its co-conspirator Facebook in restraint of trade and

commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, in which they agreed to

allocate display ad auction wins and to fix display ad prices, as described in this Complaint.




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     343.   Google’s conduct is a per se violation that restrains trade and harms competition

through an unlawful agreement in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

     344.   Google’s anticompetitive acts have had harmful effects on competition and consumers.

E.      COUNT V – SUPPLEMENTAL STATE LAW ANTITRUST CLAIMS

     345.   Plaintiff State of Texas repeats and realleges every preceding allegation as if fully set

forth herein.

     346.   The aforementioned practices by Google were and are in violation of Texas Business

and Commerce Code § 15.01 et seq., including § 15.05(b).

     347.   Plaintiff State of Alaska repeats and realleges each and every preceding allegation as if

fully set forth herein. The aforementioned acts or practices by Google violate the Alaska Restraint

of Trade Act (“ARTA”), AS 45.50.562 et seq.

     348.   Google engaged in and is engaging in unlawful conduct in the course of trade or

commerce within the meaning of AS 45.50.562 et seq. This conduct has harmed and is harming

Alaska and its citizens, residents, businesses, and consumers.

     349.   As provided for under ARTA, Alaska seeks a civil penalty of up to $50,000,000,

injunctive relief, damages and penalties, disgorgement, and costs and attorney’s fees.

     350.   The State of Alaska seeks relief on behalf of itself, as provided for in ARTA, and as

parens patriae on behalf of its persons, as provided for in AS 45.50.577, as well as under Alaska

common law.

     351.   Plaintiff State of Arkansas repeats and realleges each and every preceding allegation as

if fully set forth herein.

     352.   Google’s actions alleged herein violate, and Plaintiff State of Arkansas is entitled to

relief under, the Unfair Practices Act, Ark. Code Ann. § 4-75-201 et seq., Monopolies Generally,

Ark. Code Ann. § 4-75-301 et seq., and the common law of Arkansas.
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    353.     Plaintiff State of Arkansas seeks and is entitled to maximum civil penalties allowed by

law, injunctive relief, disgorgement, attorney’s fees, costs, investigative expenses, expert witness

expenses, and such other relief as this Court deems just and equitable.

    354.     Plaintiff the State of Florida repeats and realleges each and every preceding allegation

as if fully set forth herein. The aforementioned acts or practices by Google violate the Florida

Antitrust Act, Fla. Stat. § 542.15 et seq.

    355.     The State of Florida seeks remedies available under The Florida Antitrust Act

including:

    a) Injunctive and other equitable relief pursuant to Fla. Stat. § 542.23;

    b) Civil penalties pursuant to Fla. Stat. § 542.21, which provides that any person other than a

          natural person is subject to a penalty of up to $1 million and that “[a]ny person who

          knowingly violates any of the provisions . . . or who knowingly aids in or advises such

          violation, is guilty of a felony, punishable by a fine not exceeding $1 million if a

          corporation”; and

    c) Costs and attorneys’ fees pursuant to Fla. Stat. § 542.23.

    356.     Plaintiff State of Idaho repeats and realleges each and every preceding allegation as if

fully set forth herein.

    357.     Google has engaged in Idaho commerce, as that term is defined by Idaho Code § 48

103(1).

    358.     Google’s actions as alleged herein violate the Idaho Competition Act, Idaho Code § 48

105, in that such actions constitute monopolization, an attempt to monopolize, and/or a

combination or conspiracy to monopolize lines of Idaho commerce, as that term is defined by

Idaho Code § 48 103(1).



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    359.    Google’s actions as alleged herein violate the Idaho Competition Act, Idaho Code § 48

104, in that they have the purpose and/or the effect of unreasonably restraining Idaho commerce,

as that term is defined by Idaho Code § 48-103(1).

    360.    For each and every violation alleged herein, Plaintiff State of Idaho is entitled to all

legal and equitable relief available under the Idaho Competition Act, Idaho Code §§ 48-108 and

48-112, including, but not limited to, declaratory judgment, injunctive relief, civil penalties,

divestiture of assets, disgorgement, expenses, costs, attorneys’ fees, all monetary relief that the

Attorney General of the State of Idaho is entitled to recover, as parens patriae, on behalf of persons

of the State of Idaho for any injury directly or indirectly sustained because of each and every

violation of the Act, and such other and further relief as this Court deems just and equitable.

    361.    Plaintiff State of Indiana repeats and realleges every preceding allegation as if fully set

forth herein.

    362.    The aforementioned practices by Google were and are in violation of Ind. Code §§ 24-

1-2-1 and -2.

    363.    Plaintiff State of Louisiana repeats and re-alleges each and every preceding allegation

as if fully set forth herein.

    364.    The Attorney General of the State of Louisiana is authorized to bring this action on

behalf of the people of the State of Louisiana for injunctive relief, restitution, and civil penalties

pursuant to the Louisiana Monopolies statute, La. Rev. Stat. Ann.§ 51:121, et seq.

    365.    La Rev. Stat. Ann.§ 51:123 states that no person shall monopolize, or attempt to

monopolize, or combine, or conspire with any other person to monopolize any part of the trade or

commerce within this state.




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   366.    Google’s continuing and systematic business practices as alleged herein meant to

control or manipulate the digital advertising industry constitute a contract, combination, or

conspiracy in restraint of trade or commerce in the state of Louisiana in violation of Louisiana

Monopolies statute, La. Rev. Stat. Ann.§ 51:122.

   367.    Google’s continuing and systematic business practices as alleged herein meant to

control or manipulate the digital advertising industry constitute an attempt to monopolize to

conspire to monopolize trade or commerce in the state of Louisiana in violation of Louisiana

Monopolies statute, La. Rev. Stat. Ann.§ 51:123.

   368.    Pursuant to La. Rev. Stat. Ann.§ 51:121 the Plaintiff State of Louisiana seeks to recover

treble damages, the cost of suit, and attorneys’ fees, and injunctive relief pursuant to La. Rev. Stat.

Ann.§ 51:128.

   369.    Plaintiff the Commonwealth of Kentucky hereby reincorporates by reference all other

paragraphs of this Complaint.

   370.    Plaintiff the Commonwealth of Kentucky repeats and realleges each and every

preceding allegation as if fully set forth herein.

   371.    The aforementioned acts or practices by Google violate Ky. Rev. Stat. § 367.175.

   372.    Google engaged in and is engaging in unlawful conduct in the course of trade or

commerce, within the meaning of Ky. Rev. Stat. § 367.175, that has harmed and is harming the

Commonwealth and its persons.

   373.    The Commonwealth of Kentucky seeks the following remedies under Kentucky law

for violations of Ky. Rev. Stat. § 367.175:

   a) Disgorgement and restitution pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev. Stat. § 367.110

       through Ky. Rev. Stat. § 367.990, and common law;



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    b) Injunctive and other equitable relief pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev. Stat. §

        367.110 through Ky. Rev. Stat. § 367.990, and common law;

    c) Civil penalties pursuant to Ky. Rev. Stat. § 367.990(8);

    d) Costs and attorneys’ fees pursuant to Ky. Rev. Stat. § 367.110 through Ky. Rev. Stat. §

        367.990, Ky. Rev. Stat. § 48.005(4), and common law; and

    e) Other remedies as the court may deem appropriate under the facts and circumstances of the

        case.

    374.    Plaintiff State of Mississippi repeats and realleges each and every preceding allegation

as if fully set forth herein.

    375.    Google’s acts violate Miss. Code Ann. § 75- 21-1 et seq., and Plaintiff State of

Mississippi is entitled to relief under Miss. Code Ann. § 75- 21-1 et seq.

    376.    Pursuant to Miss. Code Ann. § 75-21-1 et seq., Plaintiff State of Mississippi seeks and

is entitled to relief, including but not limited to injunctive relief, damages, restitution,

disgorgement, civil penalties, costs, attorney fees, and any other just and equitable relief which

this Court deems appropriate.

    377.    Plaintiff State of Missouri repeats and realleges every preceding allegation as if fully

set forth herein.

    378.    The aforementioned practices by Google were and are in violation of the Missouri

Antitrust Law, Mo. Rev. Stat. §§ 416.011 et seq.

    379.    Plaintiff State of Montana repeats and realleges every preceding allegation as if fully

set forth herein.

    380.    The aforementioned acts and practices by Google were and are in violation of

Montana’s Unfair Trade Practices and Consumer Protection Act, Mont. Code Ann. § 30-14-101 et



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seq., including, but not limited to, § 30-14-103, and Unfair Trade Practices Generally, Mont. Code

Ann. § 30-14-201 et seq., including §§ 30-14-205(1), 30-14-205(2), and 30-14-222.

    381.    Plaintiff the State of Nevada repeats and realleges each and every preceding allegation

as if fully set forth herein. The aforementioned acts or practices by Google violate the Nevada

Unfair Trade Practices Act, Nev. Rev. Stat. §598A.010, et seq., and specifically unlawful restraints

of trade prohibited by Nev. Rev. Stat. §598A.060.

    382.    As repeatedly alleged supra, Google engaged in and is engaging in unlawful conduct

that produced, and continues to produce, harm across the Plaintiff States, including in Nevada.

Google’s unlawful conduct has occurred in the course of trade or commerce, within the meaning

of Nev. Rev. Stat. §598A.020.

    383.    Accordingly, the State of Nevada seeks all available relief under the Nevada Unfair

Trade Practices Act and common law, including but not limited to: disgorgement, injunctions, civil

penalties, direct and indirect damages, treble damages, and its costs and attorney’s fees pursuant

to Nev. Rev. Stat. §598A.070, Nev. Rev. Stat. §598A.160, Nev. Rev. Stat. §598A.170, Nev. Rev.

Stat. §598A.200, and Nev. Rev. Stat. §598A.250.

    384.    Plaintiff State of North Dakota repeats and realleges every preceding allegation as if

fully set forth herein.

    385.    The aforementioned practices by Google were and are in violation of North Dakota

Century Code (N.D.C.C.) § 51-08.1-01 et seq., Uniform State Antitrust Act, including §§ 51-08.1-

02 and 51-08.1-03.

    386.    Plaintiff State of South Carolina repeats and realleges each and every preceding

allegation as if fully set forth herein.




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    387.    The Attorney General of South Carolina is bringing this action in the name of the State

pursuant to S.C. Code § 39-5-50(a).

    388.    At all times described herein, Google was engaged in conduct which constitutes “trade”

and “commerce” as defined in S.C. Code § 39-5-10(b).

    389.    Google’s acts or practices regarding South Carolina consumers as alleged herein are

capable of repetition and affect the public interest.

    390.    Google’s acts or practices alleged herein constitute “unfair methods of competition”

under S.C. Code § 39-5-20. Every unfair act or practice by Google constitutes a separate and

distinct violation of S.C. Code § 39-5-20.

    391.    Google’s acts or practices alleged herein are offensive to established public policy,

immoral, unethical, or oppressive.

    392.    At all times Google knew or should have known that its conduct violated S.C. Code §

39-5-20 and therefore is willful for purposes of S.C. Code § 39-5-110, justifying civil penalties.

    393.    Plaintiff State of South Carolina seeks all remedies available under the South Carolina

Unfair Trade Practices Act (SCUTPA) including, without limitation, the following:

    a) Injunctive and other equitable relief pursuant to S.C. Code § 39-5-50(a);

    b) Civil penalties in the amount of $5,000, pursuant to S.C. Code § 39-5-110(a), for every

        willful violation of SCUTPA;

    c) Costs and attorneys’ fees pursuant to S.C. Code § 39-5-50(a) and S.C. Code § 1-7-85; and

    d) Other remedies as the court may deem appropriate under the facts and circumstances of the

        case.

    394.    Plaintiff Commonwealth of Puerto Rico repeats and realleges every preceding

allegation as if fully set forth herein.



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     395.    The aforementioned practices by Google were in violation of Puerto Rico Law No. 77

of June 25, 1964, also known as “Puerto Rico’s Antitrust and Restrictions of Commerce Law,” 10

P.R. Laws Ann. §§ 257 et seq., and 32 P.R. Laws Ann. § 3341.

     396.    Accordingly, the Commonwealth of Puerto Rico is entitled remedies available under

Puerto Rico’s Antitrust and Restrictions of Commerce Law and 32 P.R. Laws Ann. § 3341,

including injunctive relief, civil penalties, and any other appropriate relief.

     397.    Plaintiff State of South Dakota repeats and realleges every preceding allegation as if

fully set forth herein.

     398.    The aforementioned practices by Google constitute separate and multiple violations of

South Dakota statutes §§ SDCL 37-1-3.1 and 37-1-3.2.

     399.    For each and every violation alleged herein, Plaintiff State of South Dakota is entitled

to all legal and equitable relief, and all costs and fees, available under SDCL §§ 37-1-3.1 et seq.

Such relief includes injunctive relief and civil penalties for the State, as authorized by SDCL § 37-

1-14.2, and monetary relief, as parens patriae on behalf of persons of the State, for injuries

sustained, directly or indirectly, because of Google’s violations of South Dakota law, as authorized

by SDCL §§ 37-1-23, 37-1-24, and 37-1-32.

     400.    Plaintiff State of Utah repeats and realleges each and every preceding allegation as if

fully set forth herein.

     401.    Google’s acts violate the Utah Antitrust Act, Utah Code § 76-10-3101, et seq. (the

“Act”) and Plaintiff State of Utah is entitled to all relief available under the Act for those violations,

including, but not limited to, injunctive relief, civil penalties, disgorgement, attorneys’ fees, and

costs.

F.        COUNT VI – SUPPLEMENTAL STATE LAW DECEPTIVE TRADE PRACTICES CLAIMS

     402.    Plaintiff State of Texas repeats and realleges every preceding allegation.
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    403.    At all times described herein, Google has engaged in conduct which constitutes “trade”

and “commerce” defined in § 17.45(6) of the DTPA.

    404.    Plaintiff State of Texas has reason to believe that Google has engaged in, and will

continue to engage in, the unlawful practices set forth herein, has caused and will cause adverse

effects to legitimate business enterprises which lawfully conduct trade and commerce in this State,

and will cause damage to the State of Texas and to persons in the State of Texas. Therefore, the

Consumer Protection Division of the Office of the Attorney General of the State of Texas believes

and is of the opinion that this matter is in the public interest.

    405.    As alleged in more detail above, Google has engaged in false, deceptive, or misleading

acts or practices in connection with each of its roles within the ad tech stack. In each such role,

Google at least implicitly misrepresents that it is operating in the best interest of its customer, fails

to disclose its conflicts of interest, and misrepresents the many ways that Google operates to

disadvantage its customers.

    406.    For example, in its role as an ad server, Google led publishers to believe that it was

acting in the publisher’s best interest and would help them maximize revenue, when Google does

not seek to maximize the publisher’s revenue, but its own.

    407.    Similarly, in its roles as an ad exchange and ad network, Google misleads both

publishers and advertisers regarding the actual price of advertisements. Google is deliberately

opaque and nontransparent in its pricing terms, fails to disclose the fee it collects, and generally

causes confusion regarding the mechanics, terms, and pricing of its ad exchange and ad network.

    408.    Google has also engaged in false, deceptive, or misleading acts or practices in its efforts

to discourage publishers, ad exchanges, and advertisers from participating in header bidding and

to manipulate them into participating in Google’s products. Such acts included misrepresenting to



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publishers that including rival exchanges in header bidding would negatively affect the publisher

(e.g., by putting a strain on the publisher’s servers), falsely telling publishers that the DRS program

would increase their revenue, manipulating advertisers’ bids and publishers’ floors without

advertisers’ knowledge or consent, misrepresenting to publishers that Open Bidding would benefit

them through exchange competition, falsely telling publishers that adopting AMP would enhance

load times, falsely claiming that header bidding increased latency, falsely representing that

abolishing price floors in Unified Pricing benefited publishers, misrepresenting that it does not

manipulate search traffic results to favor publishers where Google makes more ad money,

misrepresenting that all bidders in Google’s exchanges compete on an equal footing, and

misrepresenting that Google had removed its Last Look advantage and would not trade ahead of

their bids.

    409.      Google also misrepresents to participants in the ad tech stack and its users alike that

Google encrypts user IDs in order to protect users’ privacy, when in fact, Google continues to

infringe on users’ privacy by continuing to access such information in its own ad tech stack

products.

    410.      As alleged in more detail above, Google has engaged in false, deceptive, or misleading

acts or practices by misrepresenting that it will never sell users’ personal information to anyone

and by misrepresenting, causing confusion and misunderstanding, and failing to disclose how

Google uses the information and data of its consumers.

    411.      Google has also engaged in false, deceptive, or misleading acts or practices by falsely

promising users that their WhatsApp messages remained private, by publicly misrepresenting that

Google did not have decryption keys, and by failing to disclose to users that backing up to Google

Drive would give Google access to users’ private WhatsApp communications.



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   412.    Through its false, deceptive, or misleading acts, Google has violated § 17.46(a) of the

DTPA, including by engaging in conduct specifically defined to be false, deceptive, or misleading

by § 17.46(b) such as:

   a) Representing that services have sponsorship, approval, characteristics, ingredients, uses,

       benefits, or quantities which they do not have or that a person has a sponsorship, approval,

       status, affiliation, or connection which he does not have, in violation of DTPA

       § 17.46(b)(5);

   b) Representing that services are of a particular standard, quality, or grade, if they are of

       another, in violation of DTPA § 17.46(b)(7);

   c) Advertising goods or services with the intent not to sell them as advertised, in violation of

       DTPA § 17.46(b)(9);

   d) Representing that an agreement confers or involves rights, remedies, or obligations which

       it does not have or involve, or which are prohibited by law, in violation of DTPA

       § 17.46(b)(12); and

   e) Failing to disclose information concerning goods or services which was known at the time

       of the transaction with the intent to induce the consumer into a transaction into which the

       consumer would not have entered had the information been disclosed in violation of

       § 17.46(b)(24).

   413.    By means of the foregoing unlawful acts and practices, Google has acquired money or

other property from persons to whom such money or property should be restored.

   414.    Plaintiff the State of Alaska repeats and realleges each and every preceding allegation

as if fully set forth herein, specifically including all allegations in Count VI of this Complaint. The




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aforementioned acts or practices by Google violate the Alaska Unfair Trade Practices and

Consumer Protection Act (“AUTPCPA”), AS 45.50.471 et seq.

    415.    Google engaged in and is engaging in unlawful conduct in the course of trade or

commerce, within the meaning of AS 45.50.471, that has harmed and is harming the State of

Alaska, its citizens, residents, businesses, and consumers.

    416.    Specifically, Google violated AS 45.50.471(b)(11) and (b)(12) by misleading,

deceiving, and damaging Alaskans. Among other things, Google omitted material facts, namely

their anti-competitive conduct, knowing this would harm Alaskans. Plaintiff State of Alaska is

entitled to relief for these violations under AS 45.50.501, .537, and .551, including injunctive

relief, civil penalties of between $1,000 and $25,000 for each violation, and costs and attorney’s

fees.

    417.    Further, the State of Alaska seeks restitution to Alaska and/or disgorgement pursuant

to its statutory and common law.

    418.    The State of Alaska seeks relief on behalf of itself and as parens patriae on behalf of its

persons.

    419.    Plaintiff State Arkansas repeats and realleges each and every preceding allegation as if

fully set forth herein.

    420.    Google’s actions violate the Arkansas Deceptive Trade Practices Act, Ark. Code Ann.

§ 4-88-101 et seq., and Arkansas is entitled to and seeks relief under the Arkansas Deceptive Trade

Practices Act, Ark. Code Ann. § 4-88-113.

    421.    Plaintiff the State of Florida repeats and realleges each and every preceding allegation

as if fully set forth herein. The aforementioned acts or practices by Google constitute unfair




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methods of competition in violation of the Florida Deceptive and Unfair Trade Practices Act, Fla.

Stat. § 501.204 et seq.

   422.    In addition, Google’s actions offend established public policy and are immoral,

unethical, oppressive, unscrupulous, or substantially injurious to consumers in the State of Florida

in violation of Fla. Stat. § 501.204 et seq.

   423.    The State of Florida seeks all remedies available under The Florida Deceptive and

Unfair Trade Practices Act, including, without limitation, the following:

   a) Damages pursuant to Fla. Stat. § 501.207;

   b) Disgorgement and restitution pursuant to Fla. Stat. § 501.204 et seq.;

   c) Injunctive and other equitable relief pursuant to Fla. Stat. § 501.207;

   d) Civil penalties pursuant to Fla. Stat. § 501.2075, which provides that anyone who engages

       in a willful violation “is liable for a civil penalty of not more than $10,000 for each such

       violation.”

   e) Costs and attorneys’ fees pursuant to Fla. Stat. § 501.2105.

   424.    Plaintiff State of Idaho repeats and realleges every preceding allegation, including the

allegations above in Count VI of this Complaint.

   425.    The above-mentioned acts and practices by Google violate the Idaho Consumer

Protection Act (ICPA), Idaho Code title 48, chapter 6, and the Idaho Rules of Consumer Protection,

IDAPA 04.02.01.000 et seq., which prohibit unfair and deceptive acts and practices in the conduct

of trade or commerce and which provide efficient and economical procedures to secure the public’s

protection from unlawful business practices.

   426.    At all times described herein, Google has engaged in conduct that constitutes “trade”

and “commerce” under Idaho Code § 48-602(2) and IDAPA 04.02.01.020.



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      427.   The Attorney General of the State of Idaho is authorized to bring an action in the name

of the State against any person who is using, has used, or is about to use any method, act, or practice

declared unlawful by the ICPA. Idaho Code § 48-606. The Attorney General of Idaho has reason

to believe that Google has used and is using the acts and practices set forth in this Complaint,

which violate the ICPA; that Google has caused and will cause adverse effects for the business

enterprises of the State of Idaho that lawfully conduct trade and commerce; and that Google has

caused and will cause damage to the State of Idaho and to the persons of the State of Idaho. The

Attorney General of Idaho therefore believes that this action is in the public interest.

      428.   Through its unfair or deceptive acts and practices, Google has violated the ICPA,

including by engaging in conduct specifically defined to be unfair or deceptive by Idaho Code

§ 48-603. For example, Google knows, or in the exercise of due care should know, that it was and

is:

      a) Representing that goods or services have sponsorship, approval, characteristics,

         ingredients, uses, benefits, or quantities that they do not have or that a person has a

         sponsorship, approval, status, affiliation, connection, qualifications, or license that he does

         not have, in violation of Idaho Code § 48-603(5);

      b) Representing that goods or services are of a particular standard, quality, or grade, if they

         are of another, in violation of Idaho Code § 48-603(7);

      c) Advertising goods or services with the intent not to sell them as advertised, in violation of

         Idaho Code § 48-603(9); and

      d) Engaging in any act or practice that is otherwise misleading, false, or deceptive to

         consumers, such as making any claim or representation, or omitting any material or

         relevant fact, concerning goods or services that directly, or by implication, has the capacity,



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        tendency, or effect of deceiving or misleading a consumer acting reasonably under the

        circumstances, in violation of Idaho Code § 48-603(17) and IDAPA 04.02.01.030.

    429.    Google’s unfair or deceptive acts and practices, as alleged above, constitute separate

and multiple violations of Idaho Code §§ 48-603(5), 48-603(7), 48-603(9), and 48-603(17), and

IDAPA 04.02.01.030. Google’s separate and multiple violations of these provisions subject

Google to the remedies outlined in Idaho Code §§ 48-606 and 48-607.

    430.    The Attorney General finds that the purpose of the ICPA would be substantially and

materially impaired by delay in bringing, at this time, these claims under the ICPA. Accordingly,

he has determined to file these claims, pursuant to Idaho Code § 48-606(3), without first providing

Google notice of these proceedings or allowing Google an opportunity to appear before the

Attorney General and to execute an assurance of voluntary compliance or a consent judgment

under the ICPA.

    431.    Plaintiff State of Indiana repeats and re-alleges each and every preceding allegation as

if fully set forth herein. Acts alleged in Count VI of this Complaint also constitute violations of

the Indiana Deceptive Consumer Sales Act, Ind. Code § 24-5-0.5-1 et seq., including knowing

violations and incurable deceptive acts. Plaintiff State of Indiana seeks all remedies available under

the Indiana Deceptive Consumer Sales Act.

    432.    Plaintiff State of Louisiana repeats and re-alleges each and every preceding allegation

as if fully set forth herein.

    433.    The Attorney General of the State of Louisiana is authorized to bring this action on

behalf of the people of the State of Louisiana for injunctive relief, restitution, and civil penalties

pursuant to the Louisiana Unfair Trade Practices and Consumer Protection Law (LUTPA), La.

Rev. Stat. Ann. § 51:1401, et seq.



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   434.    LUTPA expressly gives the Attorney General the right to bring an action for injunctive

relief (La. Rev. Stat. Ann. 51:1407A) and request civil penalties (La. Rev. Stat. Ann. 51:1407(B))

and restitution (La. Rev. Stat. Ann. 51:1408(5)).

   435.    LUTPA makes unlawful “unfair and deceptive acts or practices in the conduct of any

trade or commerce.” La. Rev. Stat. Ann. § 51:1405(A).

   436.    Google engages in “trade” or “commerce” within the meaning of La. Rev. Stat. Ann. §

51:1402(9). Google’s unfair and deceptive acts or practices in the conduct of its trade or commerce

are offensive to established public policy.

   437.    Each and every act in the conduct of trade or commerce by Google that is deemed to

be unfair or deceptive constitutes a separate violation of the act.

   438.    Google’s continuing and systematic business practices alleged herein constitute a

pattern of unfair and deceptive trade practices in violation of in violation of Louisiana Unfair Trade

Practices and Consumer Protection Law (LUTPA), La. Rev. Stat. Ann. § 51:1405.

   439.    Pursuant to La. Rev. Stat. Ann. § 51:1409, the State of Louisiana seeks to recover

damages in an amount to be determined at trial; treble damages for knowing violations of

Louisiana Unfair Trade Practices and Consumer Protection Law, La. Rev. Stat. Ann. § 51:1401,

et seq; an order enjoining Google’s unfair, unlawful, and/or deceptive practices pursuant to La.

Rev. Stat. Ann. § 51:1407(A); civil penalties pursuant to La. Rev. Stat. Ann. § 51:1407 and La.

Rev. Stat. Ann. § 51;1722; declaratory relief; attorney’s fees; and any other just and proper relief

available under La. Rev. Stat. Ann. § 51:1409.

   440.    Plaintiff the Commonwealth of Kentucky hereby reincorporates by reference all other

paragraphs of this Complaint.




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   441.    Plaintiff the Commonwealth of Kentucky repeats and realleges each and every

preceding allegation as if fully set forth herein, specifically including all allegations in Count VI

of this Complaint.

   442.    The aforementioned acts or practices by Google, in addition to the following acts,

constitute violations of Ky. Rev. Stat. § 367.170.

   443.    Google engaged in and is engaging in unlawful conduct in the course of trade or

commerce, within the meaning of Ky. Rev. Stat. § 367.170, that has harmed and is harming the

Commonwealth and its persons.

   444.    The above-described conduct has been and is willful within the meaning of Ky. Rev.

Stat. § 367.990.

   445.    The Commonwealth states that the public interest is served by seeking a permanent

injunction to restrain the acts and practices described herein. The Commonwealth and its persons

will continue to be harmed unless the acts and practices complained of herein are permanently

enjoined pursuant to Ky. Rev. Stat. § 367.190.

   446.    The Commonwealth of Kentucky seeks the following remedies under Kentucky law

for violations of Ky. Rev. Stat. § 367.170:

   a) Damages for its persons under parens patriae authority, pursuant to Ky. Rev. Stat. §

       15.020, Ky. Rev. Stat. § 367.110 through Ky. Rev. Stat. § 367.990, and common law;

   b) Disgorgement and restitution pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev. Stat. § 367.110

       through Ky. Rev. Stat. § 367.990, and common law;

   c) Injunctive and other equitable relief pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev. Stat. §

       367.190, and common law;

   d) Civil penalties pursuant to Ky. Rev. Stat. § 367.990(2);



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    e) Costs and attorneys’ fees pursuant to Ky. Rev. Stat. § 367.110 through Ky. Rev. Stat. §

        367.990, Ky. Rev. Stat. § 48.005(4), and common law; and

    f) Other remedies as the court may deem appropriate under the facts and circumstances of the

        case.

    447.    Plaintiff State of Mississippi repeats and realleges each and every preceding allegation

as if fully set forth herein.

    448.    The aforesaid conduct was not only anti-competitive but was also unfair and deceptive

to the consumers of the State of Mississippi, therefore Google’s acts violate the Mississippi

Consumer Protection Act, Miss. Code Ann. § 75-24-1, et seq., and Plaintiff State of Mississippi is

entitled to relief under the Mississippi Consumer Protection Act, Miss. Code Ann. § 75-24-1, et

seq.

    449.    Pursuant to the Mississippi Consumer Protection Act, Miss. Code Ann. § 75-24-1, et

seq., Plaintiff State of Mississippi seeks and is entitled to relief, including but not limited to

injunctive relief, damages, restitution, disgorgement, civil penalties, costs, attorney fees, and any

other just and equitable relief which this Court deems appropriate.

    450.    Plaintiff State of Missouri repeats and realleges every preceding allegation as if fully

set forth herein.

    451.    The aforementioned practices by Google were and are unfair and deceptive practices

in violation of Missouri’s Merchandising Practices Act, Mo. Rev. Stat. §§ 407.010 et seq., as

further interpreted by 15 CSR 60-8.010 et seq. and 15 CSR 60-9.01 et seq.

    452.    Plaintiff State of Montana repeats and realleges each and every preceding allegation as

if fully set forth herein, specifically including all allegations in Count VI of this Complaint. The

forgoing acts and practices by Google were and are in willful violation of Montana’s Unfair Trade



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Practices and Consumer Protection Act, Mont. Code Ann. § 30 14-101 et seq., including § 30-14-

103, 142(2).

    453.     Google has engaged in and is engaging in trade and commerce within the meaning of

Mont. Code Ann. § 30-14-102(8) and unfair methods of competition and unfair or deceptive acts

or practices within the meaning of Mont. Code Ann. § 30-14-103 and Rohrer v. Knudson, 203 P.3d

759 (Mont. 2009).

    454.    Google’s unlawful conduct was willful, and Plaintiff State of Montana is entitled to all

legal and equitable relief pursuant to, without limitation, Mont. Code Ann. §§ 30-14-111(4); 30-

14-131; and, 30-14-142(2).

    455.    Plaintiff the State of Nevada repeats and realleges each and every preceding allegation

as if fully set forth herein.

    456.    As alleged in Section VII of this Complaint, and further described in Texas’s

allegations in Count VI of this Complaint, Google’s conduct was and is directed at consumers

nationwide, including in Nevada, and was overtly deceptive, not merely anticompetitive.

    457.    As repeatedly alleged herein, Google has engaged in false, deceptive, or misleading

acts, practices and/or omissions in connection with each of its roles within the ad tech stack. In

all such cases, the alleged acts, practices and omissions were, and are, in violation of the Nevada

Deceptive Trade Practices Act, Nev. Rev. Stat. §598.0903, et seq., and specifically the following:

    a) NRS 598.0915(5), a person engages in a deceptive trade practice by representing that

        services have characteristics, ingredients, uses, benefits, alterations or quantities which

        they do not have, or that a person has a sponsorship, approval, status, affiliation, or

        connection which he does not have;




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    b) NRS 598.0915(7), a person engages in a deceptive trade practice by representing that

        services are of a particular standard, quality, or grade, if they are of another standard,

        quality or grade;

    c) NRS 598.0915(9), a person engages in a deceptive trade practice by advertising goods or

        services with the intent not to sell them as advertised;

    d) NRS 598.092(8), a person engages in a deceptive trade practice by misrepresenting the

        legal rights, obligations or remedies of a party to a transaction; and

    e) NRS 598.0923(2), a person engages in a deceptive trade practice by failing to disclose a

        material fact in connection with the sale of goods or services.

    458.    At all times, the above-described conduct has been and is willful within the meaning

of Nev. Rev. Stat. §598.0999.

    459.    Accordingly, the State of Nevada seeks all available relief under the Nevada Deceptive

Trade Practices Act and common law, including but not limited to: disgorgement, injunctions,

restitution, civil penalties, damages, and its costs and attorney’s fees pursuant to Nev. Rev. Stat.

§§ 598.0963, 598.0973, and 598.0999.

    460.    Plaintiff State of North Dakota repeats and realleges every preceding allegation as if

fully set forth herein.

    461.    The aforementioned practices by Google were and are in violation of N.D.C.C. § 51-

15-01 et seq., Unlawful Sales or Advertising Practices, including § 51-15-02.

    462.    The Attorney General of North Dakota is authorized to bring an action in the name of

the State against any person who has engaged in, or is engaging in, any practice declared to be

unlawful by N.D.C.C. § 51-15-01 et seq. The Attorney General has reason to believe that Google

has engaged in and continues to engage in such practices, constituting separate and multiple



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violations of North Dakota law; that Google has caused and will cause adverse effects for the

business enterprises of the State; and that Google has caused and will cause damage to the State

and to the persons of the State.

    463.    Google’s separate and multiple violations of N.D.C.C. § 51-15-01 et seq. subject

Google to the remedies outlined in N.D.C.C. §§ 51-15-07, 51-15-10, and 51-15-11.

    464.    Plaintiff State of South Carolina repeats and realleges each and every preceding

allegation as if fully set forth herein.

    465.    The Attorney General of South Carolina is bringing this action in the name of the State

pursuant to S.C. Code § 39-5-50(a).

    466.    At all times described herein, Google was engaged in conduct which constitutes “trade”

and “commerce” as defined in S.C. Code § 39-5-10(b).

    467.    Google’s acts or practices regarding South Carolina consumers as alleged herein are

capable of repetition and affect the public interest.

    468.    Google’s acts or practices alleged herein constitute “unfair or deceptive acts or

practices” under S.C. Code § 39-5-20. Every unfair or deceptive act or practice by Google

constitutes a separate and distinct violation of S.C. Code § 39-5-20.

    469.    Google’s acts or practices alleged herein are offensive to established public policy,

immoral, unethical, or oppressive.

    470.    At all times Google knew or should have known that its conduct violated S.C. Code §

39-5-20 and therefore is willful for purposes of S.C. Code § 39-5-110, justifying civil penalties.

    471.    Plaintiff State of South Carolina seeks all remedies available under the South Carolina

Unfair Trade Practices Act (SCUTPA) including, without limitation, the following:

    a) Injunctive and other equitable relief pursuant to S.C. Code § 39-5-50(a);



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    b) Civil penalties in the amount of $5,000, pursuant to S.C. Code § 39-5-110(a), for every

        willful violation of SCUTPA;

    c) Costs and attorneys’ fees pursuant to S.C. Code § 39-5-50(a) and S.C. Code § 1-7-85; and

    d) Other remedies as the court may deem appropriate under the facts and circumstances of the

        case.

    472.    Plaintiff Commonwealth of Puerto Rico repeats and realleges each and every preceding

allegation as if fully set forth herein.

    473.    The aforesaid conduct was not only anti-competitive but was also unfair and deceptive

to the consumers of the Commonwealth of Puerto Rico, therefore Google’s acts violate 10

L.P.R.A. § 259.

    474.    Plaintiff State of South Dakota repeats and realleges every preceding allegation as if

fully set forth herein.

    475.    The aforementioned practices by Google were and are in violation of South Dakota

statute SDCL § 37-24-6(1).

    476.    The Attorney General of the State of South Dakota is authorized to bring an action in

the name of the State against any person who is using, has used, or is about to use any act or

practice declared unlawful by SDCL § 37-24-6. The Attorney General has reason to believe that

Google has used and is using the acts and practices set forth in this Complaint, which violate SDCL

§ 37-24-6; that Google has caused and will cause adverse effects for the business enterprises of

the State; and that Google has caused and will cause damage to the State and to the persons of the

State. The Attorney General therefore finds that this action is in the public interest.

    477.    Plaintiff State of Utah, by and through its attorney general who is acting as counsel to

the Utah Division of Consumer Protection to enforce the Utah Consumer Sales Practices Act, Utah



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Code § § 13-11-1 et seq., repeats and realleges every preceding allegation as if fully set forth

herein.

     478.    The aforesaid conduct was not only anticompetitive, but also constituted

unconscionable and deceptive practices to the consumers of the State of Utah, therefore Google’s

conduct violated the Utah Consumer Sales Practices Act. Utah Code §§ 13-11-1, 4, et seq., and

Plaintiff the State of Utah, Division of Consumer Protection, is entitled to relief under the Utah

Consumer Sales Practices Act, Utah Code §§ 13-11-1, et seq.

     479.    At all times described herein, Google was a “supplier” engaged in “consumer

transactions” pursuant to Utah Code §§ 13-11-3(2), (6).

     480.    Pursuant to the Utah Consumer Sales Practices Act, Utah Code §§ 13-11-1, et seq.,

Plaintiff the State of Utah, Division of Consumer Protection, is entitled to relief including, but not

limited to, injunctive relief, damages, fines determined after considering the factors in Utah Code

§ 13-11-17(6), costs, attorneys’ fees, and any other just and equitable relief which this Court deems

appropriate. Utah Code §§ 13-11-17, 17.2.

                                      X.   PRAYER FOR RELIEF

481.      Accordingly, the Plaintiff States request that the Court:

a)        Adjudge and decree that Google has committed violations of Section 2 of the Sherman Act,
          15 U.S.C. § 2;

b)        Adjudge and decree that Google has committed violations of Section 1 of the Sherman Act,
          15 U.S.C. § 1;

c)        Order injunctive relief to restore competitive conditions in the relevant markets affected by
          Google’s unlawful conduct;

d)        Order structural relief to restore competitive conditions in the relevant markets affected by
          Google’s unlawful conduct;

e)        Enjoin and restrain, pursuant to federal and state law, Google and their officers, directors,
          partners, agents, and employees, and all persons acting or claiming to act on their behalf or

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      in concert with them, from continuing to engage in any anticompetitive conduct and from
      adopting in the future any practice, plan, program or device having a similar purpose or
      effect to the anticompetitive actions set forth above;

f)    Order Google to disgorge all sums, monies, and value unlawfully taken from consumers
      by means of deceptive trade practices, together with all proceeds, interest, income, profits,
      and accessions thereto; making such disgorgement for the benefit of victimized consumers
      and Plaintiffs;

g)    Order Google to disgorge and return all data and information unlawfully taken from
      consumers by means of deceptive trade practices; making such disgorgement and return
      for the benefit of victimized consumers and Plaintiffs;

h)    Adjudge and decree that Google has committed separate and multiple violations of each of
      the state laws enumerated in Counts V and VI;

i)    Order Google to pay civil fines pursuant to § 15.20(a) of the Texas Business and
      Commerce Code;

j)    Enjoin and restrain, pursuant to the DTPA and/or other State law, Google and its officers,
      directors, partners, agents, and employees, and all persons acting or claiming to act on its
      behalf or in concert with it, from continuing to engage in any false, deceptive, or misleading
      acts or practices and from adopting in the future any acts or practice having a similar
      purpose or effect to the false, deceptive, or misleading actions set forth above;

k)    Order Google to pay civil penalties of up to $10,000.00 per violation for each and every
      violation of the DTPA as authorized by Tex. Bus. & Com. Code § 17.47(c)(1);

l)    Order Google to pay all costs of Court, costs of investigation, and reasonable attorneys’
      fees pursuant to Section 17.47 of the DTPA and Tex. Govt. Code Ann. § 402.006(c);

m)    Order Google to pay damages to the State of Alaska under its parens patriae authority and
      common law;

n)    Order Google to pay disgorgement and restitution pursuant to Alaska statutes and common
      law;

o)    Order injunctive and other equitable relief pursuant to ARTA and AUTPCPA, including a
      permanent injunction prohibiting Google from engaging in anticompetitive conduct
      described in this Complaint and unfair, false, misleading, or deceptive, conduct described
      in this Complaint violating AS 45.50.471;

p)    Order Google to pay civil penalties pursuant to AS 45.50.551 and AS 45.50.578;




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q)     Order Google to pay costs and attorneys’ fees as permitted by Alaska statutes, court rules,
       and common law.

r)     Order injunctive and other equitable relief as the Court deems appropriate pursuant to Ark.
       Code Ann. §§ 4-75-212 and 4-75-315;

s)     Order Google to pay civil penalties to the State of Arkansas of up to $1,000 per violation
       of Ark. Code Ann. § 4-75-212;

t)     Order Google to pay civil penalties to the State of Arkansas of up to $1,000 per violation
       of Ark. Code Ann. § 4-75-315;

u)     Order Google to pay civil penalties to the State of Arkansas of up to $10,000 per violation
       for each and every violation of Ark. Code Ann. § 4-88-113;

v)     Order Google to pay to the Attorney General of Arkansas all of the State’s expenses, costs,
       and attorneys’ fees, pursuant to Ark. Code Ann. §§ 4-75-212, 4-75-315, and 4-88-113;

w)     Order injunctive and other equitable relief pursuant to Fla. Stat. § 542.23;

x)     Order payment of civil penalties pursuant to Fla. Stat. § 542.21;

y)     Order payment of costs and attorneys’ fees pursuant to Fla. Stat. § 542.23;

z)     Order payment of damages for consumers under parens patriae authority, pursuant to Fla.
       Stat. § 501.207;

aa)    Order disgorgement and restitution payments pursuant to The Florida Deceptive and Unfair
       Trade Practices Act, Fla. Stat. § 501.204 et seq.;

bb)    Order injunctive and other equitable relief pursuant to Fla. Stat. § 501.207;

cc)    Order payment of civil penalties pursuant to Fla. Stat. § 501.2075;

dd)    Order payment of costs and attorneys’ fees pursuant to Fla. Stat. § 501.210;

ee)    Order Google to pay civil penalties to the Attorney General of Idaho of up to $50,000 per
       violation for each and every violation of the Idaho Competition Act, as authorized by Idaho
       Code § 48-108(1)(d);

ff)    Order Google to pay all monetary relief authorized by Idaho Code § 48-108(2) to the State
       of Idaho as parens patriae on behalf of persons of the State of Idaho for any and all injury
       directly or indirectly sustained because of each and every violation by Google of the Idaho
       Competition Act;



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gg)    Order Google to pay to the Attorney General of Idaho all of the State’s expenses, costs,
       and attorneys’ fees, as authorized by Idaho Code §§ 48-108(1)(d) § 48-108(2)(a);

hh)    Grant such further relief to the Attorney General and the State of Idaho as provided for by
       law or equity, including by Idaho Code § 48-112(4), or as the Court deems appropriate and
       just;

ii)    Order Google to pay civil penalties to the Attorney General of Idaho of up to $5,000 per
       violation for each and every violation of the ICPA and the Idaho Rules of Consumer
       Protection, as authorized by § 48-606(1)(e);

jj)    Order Google to pay to the Attorney General on behalf of consumers actual damages or
       restitution of money, property, or other things received from such consumers by Google in
       connection with each and every violation of the Idaho Consumer Protection Act and the
       Idaho Rules of Consumer Protection, as authorized by Idaho Code § 48-606(1)(c);

kk)    Order Google to pay to the Attorney General of Idaho all of the State’s expenses, costs,
       and attorneys’ fees, as authorized by Idaho Code §§ 48-606(1)(f);

ll)    Grant such further relief to the Attorney General and the State of Idaho as provided for by
       law or equity, including by Idaho Code § 48-607, or as the Court deems appropriate and
       just;

mm) Order injunctive and other equitable relief pursuant to Ind. Code § 24-5-0.5-4(c)(1);

nn)    Order Google to pay restitution pursuant to Ind. Code § 24-5-0.5-4(c)(2) for money
       unlawfully received through violations of the Indiana Deceptive Consumer Sales Act;

oo)    Order Google to pay costs pursuant to Ind. Code § 24-5-0.5-4(c)(4);

pp)    Order Google to pay civil penalties pursuant to Ind. Code § 24-5-0.5-4(g) for knowing
       violations of the Indiana Deceptive Consumer Sales Act;

qq)    Order Google to pay civil penalties pursuant to Ind. Code § 24-5-0.5-8 for incurable
       deceptive acts done as part of a scheme, artifice, or device with intent to defraud or mislead;

rr)    Order injunctive relief to restrain, enjoin and prohibit Google from engaging in any activity
       in violation of the Louisiana Monopolies statutes, La. Rev. Stat. Ann. § 51:121, et seq.,
       including, but not limited to, the unfair methods of competition and unfair or deceptive acts
       or practices alleged herein;

ss)    Order injunctive relief and other equitable relief, pursuant to La. Rev. Stat. Ann. § 51:1401
       restraining, enjoining and prohibiting the Google from engaging in any acts that violate
       LUTPA, including, but not limited to, the unfair methods of competition and unfair or
       deceptive acts or practices alleged herein;

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tt)     Order that Google pay restitution to all consumers who have incurred a loss due to the
        conduct of the Google through any manner deemed practicable by the Court;

uu)      Order Google to pay all civil penalties allowed pursuant to La. Rev. Stat. Ann. § 51:1407
        and La. Rev. Stat. Ann. § 51:1722, for each and every willful violation of LUTPA;

vv)     Order Google to pay attorneys’ fees and costs pursuant to La. Rev. Stat. Ann. § 51:1409
        for violations of LUTPA;

ww) Order Google to pay damages to the Attorney General of Kentucky under his parens
    patriae authority, pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev. Stat. § 367.110 through §
    367.990, and common law;

xx)     Order Google to pay disgorgement and restitution pursuant to Ky. Rev. Stat. § 15.020, Ky.
        Rev. Stat. § 367.110 through Ky. Rev. Stat. § 367.990, and common law;

yy)     Order for injunctive and other equitable relief pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev.
        Stat. § 367.110 through Ky. Rev. Stat. § 367.990 and common law, including a permanent
        injunction prohibiting Google from engaging in anticompetitive conduct described in this
        Complaint violating Ky. Rev. Stat. § 367.175, and unfair, false, misleading, or deceptive
        conduct described in this Complaint violating Ky. Rev. Stat. § 367.170;

zz)     Order Google to pay civil penalties pursuant to Ky. Rev. Stat. § 367.990(2);

aaa) Order Google to pay civil penalties pursuant to Ky. Rev. Stat. § 367.990(8);

bbb) Order Google to pay costs and attorneys’ fees pursuant to Ky. Rev. Stat. § 367.110 through
     Ky. Rev. Stat. § 367.990, Ky. Rev. Stat. § 48.005(4), and common law;

ccc) Enjoin and restrain, pursuant to Miss. Code Ann. §§ 75-21-1; 75-21-3; 75-24-9; 75-24-11
     and/or other State law, Google and its officers, directors, partners, agents, and employees,
     and all persons acting or claiming to act on its behalf or in concert with it, to correct, prevent
     and deter the recurrence of the anticompetitive actions set forth above, to restore and
     preserve fair competition, and to prevent false, deceptive, or misleading acts or practices;

ddd) Order Google to pay the Attorney General of Mississippi on behalf of consumers restitution
     pursuant to Miss. Code Ann. § 75-24-11 and the Attorney General’s parens patriae
     authority;

eee) Order Google to pay the Attorney General of Mississippi disgorgement pursuant to Miss.
     Code Ann. §§ 75-24-11 and 75-24-23 and as an equitable remedy pursuant to common law;

fff)    Order Google to pay the Attorney General of Mississippi civil penalties of up to ten
        thousand dollars ($10,000) per violation for each and every violation of the MCPA
        pursuant to Miss. Code Ann. § 75-24-19(b);

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ggg) Order Google to pay the Attorney General of Mississippi’s costs and attorneys’ fees
     pursuant to Miss. Code Ann. § 75-24-19(1)(b) and pursuant to common law;

hhh) Other remedies as the court may deem appropriate under the facts and circumstances of the
     case and pursuant to Miss. Code Ann. §§ 75-24-23 and 11-45-11;

iii)    Order structural and other injunctive relief to enjoin, restrain, and prevent and deter the
        recurrence of the anticompetitive actions set forth above and to restore and preserve fair
        competition per Mo. Rev. Stat. §§ 416.011 et seq.;

jjj)    Order Google to pay civil penalties in an amount of up to $1,000 for each act in connection
        with each sale or advertisement of merchandise in violation of Mo. Rev. Stat. §§ 407.010
        et seq.;

kkk) Order structural and other injunctive relief to enjoin, restrain and prevent, and deter the
     recurrence of the unlawful merchandising practices set forth above, including an order to
     disgorge all revenues, profits and gains achieved in whole or in part through violations of
     Mo. Rev. Stat. §§ 407.010 et seq.;

lll)    Order an award of restitution, payable to the State of Missouri, to restore all persons in
        Missouri suffering loss as a result of Google’s unlawful merchandising practices in
        violation of Mo. Rev. Stat. §§ 407.010 et seq., and order additional award equal to 10% of
        such restitution, payable to the State of Missouri to the credit of the Missouri
        Merchandising Practices Revolving Fund, as provided in Mo. Rev. Stat. § 407.140, and to
        pay all costs, including fees, of investigation and prosecution of these claims pursuant to
        Mo. Rev. Stat. § 407.130 and § 416.121;

mmm) Order Google to pay civil fines of up to $10,000 for each willful violation of Mont.
    Code Ann. § 30-14-103, pursuant to Mont. Code Ann. § 30-14-142;

nnn) Order structural, injunctive, and all available legal and equitable relief pursuant to Mont.
     Code Ann. § 30-14-101 et seq. and § 30-14-201 et seq.;

ooo) Order payment of Plaintiff State of Montana’s costs and attorney fees pursuant to Mont.
     Code Ann. § 30-14-131;

ppp) Order Google to pay (i) treble damages for injury to the business or property of the State
     or its agencies pursuant to Nev. Rev. Stat. §598A.200, and treble damages as provided by
     Nev. Rev. Stat. § 598.0999, (ii) all direct and indirect damages sustained by natural and
     non-natural persons, sought by the Attorney General of Nevada under his parens patriae
     authority pursuant to Nev. Rev. Stat. §598A.160, (iii) all direct or indirect damages to the
     general economy of the State of Nevada pursuant to Nev. Rev. Stat. §598A.160;

qqq) Order Google to pay disgorgement and restitution pursuant to Nev. Rev. Stat. §598.0963
     and Nev. Rev. Stat. §598A.170;

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rrr)    Order injunctive and other equitable relief pursuant to Nev. Rev. Stat. §598A.070 and Nev.
        Rev. Stat. §598.0963, including a permanent injunction prohibiting Google from engaging
        in the anticompetitive conduct described in this Complaint;

sss)    Order Google to pay civil penalties pursuant to (i) Nev. Rev. Stat. §598A.170, which
        provides that the Attorney General may recover a civil penalty “not to exceed 5 percent of
        the gross income realized by the sale of commodities or services sold by such persons in
        this state in each year in which the prohibited activities occurred,” (ii) under Nev. Rev.
        Stat. §598.0999 of not more than five thousand dollars ($5,000) per violation, and (iii) Nev.
        Rev. Stat. §598.0973, a civil penalty of not more than twelve thousand dollars five hundred
        ($12,500) per violation where the defendant's conduct is directed at a person aged sixty
        (60) or older, or a disabled person;

ttt)    Order Google to pay costs and attorneys’ fees pursuant to Nev. Rev. Stat. §598A.200, Nev.
        Rev. Stat. §598A.210, Nev. Rev. Stat. §598.0963 and Nev. Rev. Stat. §598.0999;

uuu) Order Google to pay civil penalties of not more than fifty thousand dollars ($50,000) for
     each violation of N.D.C.C. § 51-08.1-01 et seq., pursuant to N.D.C.C. § 51-08.1-07;

vvv) Award the State of North Dakota the costs of this action and its preceding investigation,
     including reasonable attorneys’ fees and costs, as provided for in the Clayton Act and
     applicable state law, including N.D.C.C. § 51-08.1-08;

www) Order Google to pay civil penalties of not more than five thousand dollars ($5,000) for
     each violation of N.D.C.C. § 51-15-01 et seq. pursuant to N.D.C.C. §§ 51-15-11;

xxx) Order Google to pay reasonable attorney’s fees, investigation fees, costs, and expenses
     pursuant to N.D.C.C. § 51-15-10;

yyy) Order Google to pay to the Attorney General of North Dakota, on behalf of persons of the
     State, all damages, compensation, or restitution necessary to restore to such persons any
     money or property that may have been acquired by Google in connection with each and
     every violation of N.D.C.C. § 51-15-01 et seq., pursuant to N.D.C.C. § 51-15-07;

zzz) Grant such further relief to the Attorney General and the State of North Dakota as provided
     for by law or equity, including by N.D.C.C. § 51-15-07, or as the Court deems appropriate
     and just;

aaaa) Order injunctive and other equitable relief, civil penalties of up to $5,000 per violation, and
      any other appropriate relief pursuant to Puerto Rico Law No. 77 of June 25, 1964, also
      known as “Puerto Rico’s Antitrust and Restrictions of Commerce Law,” 10 P.R. Laws
      Ann. §§ 257 et seq., and 32 P.R. Laws Ann. § 3341;

bbbb) Order injunctive and other equitable relief, civil penalties of up to $5,000 per, and any other
      appropriate relief pursuant to 10 L.P.R.A. § 259, 10 L.P.R.A. 10 L.P.R.A. § 269; 32 P.R.

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         Laws Ann. § 334, as well as the payment of all costs of Court, costs of investigation, and
         reasonable attorneys’ fees;

cccc) Permanently enjoin Google, pursuant to S.C. Code § 39-5-50(a) from engaging in any acts
      that violate SCUTPA, including, but not limited to, the unfair methods of competition and
      unfair or deceptive acts or practices alleged herein;

dddd) Order Google to pay civil penalties in the amount of $5,000, pursuant to S.C. Code § 39-
      5-110(a), for each and every willful violation of SCUTPA;

eeee) Order Google to pay attorneys’ fees and costs pursuant to S.C. Code § 39-5-50 and S.C.
      Code § 1-7-85 for violations of SCUTPA;

ffff) Order Google to pay civil penalties to the State of South Dakota of up to $50,000 per
      violation for each and every violation of SDCL §§ 37-1-3.1 et seq., pursuant to SDCL § 37-
      1-14.2;

gggg) Order Google to pay all monetary relief authorized by SDCL §§ 37-1-23, 37-1-24, and 37-
      1-32 to the State of South Dakota as parens patriae on behalf of persons of the State for
      any and all injury directly or indirectly sustained because of each and every violation by
      Google of SDCL §§ 37-1-3.1 et seq;

hhhh) Order Google to pay to the Attorney General of South Dakota all of the State’s expenses,
      costs, and attorneys’ fees, as authorized by SDCL § 37-1-24;

iiii)    Order Google to pay civil penalties to the State of South Dakota of up to $2,000 per
         violation for each and every violation of SDCL § 37-24-6, as authorized by SDCL § 37-
         24-27;

jjjj)    Order Google to grant all relief to the State of South Dakota authorized by SDCL § 37-24-
         29 to restore to any person in interest all monies or property, real or personal, that Google
         has acquired by each and every violation of SDCL § 37-24-6;

kkkk) Order Google to pay to the Attorney General of South Dakota all of the State’s expenses,
      costs, and attorneys’ fees, as authorized by SDCL § 37-24-23;

llll)    Grant such further relief to the Attorney General and the State of South Dakota as provided
         for by law or equity, including by SDCL § 37-24-29, or as the Court deems appropriate
         and just;

mmmm) Grant declaratory judgment that Google has engaged deceptive acts and practices as
   contemplated by Utah Code § 13-11-4, and as permitted by Utah Code § 13-11-17;

nnnn) Order Google to pay civil penalties determined after considering the factors in Utah Code
      § 13-11-17(6);

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 oooo) Order Google to pay Plaintiff the State of Utah, Division of Consumer Protection, an award
       of reasonable attorneys’ fees, court costs, and costs of investigation (Utah Code § 13-11-
       17.5);

 pppp) Order other equitable relief as may be appropriate;

 qqqq) Grant leave to amend the Complaint to conform to the evidence produced at trial; and

 rrrr) Direct such other and further relief as the Court deems just and proper.

                                 XI. DEMAND FOR A JURY TRIAL

    482.    Pursuant to Federal Rule of Civil Procedure 38(b), the Plaintiff States demand a trial

by jury of all issues properly triable to a jury in this case.

Respectfully submitted,

September 9, 2021




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FOR PLAINTIFF STATES OF TEXAS, IDAHO, LOUISIANA (THE LANIER LAW FIRM
ONLY), MISSISSIPPI, NORTH DAKOTA, AND SOUTH DAKOTA:


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